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                    Exhibit 2
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                                            Initial Decision Release No. 1260
                                            Administrative Proceeding
                                            File No. 3-17342

                 UNITED STATES OF AMERICA
                            Before the
            SECURITIES AND EXCHANGE COMMISSION
                      Washington, D.C. 20549



In the Matter of
                                            PUBLIC REDACTED
RD Legal Capital, LLC, and                  Initial Decision
Roni Dersovitz                              October 15, 2018



Appearances:       Michael D. Birnbaum, Jorge G. Tenreiro, and Victor
                   Suthammanont for the Division of Enforcement,
                   Securities and Exchange Commission

                   Roel C. Campos, Terence M. Healy, and Katie L. Steele,
                   Hughes Hubbard & Reed LLP; David K. Willingham,
                   Michael D. Roth, and Eric S. Pettit, Boies Schiller Flexner
                   LLP for Respondents

Before:            Jason S. Patil, Administrative Law Judge

    Respondent Roni Dersovitz spotted a business opportunity while working
as a personal injury attorney: lending money to other attorneys who were
waiting on their fees from settlements to pay out. This was a profitable line of
business and eventually Dersovitz created namesake hedge funds and
companies to manage the funds, including Respondent RD Legal Capital,
LLC, and originate the loans. Investors testified that they were enticed by
marketing representations that Respondents’ funds invested only in settled
or otherwise resolved cases and did not take on litigation risk. For many
years the funds were profitable for investors and Dersovitz alike. The
Division of Enforcement nevertheless alleges that Respondents made
materially false and misleading statements in violation of the antifraud
provisions of the Securities Act of 1933 and the Securities Exchange Act of
1934 because at times more than half of the funds’ portfolios were tied up in
cases that involved litigation risk.
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     In this initial decision, I find that contrary to Respondents’
representations to investors, the funds they managed became increasingly
invested in certain cases beyond the scope of the funds’ strategy. I conclude
that Respondents made material misrepresentations, but not to the extent
alleged by the Division and not with scienter. Respondents thus violated
Securities Act Section 17(a)(2) and (a)(3), but not Securities Act Section
17(a)(1) and Exchange Act Section 10(b) or Rule 10b-5. As a result, I will
impose civil monetary penalties, suspend Dersovitz from the industry for six
months, prohibit him from associating with an investment company for six
months, and order Respondents to cease and desist from further violations.

                   Procedural History and Allegations

    On July 14, 2016, the Securities and Exchange Commission issued an
order instituting proceedings (OIP) against Respondents RD Legal Capital,
LLC, 1 and Roni Dersovitz. The OIP alleges that Dersovitz, as president, CEO,
and owner of RD Legal Capital, and RD Legal Capital, as managing partner
and investment manager of two RD Legal-branded investment funds,
defrauded investors in two ways. OIP at 2.

     First, Respondents allegedly misrepresented the type and diversification
of assets under management in the funds. See generally OIP at 2, 3-12. The
funds invested in law firm receivables—but what set the funds apart from
other litigation financing firms, per Respondents’ marketing materials and
oral representations, is that the funds invested primarily in receivables from
settled or resolved cases, while the competition invested in riskier, “pre-
settlement” litigation. OIP at 3-4. However, the Division alleged that some of
the cases in which Respondents invested involved litigation risk, contrary to
Respondents’ disclosures. The percentage of the funds’ assets invested in
those cases reached as high as 90%, despite representations that 95% of the
funds’ investments consisted of receivables from settled cases. Id. at 3-4.

     The second theory of liability concerned the way in which Respondents
withdrew money from the funds. See generally id. at 2, 12-14. The fund
operating documents allowed Respondents to withdraw profits in excess of
13.5%, in certain circumstances. The OIP alleges that Respondents provided
misleading data to its third-party valuation agent, leading to inflated
valuations of certain assets, which allowed Respondents to withdraw more
money than they otherwise would be permitted, draining the funds of
liquidity. Id.


1    Abbreviated “RDLC” in some quotations.




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     Respondents denied the allegations against them and raised fifteen
affirmative defenses. See Answer (Aug. 8, 2016).

     The twenty-four day hearing was held between March 20 and April 27,
2017, in New York City. On August 16, 2017, I granted Respondents’ motion,
pursuant to Rule 250(d), for a ruling as a matter of law on the valuation
allegations, and dismissed those allegations from this proceeding. RD Legal
Capital, LLC, Admin. Proc. Rulings Release No. 4976, 2017 SEC LEXIS
2504. Post-hearing briefing is complete. 2

     After the Supreme Court’s decision in Lucia v. SEC, 138 S. Ct. 2044
(2018), the Commission stayed this proceeding. Pending Admin. Proc.,
Securities Act Release No. 10510, 2018 SEC LEXIS 1490 (June 21, 2018). The
Commission allowed the stay to expire on August 22, 2018. Pending Admin.
Proc., Securities Act Release No. 10536, 2018 SEC LEXIS 2058. On
September 7, 2018, the parties submitted a joint agreement in which
Respondents waived their right or entitlement to a new hearing before a
different judge and elected to proceed before me on the existing record.

                              Findings of Fact

    What follows is a description of the nature of hedge funds, descriptions of
Respondents’ funds, the investments challenged by the Division, and
Respondents’ marketing of their funds, and summaries of investor testimony
and the experts’ qualifications.

1. Hedge Funds

    According to the Commission’s Office of Investor Education and
Advocacy:

          Hedge funds pool investors’ money and invest the money
          in an effort to make a positive return. Hedge funds
          typically have more flexible investment strategies than,
          for example, mutual funds. Many hedge funds seek to
          profit in all kinds of markets by using leverage (in other
          words, borrowing to increase investment exposure as
          well as risk), short-selling and other speculative



2   Citations to the hearing transcript are noted as “Tr. __.” Citations to the
Division’s briefs are noted as “Div. Post-Hr’g Br.” and “Div. Post-Hr’g Reply.”
Citations to Respondents’ briefs are similarly noted.




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          investment practices that are not often used by mutual
          funds.

Ex. 3105 at 1. 3 Hedge fund investors typically are accredited investors, as
were the individual investors in the funds at issue here. Ex. 66 at 23. An
individual “accredited investor” has earned income in excess of $200,000 (or
$300,000 together with a spouse) in each of the prior two years, and
reasonably expects the same for the current year, or has a net worth over $1
million, either alone or together with a spouse (excluding the value of the
person’s primary residence). 17 C.F.R. § 230.501(a)(5), (6).

     Those who choose to invest in a hedge fund intend to place their faith in
the manager with respect to investment decisions, as investors and
investment advisers testified. Tr. 217, 312-13, 1018, 2102-03, 3753-54, 4567-
68. Hedge funds are frequently structured to give the manager substantial
flexibility and discretion to take advantage of unique opportunities that the
manager has the experience and resources to identify and exploit for the
benefit of investors, and where necessary, attempt to mitigate losses from
delinquent assets. Ex. 2396 (Amended Expert Report of Leon M. Metzger)
¶¶ 61-62; Tr. 377, 636, 2839, 3752-53, 4634-35, 5643-44. Hedge fund
managers seek to gain an information advantage that allows them to
outperform market returns. Ex. 2393 (Expert Report of David X. Martin)
¶¶ 51-57; Tr. 5727-28; see also Tr. 208-09.

     A hedge fund manager can reasonably expect that accredited investors
conduct at least a minimal level of due diligence, which includes reviewing
the fund’s offering documents and audited financial statements and
questioning the fund manager. Ex. 2396 ¶¶ 52-53; Ex. 3105 at 1-4; Tr. 196-
97, 363, 465-66, 468, 747, 1007, 4047-48, 4427, 4429-31, 5611-12, 5622.
Investing in a hedge fund with a broad and opportunistic investment strategy
requires ongoing diligence during the pendency of the investment. Tr. 2829-
30, 3756, 5665.




3    Exhibit 3105, originally published by the Office of Investor Education
and Advocacy in February 2013, is available at https://www.sec.gov/investor/
alerts/ib_hedgefunds.pdf, and was issued to “educate individual investors
about hedge funds,” id. at 1, but is accompanied by the caveat that “it is
neither a legal interpretation nor a statement of SEC policy.” Id. at 6. I find
the quoted background accurate.




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2. Respondents’ Funds

     Roni Dersovitz was an attorney licensed in New York and New Jersey.
OIP ¶ 5; Answer at 5. He practiced personal injury law for fourteen years.
Ex. 1452 at 16. He is the president and CEO of RD Legal Capital, LLC, and
the owner of RD Legal Capital and RD Legal Funding, LLC. OIP ¶ 5; Answer
at 5; Ex. 66 at 12. Dersovitz has acted as a factor—that is, invested in
discounted receivables—for attorneys, law firms, and plaintiffs since 1996.
Answer at 1; Tr. 5434; Ex. 63 at 12. 4 He formed RD Legal Funding in 1997 to
purchase law firm receivables. Ex. 64 at 23. RD Legal Funding originates the
legal fee receivables for Respondents’ funds. Tr. 5439-40.

     In September 2007, Dersovitz launched two hedge funds. RD Legal
Funding Partners, LP (the Domestic Fund), is a Delaware limited
partnership organized in 2007, with its principal place of business in
Cresskill, New Jersey. OIP ¶ 7; Answer at 1, 6. RD Legal Funding Offshore,
Ltd. (the Offshore Fund and, together with the Domestic Fund, the Funds), is
an exempted company organized in 2007 under the laws of the Cayman
Islands and managed from RD Legal Capital’s offices in New Jersey. OIP ¶ 8;
Answer at 1, 6.

     RD Legal Capital is the general partner and investment manager of the
Funds. OIP ¶ 6; Answer at 5. RD Legal Capital is a Delaware limited liability
company with its principal office in Cresskill, New Jersey. OIP ¶ 6; Answer
at 5. RD Legal Capital was registered with the Commission as an investment
adviser from August 2009 through 2014. OIP ¶ 6; Answer at 5. RD Legal
Capital does not receive any management fees from the Funds. Tr. 4497. RD
Legal Capital receives remuneration from its management of the Funds only

4    For background, the purchase of receivables for a discount is known as
factoring:
          Under a factoring agreement a company sells or assigns
          its accounts receivable to a factor in exchange for a cash
          advance. The factor typically charges interest on the
          advance plus a commission. The price paid for the
          receivables is discounted from their face amount to take
          into account the likelihood of uncollectibility of some of
          the receivables.

IRS Factoring of Receivables Audit Technique Guide at 1 (June 2006), https://
www.irs.gov/pub/irs-utl/factoring_of_receivables_atg_final.pdf. I take judicial
notice of the foregoing description which is longstanding public guidance of
the IRS. 17 C.F.R. § 201.323.




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if investors are allocated their full targeted cumulative return. Exs. 66 at 8,
67 at 10.

     Respondents provided potential investors in the Funds with offering
memoranda. 5 See Exs. 57, 60, 63, 64, 66 (Domestic Fund offering memoranda
from October 2008, February 2011, December 2011, April 2012, and June
2013); Exs. 58, 59, 61, 62, 65, 67 (Offshore Fund offering memoranda from
August 2009, February 2011, August 2011, December 2011, February 2013,
and June 2013). Prospective investors received the applicable offering
memoranda, subscription agreement, and limited partnership agreement
before investing with the Funds. E.g., Exs. 252, 350, 1333, 2742; Tr. 279.
These forms set forth terms governing the funds, including the scope of RD
Legal Capital’s investment authority. Ex. 2396 ¶ 37; Tr. 186, 363, 467-68,
4566-67. Every investor confirmed this in signing a binding “Subscription
Agreement” which, in pertinent part, represented that the investor was
“relying solely on the facts and terms set forth in” the subscription
agreement, offering memorandum, and partnership agreement. E.g.,
Ex. 2703 at 5. 6

    Except as noted, the provisions pertinent to this proceeding are
demonstrated by the February 2011 offering memorandum for the Domestic
Fund, which states, under a heading “Investment Program” and sub-heading
“Investment Objective and Strategy,” that:

          The [Fund] intends to: (i) purchase from law firms and
          attorneys (collectively, the “Law Firms”) certain of their
          accounts receivable representing legal fees derived by
          the Law Firms from litigation, judgments and
          settlements (“Legal Fee Receivables”). The [Fund] will
          enter into factoring contracts with respect to the Legal


5   Investors and prospective investors who signed a nondisclosure
agreement could also access the offering memoranda and other
documentation on Respondents’ investor website. Ex. 42 at 3; Exs. 2355A,
2360A, 3095; Tr. 101, 4347.
6   The subscription agreement also confirmed that investors (1) are
accredited and qualified investors with a minimum net worth; (2) made “an
investigation of the pertinent facts relating to the operation of the
Partnership” and “reviewed the terms of the Partnership Agreement to the
extent [they] deem[] necessary in order to be fully informed”; and (3) have the
knowledge and experience necessary to evaluate the merits and risks of
investing in the Funds. Ex. 2703 at 2-5.




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          Fee Receivables (“Factoring Contracts”) . . . [and]
          (ii) provide loans to such Law Firms through the use of
          secured line of credit facilities . . . .

Ex. 60 at 11. The Funds’ legal fee factoring strategy was discussed in more
detail under the heading “Investment Strategy” and sub-heading “Legal Fee
Factoring.” Id. at 8-9. The February 2011 offering memorandum, like other
iterations of the Funds’ offering memoranda, explained that “[a]ll of the Legal
Fee Receivables purchased by the Partnership arise out of litigation in which
a binding settlement agreement or memorandum of understanding among
the parties has been reached.” See id. at 13; Ex. 61 at 14; Ex. 62 at 14.
Respondents repeated that language later in the offering memorandum
under the heading “Certain Risks” and sub-heading “Counterparty and
Credit Risk.” See, e.g., Ex. 60 at 17. By June 2013, Respondents appended “or
a judgment has been entered against a judgment debtor” to both provisions.
Ex. 66 at 13, 18; Ex. 67 at 7.

     The Funds’ offering memoranda described risks including “credit risk of
the counterparty and the risk of settlement default.” See, e.g., Ex. 60 at 17.
The offering memoranda did not employ the phrase “litigation risk.” Id. The
offering memoranda explained that credit risk relating to the Funds’ factored
legal receivables “is low” in part because the Funds “will link exposures to
[obligors] based on their long term bond rating . . . to limit credit exposures
based upon the obligor’s credit worthiness.” See, e.g., Ex. 60 at 13, 17. The
offering memoranda further explained that because of the kinds of
receivables the Funds purchased, “one form of credit risk to the [Fund] is
dependent primarily upon the financial capacity of the defendants in the
settled lawsuit to pay the stipulated settlement amount,” but explained that
such risk is “low” because “the defendants in these lawsuits . . . generally
ha[ve] significant financial resources.” See, e.g., Ex. 60 at 13.

     In explaining the category of possible investments titled “Other
Advances to Law Firms,” the offering memoranda disclosed that the Funds
“may provide capital to client Law Firms based upon the specific needs
associated with the credit request but subject to [certain] parameters,”
including that the “[r]epayment source is realistic within twelve months or
less.” E.g., Ex. 60 at 14-15.

     The offering memoranda also included flexibility provisions stating that
Respondents “will not be limited with respect to the types of investment
strategies [they] may employ or the markets or instruments in which [they]
may invest,” will “seek to capitalize on attractive opportunities, wherever
they might be,” and “may pursue other objectives or employ other techniques
[they] consider[ ] appropriate and in the best interest of the [Funds].” Ex. 66


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at 17; Ex. 67 at 21. The offering memoranda disclosed that “[c]ertain
investments of the [Funds] could become delinquent and go into default or
foreclosure.” See, e.g., Ex. 66 at 19; Ex. 67 at 25.

     The offering memoranda referenced an investor website created and
maintained by Respondents, and also alerted investors to the existence of an
“Independent Accountant’s Report On Applying Agreed-Upon Procedures”
that was prepared by third party Wiss & Company LLP on a quarterly basis
and provided information concerning so-called “workouts” and problem assets
in the Funds’ portfolios. See, e.g., Ex. 66 at 10, 16; Ex. 67 at 11, 18-19;
Ex. 2092 at 7-8 (September 2014 AUP discussing status of investments with
a financially troubled law firm); see also Exs. 1186, 1246, 1263, 1431, 1490,
1544, 1712, 1796, 1892, 2018, and 2055 (AUPs).

     The Funds offered to their investors a targeted cumulative annual
return of 13.5%. Answer at 6; Ex. 66 at 24. At the end of each month, the net
profits and losses of the Funds, including realized and unrealized gains and
losses, were allocated to the accounts of the limited partners of the Domestic
Fund and to the shareholders of the Offshore Fund. Ex. 66 at 24; Ex. 67 at
22. Net profits in excess of the investors’ targeted return were allocated to the
capital account of RD Legal Capital. Ex. 66 at 24; Ex. 67 at 22. If returns
were insufficient to meet the return due to investors, RD Legal Capital was
required to reserve the entire amount of any shortfall owed to investors and
to allocate funds from future gains, if any, to cover any shortfall prior to RD
Legal Capital receiving any further return. Ex. 64 at 7-8; Ex. 65 at 9-10. All
ordinary expenses of operating the Funds were borne by RD Legal Capital.
See Ex. 66 at 28; Answer at 7. The Funds bore responsibility for legal,
accounting, administrative, auditing, tax preparation, and other professional
expenses. Ex. 66 at 28-29.

     Investors in the Funds were permitted to withdraw all or part of their
capital account attributable to a particular capital contribution in
installments, as long as that capital contribution had been invested in the
Funds for at least twelve months. E.g., Ex. 66 at 26. As the general partner,
RD Legal Capital had the authority to waive any terms related to
withdrawals for limited partners, including the one-year lock. Id. at 27.

     Redemptions from the Domestic Fund were suspended as of April 30,
2015. Ex. 446. As of May 29, 2015, the Offshore Fund suspended all
redemptions, began winding up, and implemented a liquidating account to
satisfy the pending redemptions. Ex. 451 & 452. The assets in the Funds’
portfolio “to some extent are self-liquidating.” Tr. 5878-79. Except for
collection issues that need oversight, the Funds will continue to self-liquidate
in the future because, for example, obligors are required to make payments


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due to the Funds regardless of who is in charge of RD Legal Capital.
Tr. 5874-79.

    An investor who invested in the Funds at their inception in 2007 would
have realized a gain of well over 200% by the end of 2016. See Ex. 2396,
Appendix C (comparing return on investment to various comparable
benchmarks).

3. Respondents’ “Special Opportunities” Funds

     In 2012 and 2013, Respondents created two new funds, one domestic and
one in the Cayman Islands, whose investment strategy was to “purchase from
law firms and attorneys . . . certain of their accounts receivable representing
legal fees derived . . . from litigation, judgments and settlements . . . arising
from multiple civil actions against the Islamic Republic of Iran related to the
bombing of the U.S. Marine Corps barracks in Beirut, Lebanon in 1983.”
Ex. 70 at 19; see id. at 8; Ex. 69 at 6. The new funds—referred to by the
parties as “special purpose vehicles” or “SPVs”—would also purchase from
some plaintiffs in the so-called reparation litigation accounts receivable
representing a portion of each plaintiff ’s final judgment award proceeds.
Ex. 70 at 8. RD Legal Capital was the investment manager for the offshore
SPV, id. at 18, and the general partner for the domestic SPV, Ex. 69 at 17.

4. Respondents’ Investments at Issue in this Proceeding

     The Division contends that four of the Funds’ investments departed from
the Funds’ strategy and were not properly disclosed because they involved
matters that had not settled or reached final judgment at the time of the
investment, or the receivables were purchased from entities other than law
firms: (1) purchases of attorneys’ and plaintiffs’ receivables arising from the
1983 Beirut barracks bombing; (2) receivables of attorney Daniel Osborn,
including cases claiming that pharmaceuticals caused osteonecrosis of the
jaw (ONJ); 7 (3) receivables of attorney Barry Cohen; and (4) purchases of
receivables arising from the 2010 oil spill in the Gulf of Mexico caused by the
explosion and collapse of the Deepwater Horizon oil rig.




7    According to the American College of Rheumatology, ONJ occurs when
the jaw bone is exposed, which leads to the death of the bone from a lack of
blood. See Osteonecrosis of the Jaw, https://www.rheumatology.org/I-Am-
A/Patient-Caregiver/Diseases-Conditions/Osteonecrosis-of-the-Jaw-ONJ.




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    4.1. The Peterson Matter

     The Peterson case was one of a series of lawsuits against Iran arising out
of the bombing of a Marine barracks in Beirut, Lebanon, in 1983. Tr. 1554-55.
Initially, the Funds invested in receivables of two of the plaintiffs’ attorneys,
Steven Perles and Thomas Fay, but later purchased directly from plaintiffs.

         4.1.1. Steven Perles and Thomas Fay

     Steven Perles is an attorney at the Perles Law Firm, a boutique law firm
in Washington, D.C., that specializes in international claims and reparation
matters, particularly pursuing financial compensation against material
supporters of terrorist attacks against United States nationals abroad.
Tr. 1539. Since 1986, Perles has prosecuted actions against foreign nations
such as Libya, Iran, Syria, and the Sudan. Tr. 1539-41. Such matters
typically require Perles’s clients to obtain a judgment establishing liability
against the sovereign for sponsoring the act of terror, which Perles describes
as a “hunting license” to enforce against the sovereign’s assets. Tr. 1544-45,
1548-49. In Perles’s experience, Iran normally “decline[s] to participate in
any way through the entry of a final default judgment. And then [it]
vigorously defend[s] and frequently collaterally attack[s] during the
enforcement phase.” Tr. 1549, 1560.

     Thomas Fortune Fay is an attorney at the Fay Law Group, PA, who has
practiced antiterrorism law since 1996. Tr. 2398-99. Fay has prosecuted
actions against nations such as Iran and Libya. Tr. 2399-2400, 2408-09.

     Perles and Fay partnered to represent the plaintiffs in the Peterson
cases. Ex. 558 (Fay & Perles Retainer Agreement); Tr. 1557-59. In 2010 and
2011, both men, through their firms, entered into master assignment and
sale agreements with the Domestic Fund, in which they agreed to sell and
assign to the Fund legal fees earned on certain cases. Ex. 227 (Perles Law
Firm Master Agreement); Ex. 238 (Fay Kaplan Law Master Assignment and
Sale Agreement); Tr. 2414-15. The sales were set forth on sequential
schedules through which the firms sold a portion of the fees they had earned
in obtaining the September 7, 2007, judgment in Peterson v. Islamic Republic
of Iran, Nos. 01-cv-2094 & 01-cv-2684 in the United States District Court for
the District of Columbia. See, e.g., Ex. 1109 (Perles Sch. A-2); Ex. 1458
(Perles Sch. A-9); Ex. 444 at 11 (attachment to email with list of funding
schedules between the Funds and the Fay Kaplan firm); Exs. 1175-1176 (Fay
Sch. A-3 and amendment); Ex. 2106 (Fay Sch. A-13). The transactions were
secured by the entire case inventory of each firm, with personal performance
guaranties by Perles and Fay. Ex. 227 at 17-22; Ex. 238 at 24-28; Exs. 1416,
1417.



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         4.1.2. The Litigation

      Peterson proceeded in stages. First, a liability action was filed in the
United States District Court for the District of Columbia in 2001. Peterson v.
Islamic Republic of Iran, No. 01-cv-2094. It resulted in 2007 in a final default
judgment against Iran for $2.7 billion. Ex. 1020 (Peterson ECF No. 228).
Perles and Fay obtained subsequent judgments against Iran arising out of
the 1983 bombing, which, combined with the 2007 judgment, totaled $4.4
billion. Tr. 1555. Next, Perles and Fay sought to enforce the judgment
against three pools of assets believed to belong to Iran. Tr. 1555-56. This was
a long process, ultimately involving all three branches of government,
including litigation all the way to the Supreme Court, an act of Congress, and
a Presidential executive order.

      In 2008, Peterson plaintiffs filed writs of attachment to restrain $2
billion in assets held in the name of Bank Markazi (the central bank of Iran)
by Clearstream Banking, S.A., at an account at Citibank, N.A., in
Manhattan. See Peterson v. Islamic Republic of Iran, No. 10-cv-4518, 2013
WL 1155576, at *5 (S.D.N.Y. Mar. 13, 2013) (“Clearstream I ”). The district
court issued a writ of execution as to these assets, which had the effect of
restraining them. Id. While Clearstream I was pending, on February 5, 2012,
President Obama issued Executive Order No. 13599, declaring that “all
property and interests” of Iran held in the United States were to be
considered “blocked” assets. 77 Fed. Reg. 6659. This facilitated the recovery
of the restrained assets. See Bank Markazi v. Peterson, 136 S. Ct. 1310, 1318
(2016). And on August 10, 2012, the Iran Threat Reduction and Syria Human
Rights Act of 2012, 22 U.S.C. § 8701 et seq., went into effect. The practical
effect of this statute, particularly § 8772, was to “simplify” the process for
enforcing the Peterson judgment. Tr. 1575.

     In 2013, the district court granted partial summary judgment on behalf
of the plaintiffs and ordered the turnover of the restrained and blocked assets
and directed the Department of the Treasury to issue a license permitting
transfer of the restrained and blocked assets into a trust established for the
benefit of the Peterson plaintiffs (the qualified settlement fund). Peterson,
2013 WL 1155576, at *28-34; Ex. 1733 at 8; Ex. 1734; see Tr. 1585-86, 1710.
The defendants appealed, but in July 2014, the United States Court of
Appeals for the Second Circuit affirmed the district court’s judgment. See
Peterson v. Islamic Republic of Iran, 758 F.3d 185, 191 (2d Cir. 2014). The
Supreme Court granted certiorari and affirmed in April 2016. Bank Markazi
v. Peterson, 136 S. Ct. 1310, 1317 (2016).

    The views of Dersovitz, Perles, Fay, and appellate specialists Dersovitz
hired to examine Peterson changed over time. At the outset of Clearstream I,


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Dersovitz believed the Peterson judgment did not meet the Funds’ investment
criteria, because he lacked sound, reliable information that the plaintiffs
would collect. Tr. 2914 (Dersovitz testifying that “a judgment without having
monies restrained in my mind is different than a typical settlement”);
Tr. 5879-80, 5896. By mid-2010, Perles had transcripts of depositions taken
in Italy of the directors of an Italian bank and information from an office of
the Treasury Department establishing that the restrained assets at Citibank
were being laundered by Iran into the United States. Ex. 2487 (English
translation of Italian deposition); Ex. 3109 (Perles email to Dersovitz
attaching Treasury Department letter); Tr. 5883-88. At that point—with an
informational advantage—Dersovitz considered the opportunity a “perfect fit”
for the Funds. Tr. 5885-86. With a non-appealable judgment in the
underlying Peterson action, and funds identified at Citibank that would
ultimately be used to satisfy the judgment, the filing of the Peterson turnover
action completed the elements needed for the investment to fit the Funds’
paradigm, and as Dersovitz explained, it was “just a matter of waiting out the
judicial process.” Tr. 5894-95, 6627. In Dersovitz’s opinion, Peterson then
became no different than any other case in the portfolio, because
“accelerat[ing] legal fees on settlements and judgments that are collectible” is
what the Funds do. Tr. 6169-70. Since 2011, Dersovitz understood that the
risk in Peterson had to do with the duration of the legal process, and that
while Iran could delay the process, it could not stop it. Tr. 5951-53.

     As Clearstream I was progressing, to confirm and validate the Funds’
informational advantage, Dersovitz hired an appellate attorney from Reed
Smith, James Martin, to analyze a variety of issues related to the turnover
litigation. Tr. 3391, 3398-99. From 2012 to 2014, Reed Smith prepared eight
memoranda covering a variety of issues including the merits of the turnover
litigation and various constitutional and state law issues. Exs. 1455, 1456,
1677, 1691, 1770, 1906, 1907, 1916; Tr. 3396, 3399, 3404-05. Reed Smith
invested more than 400 hours analyzing the turnover litigation, Tr. 3403-04,
and a review of the memoranda it produced shows that the firm consistently
concluded that the turnover litigation had merit and that the Peterson
plaintiffs were likely to succeed.

     Martin testified that there is “no such thing as a sure bet” in litigation,
Tr. 3458-59, but that he was at all times confident that the Peterson plaintiffs
were likely to succeed in Clearstream I. Tr. 3417-18. Martin opined that three
independent bases for enforcing the Peterson judgment had merit. Tr. 3410-
11, 3455, 3501. Once the assets were transferred to the qualified settlement
fund, Dersovitz believed the “money was never going back [to Iran] legally
and practically.” Tr. 5939. Reed Smith agreed that such an occurrence was
“unlikely[, i]f not impossible.” Id.; Ex. 573. Before purchasing any judgment



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awards from the Peterson plaintiffs (as opposed to attorneys’ legal
receivables), RD Legal retained other lawyers at Reed Smith to evaluate
whether purchases from the plaintiffs would be enforceable under federal law
or considered loans under various state laws, which turned on the non-
recourse nature of the transactions and the allocation of collection risk to
Respondents. Ex. 6 at row 16 (indicating first purchase from a Peterson
plaintiff on September 13, 2012); Ex. 714 at 51-107 (Aug. 21, 2012,
memorandum from Reed Smith to Dersovitz).

    Perles testified that, until certiorari was granted, he had an “unyielding”
view that the plaintiffs would prevail. Tr. 1685; see Tr. 1617-18. In late 2015,
Perles was unsure if the Solicitor General, whose views the Supreme Court
had requested, would defend the constitutionality of 22 U.S.C. § 8772,
although it ultimately did so. Tr. 1618-19. Fay did not share Perles’s concerns
and always believed the Peterson plaintiffs would be able to enforce their
judgments. Tr. 2456, 2459, 2460-61. And Perles understood that even without
§ 8772, the Peterson plaintiffs could enforce their judgments under New York
State law and the Foreign Sovereign Immunities Act. Tr. 1688-90.

    But if the collection action in Clearstream I had failed, Respondents had
several other options for recovering the fees and awards purchased by the
Funds. First, Perles and Fay signed guaranties and agreed that the Funds
had recourse against all of the assets of their respective firms for any monies
owed. Supra at 4.1.1.; Ex. 1108; Tr. 1633-34, 2434-35.

     Second, the Peterson judgment could have been satisfied by other Iranian
assets, including a building located at 650 Fifth Avenue in Manhattan, which
Peterson plaintiffs, in cooperation with the United States Attorney for the
Southern District of New York, were attempting to seize and liquidate via
litigation. Tr. 1621-23. The proceeds of a forfeiture sale of the property will be
used to compensate victims of Iranian terrorism, including clients of Perles
and Fay. Tr. 1556. A judgment of forfeiture was entered on October 4, 2017.
Order, In re 650 Fifth Ave., No. 08-cv-10934 (S.D.N.Y) (ECF No. 2089). There
was also approximately $6.7 billion held in an account at JP Morgan, which
is subject to a separate collection action. Tr. 1556-67. Perles contended that
the funds were illicitly laundered into JP Morgan by Clearstream.

    Finally, the receivables the Funds purchased could be partially satisfied
from a $1 billion fund set up by Congress for victims of terrorism pursuant to
the United States Victims of State Sponsored Terrorism Act, 34 U.S.C.
§ 20144. Tr. 1713-14. 8

8    These funds were first available in 2016.



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         4.1.3. The Funds’ Peterson Positions

     The following chart displays changes to the Funds’ Peterson-related
positions over time, expressed as a percentage of the value of the Funds and
as a percentage of the dollars deployed by the Funds.

                Positions of Funds in the Peterson cases
                            Value of       Dollars       Ex. 2
            Date
                           Funds (%)     deployed (%) Reference
           June 30, 2011      17.56          16.33       row 2
     December 31, 2011          27.89            25.33         row 8
        August 31, 2012         37.47            34.10         row 16
     December 31, 2012          46.86            45.57         row 20
     December 31, 2013          62.19            55.15         row 32
     December 31, 2014          66.41            51.68         row 44
     December 31, 2015          71.72            57.69         row 56

     The Peterson trades were not a single position, but rather many
individual transactions with different terms, counterparties, and risk
profiles. Ex. 2393 ¶¶ 40-49; Tr. 3997-99, 5726-28. Respondents hedged
duration risk by structuring some of the Peterson trades as rebate
transactions (which increase in value over time) and others as flat-fee
transactions (which decrease in value over time). Tr. 4031-32. The Peterson
trades could also be satisfied by diverse sources of collateral. Tr. 5726-28.

    The purchase price of the Domestic Fund’s investment in Perles’s
Peterson fees was $20 million. Exs. 6, 227. The Domestic Fund purchased
more than $34 million in legal fees from Fay Kaplan Law for $12.5 million.
Exs. 6, 238; Ex. 444 at 11.

     After the Supreme Court’s decision, Fay and Perles refinanced their
loans with other lenders and paid off the Funds. Tr. 1600, 2419. On May 12,
2016, using third-party financing, Fay paid the Domestic Fund
$36,898,260.71. Ex. 2998. On September 21, 2016, using third-party
financing, Perles paid the Domestic Fund $62 million. Ex. 2333 at 1;
Tr. 1612-14.

    The weighted average actual annualized return for the Perles and Fay
transactions, including transactions “participated,” or sold, to third parties,




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was 34.23%. Ex. 2393, Exhibit 5A (chart showing actual annualized return on
Fay and Perles Peterson legal fee receivables). 9 Investments in the Peterson
judgment increased the average expected duration of the Funds’ positions by
as much as 12 months from June 2011 to June 2014. Ex. 2393 ¶¶ 32-33; id. at
Exhibit 3. But for most of the period from February 2015 to September 2016,
the Peterson receivables lowered the overall duration of the Funds’ positions.
Id. ¶ 33.

     Respondents broadened the types of Peterson trades they were willing to
execute and scaled up the size of the Peterson investments only to the extent
that developments approached certainty that the Peterson collection action
would succeed. When Respondents first started investing in the Peterson
judgment in 2010, they limited the Funds’ purchases to legal fees for which
the attorney had signed a performance guaranty and also pledged his entire
case inventory as collateral. Ex. 6 at column D. It was not until September
2012—after President Obama signed the asset-blocking executive order and
§ 8772 went into effect—that the Funds began entering into non-recourse
transactions with Peterson plaintiffs through individual assignment and sale
agreements. Ex. 6 at row 16. Respondents increased the size of the Funds’
investments in the Peterson judgment as collection of judgment proceeds
became increasingly certain. Tr. 4082, 6615; Exs. 1369 at 7, 1676 at 10, 1939
at 11, 2149 at 9 (2011-2014 Offshore Fund audited financial statements
showing Peterson growth from 14% of net assets in 2011 to 74% in 2014); Exs.
12 at 5, 14 at 6, 16 at 6, 19 at 6 (2011-2014 Domestic Fund audited financial
statements showing Peterson growth from 47% of capital in 2011 to as high as
75% in 2013). By June 30, 2015, the Funds had spent more than $32 million
purchasing portions of the Peterson plaintiffs’ judgment proceeds. See Ex. 6 at
cells C16 through C254, excluding advances to Fay at cells C222, C226, C232
& C241.

     As the Peterson opportunity became more attractive over time from a
risk perspective, a higher concentration of Peterson assets reduced overall
portfolio risk, Respondents’ experts explained. Ex. 2396 ¶ 112; Ex. 2393 ¶ 13
(“[A]s the concentration of Peterson receivables in the portfolio increased,
overall portfolio risk declined.”); Tr. 5726-28.

    Respondents took other actions to manage and attempt to minimize risks
associated with the Peterson trades. In their funding agreements,


9   By comparison, the weighted average actual annualized return for the
Funds’ non-Peterson receivables for which payment has been received was
24.75%. Ex. 2393, Exhibit 5B.




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Respondents provided that the plaintiff or her lawyers agreed that the
trustee managing the assets should disburse those assets directly to
Respondents, in the event that turnover was ordered, eliminating the risk
that the plaintiff’s lawyers would abscond with the payouts. Ex. 1108 at 6;
Ex. 238 at 8; Tr. 1613 (Perles testifying that the Clearstream I trustee “paid
the RD loan back directly,” and the funds “never went to [Perles’s] office”). In
addition, Respondents sold interests in some of the Peterson trades to third
parties such that the third parties bore, to some extent, some of the risks of
those trades. See, e.g., Ex. 713 (May 17, 2013, master participation
agreement); Ex. 3146 (various schedules to master agreement).

    In Martin’s opinion, “the risk management procedures of RD Legal
ensure that the actual level of the risks incurred remain consistent with its
approved risk profile that arise from its investment strategy.” Ex. 2393 ¶ 73.

     Based on their information advantage and risk management efforts,
Respondents held a sincere, good faith belief that the Funds’ investments in
the Peterson judgment were collectively the “best trade in the book.” Ex. 216
at 35-36 (transcription of a recorded telephone conversation involving, among
others, Dersovitz and Jason Garlock of Cobblestone Capital Advisors);
Tr. 5726-28 (Dersovitz testifying that “in [his] estimation, it was like
investing into cash . . . at a discount”); Tr. 395-96 (investor testifying that
Dersovitz was “gung ho” about Peterson); Tr. 492 (prospective investor
testifying that Dersovitz was “effusive” about Peterson); Tr. 2876-77, 4281,
6176, 6791.

    4.2. Daniel Osborn and the ONJ Cases

    The Funds also invested in legal fee receivables from attorney Daniel
Osborn. Osborn practiced through the Beatie & Osborn firm between 1998
and 2008. Tr. 1242-44. Following the firm’s dissolution, Osborn practiced
through Osborn Law, PC. Tr. 1251-52. Prior to its dissolution, Beatie &
Osborn had a long relationship with Respondents, involving the purchase and
successful collection of more than $7 million in fees. See Ex. 1186 (email from
Fund administrator to investors attaching March 2011 AUP); Tr. 1350.
Beatie & Osborn’s breakup, however, caused liquidity problems that
threatened the Funds’ ability to collect on fees they had previously purchased
from the firm. Ex. 1186 at 5.

     Around 2005, Osborn began representing plaintiffs injured by certain
prescription drugs, including in cases against Merck, Novartis, and Proctor &
Gamble related to the so-called “ONJ cases.” Tr. 1242-43, 1247-49, 1251-52;
Ex. 192 ¶ 13. The Funds’ first investment in the ONJ cases was a $177,000




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advance to Beatie & Osborn in August 2008, for potential fees from the action
against Novartis. See Ex. 5 at row 2.

     After Beatie & Osborn’s breakup, Respondents hired an independent law
firm, Smith Mazure, to conduct due diligence with respect to Osborn—
including interviewing Osborn, auditing the ONJ cases and Osborn’s
remaining case inventory, and, on at least one occasion, visiting his law
offices. Tr. 1249, 1252-53, 1343, 1355; Exs. 1137, 1431, 2064, 2072. After a
favorable review, Respondents agreed to advance funds to Osborn’s new firm
in an effort to preserve the Funds’ ability to recoup their previous
investments. Tr. 2672, 5550-52. Osborn signed a guaranty and assigned his
entire case inventory as well as a $1 million life insurance policy as collateral
for the Funds’ investment in the Osborn ONJ cases. Tr. 1311-12; see Ex. 477
at 6. The Smith Mazure audit was not a one-off engagement; the firm
repeatedly concluded that the anticipated legal fees due to Osborn should
exceed the balance due to the Funds. See, e.g., Ex. 1431 at 5-6 (Mar. 31, 2012,
AUP); Ex. 1712 at 7-8 (Mar. 31, 2013, AUP).

     Osborn’s firm experienced financial difficulties such that, without
continued investment from the Funds in the ONJ receivables, the Funds
would not have been able to recoup their prior investments in Osborn’s cases.
Tr. 1249-50, 5565-66; Ex. 481 at 2. Dersovitz and others at the Funds
considered the ONJ investments to be a workout and not part of the Funds’
primary strategy. Tr. 2672, 2680, 4473, 4610-11, 4637, 5825-26; Exs. 371,
610.

     Dersovitz invoked the flexibility provisions of the offering memoranda
when he authorized the initial funding for the ONJ cases. Ex. 721 at 1;
Tr. 2676-77. Schedules A-1, A-2, and A-3 to the Osborn Law master
assignment and sale agreement were applied to pay off outstanding
receivables owed by Beatie & Osborn. Ex. 721 at 1.

     The Funds’ offering documents and due diligence questionnaires did not
disclose the ONJ case investments as workouts. Tr. 2672-73, 2681-82, 5825-
26. But the quarterly AUPs prepared by Wiss & Company did disclose those
investments and explained why Respondents believed they were in the best
interests of investors after multiple audits and based on the record of
successful verdicts and settlements in individual ONJ trials. See Ex. 1712 at
7-8 (Mar. 31, 2013, AUP); see also, e.g., Ex. 1431 at 5-6 (Mar. 31, 2012, AUP);
Ex. 1544 at 5-6 (Sept. 30, 2012, AUP); Tr. 1350. The March 2013 AUP also
noted that Respondents had “increased the portfolio concentration limit for
the Novartis Pharmaceutical Company to $9MM.” Ex. 1712 at 7-8.




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     By November 2012, there had been at least a dozen trials in the cases
against Novartis; while the plaintiffs were successful in about half of them,
Osborn’s two clients were unsuccessful at trial. Tr. 1279-80. By the end of
2012, Respondents were aware that none of the ONJ cases had yet settled.
Tr. 2671. The litigants in the case against Merck entered into a settlement
agreement in March of 2014, more than four years after the last advance to
Osborn with respect to that case. See Ex. 2064 at 3 (Nov. 21, 2014, letter from
Osborn); Ex. 5 at row 18. None of Osborn’s Merck clients had settled before
the global settlement. Tr. 1295-96. Between July 2013 and August 2014,
Respondents sold participation interests in the assets relating to the Novartis
case to a third party for a total of $7.5 million. Ex. 3117. When the matter
against Procter & Gamble settled, Osborn and his co-counsel received
$593,200 in fees. Ex. 192 ¶ 64.

     By the end of 2015, the remaining purchase price of Osborn receivables
in the Funds was nearly $10 million. Ex. 2 at cell D56. They were valued at
approximately $16 million. Id. at cell F56. As of October 2016, including
amounts received from Osborn and his co-counsel and from a participation
agreement, the Funds had received almost $14 million for their ONJ
investments, half a million dollars more than the total amount advanced to
Osborn. See Exs. 3116, 3117; Tr. 5555-57, 5559.

    The following chart displays changes to the Funds’ positions in the ONJ
cases over time, expressed as a percentage of the value of the Funds and as a
percentage of the dollars deployed by the Funds.

                  Positions of Funds in the ONJ cases
                          Value of       Dollars        Ex. 2
            Date
                         Funds (%) deployed (%)       Reference
           June 30, 2011    10.57          9.59        row 2
      December 31, 2011        12.20           10.82           row 8
         August 31, 2012       10.46            9.57           row 16
      December 31, 2012        10.44           10.08           row 20
      December 31, 2013        11.09           10.91           row 32
      December 31, 2014         8.68           10.02           row 44
      December 31, 2015         9.69           10.32           row 56


     From January 2015 through December 2016, the Domestic Fund entered
into additional agreements with Osborn Law, advancing the firm $580,000
with respect to potential fees related to Ruiz v. Affinity Logistics, a wage-and-
hour class action. Ex. 477 at 122; Ex. 3117 at 4; Tr. 1320-22, 5563-64.


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Respondents’ decision to invest in the potential fees was preceded by a
favorable ruling from the Ninth Circuit Court of Appeals adjudicating that
Osborn’s clients were employees, not independent contractors. Ruiz v. Affinity
Logistics Corp., 754 F.3d 1093 (9th Cir. 2014). Ruiz settled for nearly $14
million after the conclusion of the hearing in this proceeding. Ruiz v. XPO
Last Mile, Inc., No. 3:05-cv-02125 (S.D. Cal.) (ECF Nos. 432 & 433).

     Following the Ruiz settlement, Osborn’s other case inventory remains
collateral for amounts still owed to the Funds. See, e.g., Tr. 1277-78, 1284-87,
1325-29. Dersovitz testified that he had “every reason to believe that [the
Funds] should get repaid” on its Osborn positions. Tr. 2683-84.

    4.3. Barry Cohen

     Barry A. Cohen is a Florida attorney who has been practicing since 1966
with various firms, handling both criminal and civil matters. Tr. 1389-91.
Cohen’s firm entered into a master assignment and sale agreement with the
Domestic Fund, in which it agreed to sell and assign to the Domestic Fund
legal fees earned on two cases relevant here. Ex. 202 at 29-80, 81-135;
Tr. 1420-21. First, Cohen represented James J. Licata in a criminal matter in
2007. Ex. 202 at 29; Tr. 1394-95. Second, Cohen represented the relator in a
qui tam action arising under the False Claims Act against WellCare Health
Plans. Ex. 202 at 81; Tr. 1407, 5568-69.

    The Funds’ investments in the Cohen cases occurred between 2007 and
2009. Ex. 202 at 29, 81. The AUPs disclosed and described the Cohen
investments. See, e.g., Ex. 1892 at 8-9; Ex. 1246 at 7; Ex. 1544 at 7-8.

         4.3.1. The Licata Matter

     Cohen was hired by Licata in early 2007 under a $15 million retainer.
Tr. 1395, 1435. The fee was earned the day the retainer agreement was
signed. Tr. 1435; see also Tr. 5779-80. Because Licata could not pay the
agreed amount in cash, he and his wife assigned a mortgage they owned and
their interest in an apartment building in New Jersey known as “Bel Air” to
two entities formed by the Cohen firm. Tr. 1395-96, 1435, 5786-87. In October
2007, the Domestic Fund advanced $2.5 million to purchase $3.3 million due
to the Cohen firm arising out of the Licata representation. Ex. 201 ¶¶ 21, 23;
see also Ex. 202 at 29. As security for, and to guarantee payment, the Cohen
firm caused to be pledged to the Domestic Fund the Licata mortgage and the
interest in the Bel Air. Ex. 202 at 29; Tr. 5571, 5788-89. By December 2007,
the Licata matter concluded, for probation and house arrest. Tr. 5779-80. In
2009, the Domestic Fund advanced the Cohen firm an additional $1,075,000
with respect to Licata. Ex. 201 ¶¶ 25, 28-29; see also Ex. 202 at 42, 53, 65.



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     Collection on the mortgage promissory notes and foreclosure of the Bel
Air building both required litigation—which took place from 2007 through at
least 2014—before true ownership of those assets could be established.
Ex. 1892 at 8-9; Tr. 5788-89, 5796-97. The quarterly AUPs provided investors
with some information on the status of these assets. See Ex. 1186 at 7;
Ex. 1431 at 7; Ex. 1712 at 8-9; Ex. 2092 at 9. Ultimately, the Cohen entity—
and by extension, Respondents—lost all ownership interest in the Bel Air
building. Tr. 1400-01, 5797-99.

         4.3.2. The WellCare Actions

     In May 2009, the United States filed a criminal case against WellCare
Health Plans, together with a deferred prosecution agreement between the
United States, the State of Florida, and WellCare. See Deferred Prosecution
Agreement, United States v. WellCare Health Plans, No. 8:09-cr-203 (M.D.
Fla. May 5, 2009) (ECF No. 4). Under the terms of the agreement, WellCare
agreed to pay $80 million to the United States and the State of Florida, but
there was no provision for paying any civil relator in the qui tam action—
such as Cohen’s client—under that agreement. See id. The criminal case was
“separate and apart” from the qui tam action. Tr. 1412-13, 1450. In June
2009, when Respondents advanced funds to the Cohen firm with respect to
the qui tam action, Cohen believed that the firm would be entitled to obtain
fees from the monies WellCare paid under the deferred prosecution
agreement; the United States Attorney “disagree[d] that a Relator is entitled
to recovery of forfeiture proceeds where, as here, the United States intends to
intervene in the qui tam suits and obtain a civil recovery,” because “the law
does not permit the Relator to also share in forfeiture proceeds from a
criminal resolution.” Letter to Barry A. Cohen dated June 1, 2009, at 2,
WellCare (M.D. Fla. July 20, 2011) (ECF No. 16-8). The district court rejected
the Cohen firm’s motion to intervene in the criminal action to enforce its
claim to legal fees. Order, WellCare (Sept. 21, 2011) (ECF No. 25).

     After the resolution of the qui tam action, the Cohen firm failed to remit
to Respondents any amounts it may have received from that action, resulting
in a lawsuit by the Domestic Fund against the Cohen firm filed in January
2013. See Ex. 201 ¶ 84 (“The Cohen Firm has not paid as much as a single
dime to [the Domestic Fund] on account of legal fees arising out of the
WellCare Turnover Litigation”).

     The following chart displays changes to the Funds’ Licata and WellCare
positions over time, expressed as a percentage of the value of the Funds and
as a percentage of the dollars deployed by the Funds.




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         Positions of Funds in the Licata and WellCare cases
                          Value of       Dollars        Ex. 2
           Date
                         Funds (%) deployed (%)      Reference
          June 30, 2011     16.39         11.37         row 2
      December 31, 2011       17.25          11.17            row 8
         August 31, 2012      12.47           7.92            row 16
      December 31, 2012       11.69           7.13            row 20
      December 31, 2013       12.20           6.69            row 32
      December 31, 2014       13.05           6.55            row 44
      December 31, 2015        8.99           6.85            row 56

    4.4. Deepwater Horizon Claimants

     With respect to the Deepwater Horizon oil spill, the Funds provided
advances to entities such as claims processors, claim administrators, and
accounting firms. See Exs. 410-415 (schedules to Master Assignment and Sale
Agreement between Domestic Fund and Claims Strategies Group); Ex. 8ZL
at rows 208-227 (investments with Gary Wittock, CPA, Clay C. Schuett &
First Financial of Baton Rouge); Tr. 1213-14. Approval for these investments
came from Dersovitz. Tr. 1215-17. Between June 2012 and July 2015, the
Funds deployed over $8 million—as high as 7.82% of the total funds deployed
by the Funds and 3.77% of the fair value of the Funds—with respect to the
BP case. Ex. 2 at cells P11-P51, Q50, and S43. Dersovitz testified that he
believed these investments could be permitted under the offering documents’
“flexibility clause.” Tr. 2665-67.

     The following chart displays changes to the Funds’ BP positions over
time, expressed as a percentage of the value of the Funds and as a percentage
of the dollars deployed by the Funds.

       Positions of Funds in the Deepwater Horizon Settlement
                         Value of        Dollars          Ex. 2
         Date
                        Funds (%)     deployed (%)     Reference
      August 31, 2012       0.68           0.90          row 16
   December 31, 2012          0.45              0.81            row 20
   December 31, 2013          0.97              2.67            row 32
   December 31, 2014          2.68              7.04            row 44
   December 31, 2015          1.41              7.50            row 56




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5. Marketing the Funds

     In the hedge fund industry, marketing materials and presentations, such
as those used by Respondents, are designed to serve as an introduction to a
fund and its manager, not as a comprehensive explanation of the fund’s
investment strategy or portfolio composition. Ex. 2396 ¶¶ 35, 41, 50, 54; see
Tr. 466-67, 4454, 4607. According to Amy Hirsch, who had long experience in
the industry before signing on to consult for Respondents, it is standard
industry practice to describe a fund’s investment strategy in general terms
and potential risks broadly in marketing materials. Tr. 4476, 4550-54.

      5.1. Respondents’ Marketing Pitch to Prospective Investors

     In November 2012, Respondents had a conference call with
representatives of Cobblestone Capital Advisors, an SEC-registered
investment adviser firm, which was considering investing in the Funds.
Cobblestone’s Jason Garlock recorded the call, per the firm’s practice for
discussions with “lead managers” like Dersovitz. Tr. 432. According to
Dersovitz it was “a typical investor call.” Tr. 6166-67. The call occurred after
Cobblestone had begun its due diligence of the Funds, which included an in-
person meeting with Rick Rowella, then-marketing director of RD Legal
Capital and conversations with Katarina Markovic and Meesha Chandarana,
business development and marketing employees at RD Legal Capital.
Tr. 411-428; see Ex. 276. Prior to the call, Respondents sent Cobblestone
presentations, demonstrations, and memoranda regarding the Funds’
strategy. Exs. 276, 282, 293, 302, 2772.

     Before the call, Garlock understood the Funds’ strategy to involve
“purchasing receivables from law firms.” Tr. 416. On the call, Dersovitz
explained that the Funds “accelerate legal fees on settlements and judgments
that are collectable.” Ex. 216 at 9. 10 He explained that attorneys might need
the fee acceleration services in a small percentage of settlements, such as a
settlement with a minor child plaintiff or a class action, in which a court
approval process delays payment of the settlement. Id. at 9-11, 17; see
Tr. 441, 446, 488.

     Dersovitz told Cobblestone representatives: “What we’re dealing with
primarily, 100 percent, are settled cases. So there is no litigation risk in the
strategy.” Ex. 216 at 7. Markovic similarly said that the Funds’ “focus is very,
very specific,” and that Respondents worked with only “settled” claims. Id. at

10   Exhibit 216 is a transcription of the Cobblestone recording. Page
citations to the exhibit refer to the pages of the transcript.




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31-32. Garlock testified that he understood Markovic’s representations (like
Dersovitz’s) to mean the Funds’ strategy was to invest in “only settled claims
[with] no litigation risk.” Tr. 452-53.

     Dersovitz was asked on the conference call whether “all the receivables
that you’re buying [are] the result of an agreed upon settlement? Or are there
cases that actually go to a court decision?” Ex. 216 at 9. He answered:

          A settlement is a settlement is a settlement. At some
          point during the litigation process, Party A agrees to pay
          Party B. And what we’re doing is accelerating the legal
          fees to attorneys that are entitled to their fee.

          Now we accelerate legal fees on settlements and
          judgments that are collectable.

Id.

     The questioning continued: “the judge can’t change that settlement,
right? I mean so the settlement is agreed between the two parties, the judge
just manages the payout process?” Id. at 10. Dersovitz said that “99.99999
percent of the time that’s true,” explaining that “[i]f a complaint or a
comment is made that a settlement is inappropriate, it’s always because it’s
not enough.” Id. at 10-11. Garlock found it significant that the Funds
purchased receivables where “two parties had agreed” because that meant
“both wanted to settle.” Tr. 439.

       For Garlock, who is not an attorney, there was no distinction between a
settlement and a judgment, and he interpreted Dersovitz’s statements about
the lack of litigation risk to apply to both. Tr. 491, 501. The absence of
litigation risk was important to Garlock because Cobblestone was “looking for
. . . finance economic-based strategies” in which to invest, “not strategies that
were funding litigation.” Tr. 436.

    Dersovitz explained to Garlock that the Funds’ two main risks were
duration and theft. Ex. 216 at 17. They also discussed concentration risk—
which Garlock was “always concerned about” with respect to potential
investments—with specific reference to Peterson, Novartis, and Merck. Id. at
35-36; see Tr. 425. Regarding duration risk, Dersovitz explained that there
was “a predictability” associated with how long the legal process should take
before payment is made, and that Respondents, as a rule of thumb, would
essentially double or triple that time. Ex. 216 at 17. It mattered to Garlock
that Respondents saw “a predictability around [duration risk],” because that
made the risk easier to manage. Tr. 447. Although Dersovitz named duration
one of the main risks of the investment, he also stated that “historically, that


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has been an insignificant issue,” and explained that duration impacts return
on investment rather than principal, and further that, due to the structure of
the returns to investors, the first reduction in return on investment impacts
Respondents rather than the investor. Ex. 216 at 19-20.

    Dersovitz also said that the risk of theft “can be tremendously
mitigated,” and that theft “has not been a real issue” because Respondents
“have the best hammer available”—that is, for the attorneys with whom
Respondents would do business, their law “license is on the line.” Ex. 216 at
20-21; see also Ex. 478 at 2 (investor notes of meeting with Respondents
noting “huge hammer for collecting: can get them disbarred”).

     When asked about the line of credit aspect of the portfolio, as seen in the
offering memorandum, Dersovitz explained that he “personally [was] not a
fan of that asset class because it’s not bankruptcy-proof. You’re just a secured
creditor, and you usually get diluted.” Ex. 216 at 15-16. Accordingly,
Dersovitz told Cobblestone that the line of credit business was “a diminishing
component of the business,” and that the $2.5 million balance of the line of
credit investments was “a de minimis piece of the business.” Id. at 16-17.

     At the end of the call, Cobblestone representatives asked about Peterson,
which it described as a “settlement with the U.S. Government and Iran.” Id.
at 35-36 (emphasis added). Dersovitz did not explicitly correct the questioner,
but in his response he described the opportunity as involving a “$2.65 billion
judgment [obtained] in 2007,” not a settlement. Id. at 37-39 (emphasis
added). Dersovitz described subsequent legal developments and delays the
plaintiffs experienced in trying to collect their award. Garlock understood
from what he was told by Respondents that Peterson was part of the Funds’
portfolio. Tr. 490-91, 493-95.

     Ultimately, Cobblestone declined to invest because of concerns about the
Peterson concentration and “difficulty understanding how an act of Congress
is the same as a legal settlement.” Tr. 462.

    5.2. Respondents’ Marketing Materials

     Respondents developed marketing materials through a “collaborative
process,” but Dersovitz had the final approval of all materials. Tr. 5503-04. In
2010, Respondents hired Hirsch on a consulting agreement to help create
“institutional quality marketing materials,” among other things. Ex. 3101.
Before coming aboard, Hirsch was of the view that the marketing materials
were not “institutional quality”: “You would get an email, for example, as
part of the marketing scheme, and it would have one line. It wouldn’t explain
what the line meant. It didn’t have maybe the right disclaimer on it.”
Tr. 4445-46. By October 2013 at the latest, Respondents retained industry


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compliance professionals to review their marketing materials. Ex. 1831;
Ex. 210 at 23-24; Tr. 4489.

         5.2.1. General Marketing Documents

     A one-page marketing document describing the Funds’ “opportunity and
strategy” explained that the “RD Legal Group purchases legal fee receivables
of settled litigation cases from law firms.” Ex. 267; Ex. 282 at 3 (“RD Legal
purchases legal fee receivables from law firms once cases have settled.”); see
also Ex. 35; Ex. 293 at 44. Another marketing document, titled “Overview,”
reiterated: “RD Legal purchases legal fee receivables from law firms once
cases have settled.” Ex. 41 (version reflecting returns through year end 2012);
see also Ex. 491 (“RD Legal factors legal fee receivables from US-based law
firms once cases have settled.”). The “Overview” stated that the funds
“principally consist of purchased legal fees associated with settled litigation.”
Ex. 41. A third document, “Executive Summary,” explained that the Funds’
“portfolio is principally comprised of purchased legal fees associated with
settled litigation [that is] past the point of any potential appeals or other
disputes.” Ex. 252 at 58. It added that the fees “are generally payable by bond
rated entities such as Municipalities, Insurers and public Corporations with
aggregate portfolio exposures limited based upon the creditworthiness of the
relevant Payor.” Id.; see also Ex. 240 at 2; Ex. 591 at 47.

     Respondents’ December 19, 2011, marketing presentation stated that as
of August 31, 2011, 94.99% of the Funds’ portfolios were in fee acceleration
balances and 5.01% were in lines of credit. Ex. 31 at 12, 14. It described fee
acceleration as for “Settled Cases Only.” Ex. 31 at 11; see also Ex. 31 at 12
(explaining strategy as purchasing “attorney fees only on settled cases”). An
earlier version of the presentation promised “full investor transparency to
portfolio positions.” Ex. 29 at 4.

         5.2.2. “Alpha Generation and Process”

     Respondents also marketed the Funds with a document titled “Alpha
Generation and Process.” See, e.g., Ex. 293 at 1, 19-42; Ex. 336 at 1, 6-33.
Iterations of the Alpha Generation document represented that the Funds’
portfolio “is principally comprised of purchased legal fees associated with
settled litigation.” Ex. 269 at 3; Ex. 38 at 4; Ex. 40 at 4; see also Ex. 47 at 4
(“The primary strategy of the Funds . . . is to factor Legal Fee receivables
associated with settled litigation from US based attorneys.”). By November
2013, the Alpha presentations distinguished the primary strategy of the
Funds from the special opportunities funds. Ex. 384 at 7. Like the “Executive
Summary,” the Alpha Generation document explained that the “legal fees
which arise from settled litigation are past the point of any potential appeals



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or other disputes and therefore the dollar value of the minimum legal fee can
be accurately determined.” Ex. 38 at 4.

    The Alpha Generation presentation listed three risks relating to fee
acceleration:

      (1)   seller and obligor default, which the document explains are
            mitigated by several factors, including that “Defendant(s) have no
            incentive to settle if they cannot make payment [so] the settlement
            validates financial capacity”;

      (2)   portfolio concentration, a risk the document explains is mitigated
            by “exposure limits on Obligors”; and

      (3)   the time value of money, a risk mitigated by Respondents’
            “[e]xpertise of knowing the typical tenure of payment for each of the
            various settlements.”

Ex. 38 at 12; see Ex. 40 at 12. These presentations also explained that the
Funds’ advances “are capped [by obligor] based upon long term bond ratings
to lower event risk.” Ex. 38 at 15; Ex. 40 at 15. The November 2013 version of
the presentation replaced portfolio concentration with attorney theft as one of
three risks identified. Ex. 384 at 13.

            5.2.3. Due Diligence Questionnaire

     Respondents typically shared a due diligence questionnaire (DDQ) with
potential investors, which was based on a template provided by the
Alternative Investment Management Association. 11 See, e.g., Exs. 244, 533;
Tr. 5245-46. In describing Respondents’ strategy, versions of the DDQ stated
that Respondents’ “portfolio consists of two investment products”: “Fee
Acceleration (Factoring)” and “Line[s] of Credit.” Ex. 39 at 11 (Sept. 2012
DDQ); Ex. 262 at 11 (Dec. 2011 DDQ) (same); see Ex. 48 at 9 (June 2014

11   As background, I note that according to AIMA, “the first AIMA DDQ—
for investors conducting due diligence on hedge fund managers—was
published in 1997. It was a response to requests from investors for a
standardized set of questions. Since then, the DDQs have gone on to become
the industry-standard template.” https://www.aima.org/sound-practices/due-
diligence-questionnaires.html. According to AIMA, “for investors, the DDQ is
an early step in the due diligence process but by no means is it the last step.
Investors use the information they get from the responses to these questions
to develop areas of focus for further questions and discussion with managers
and to cross check information from other sources.” Id.




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DDQ) (“The Funds are predominantly invested in legal fee receivables, and
less than 1% is in credit line facilities.”). The DDQs represented that fee
acceleration, or factoring, is the Funds’ “primary investment product and
represents approximately ninety-five (95) percent of assets under
management,” and explained that fee acceleration “is the purchase of a legal
fee at a discount from a law firm, once a settlement has been reached and the
legal fee is earned.” Ex. 39 at 11; see also Ex. 262 at 11 (same); Ex. 244 at 18-
19 (Dec. 2010 DDQ). Dersovitz testified that he is “certain that 95 percent
[was] an accurate number” to describe the percentage of the Funds’ assets
invested in factoring as recently as September 2012, although he disclaimed
“personal knowledge” of it in the following breath. Tr. 2668.

    As late as June 2014, the DDQ represented that the Funds’ strategy was
“unique” because:

          We have not identified any other registered entities that
          traffic solely in post-settlement legal fee receivables.
          There are entities that lend money to contingency fee
          attorneys, but they take litigation risk, which we don’t.

Ex. 48 at 9. The DDQ stated that lines of credit constituted “approximately
five (5) percent of ” assets under management, and described the Funds’ line
of credit product as different from factoring because, among other things, the
credit risk relating to the lines of credit depends “on the financial stability of
the law firm who is the borrower.” Ex. 39 at 11-12. The DDQ stated that the
line of credit portion of the Funds’ strategy was not expected to be a
substantial part of the Funds’ business going forward. Ex. 39 at 12.

    The DDQ represented that the Funds have “payor concentration limits
based on the . . . bond rating of the payor” and that such limits “protect [the
Funds’] investors from having a heavily weighted exposure to any one payor
default.” Ex. 39 at 11. The DDQ went on to explain: “diversification is
managed by limiting the level of portfolio exposure based on the obligor’s . . .
credit worthiness.” Ex. 39 at 13.

         5.2.4. Frequently Asked Questions

     Respondents also shared versions of a “frequently asked questions”
(FAQ) document with investors seeking to learn about the Funds. See, e.g.,
Ex. 1592 at 1, 25-30. The FAQ described Respondents’ “basic strategy” as
“one in which receivables arising from settled law suits are purchased at a
discount” and explained that the “primary focus is on purchasing the
aforementioned receivables of settled cases, or non-appealable judgments.”
E.g., Ex. 42 at 1; Ex. 44 at 1; Ex. 49 at 1. “Proof of settlement” was listed as
one of the Funds’ investment criteria. Ex. 42 at 1. The FAQ represented that


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the Funds’ investment strategy is different from those of “competitors that
execute legal fee strategies” in several ways, including that Respondents
were “the only significant sized, SEC registered entity that we are aware of
with a ‘post settlement’ strategy,” whereas “[t]here are many groups doing
pre-settlement funding to various degrees of success.” Ex. 42 at 3; Ex. 44 at 2;
Ex. 49 at 2.

     The FAQ stated that while there are billions of dollars in contingency
cases settled annually in the United States, Respondents participate in only
“a small percentage of this total which has a ‘post settlement payment delay’
associated with the payment of the settlement.” Ex. 42 at 3; Ex. 44 at 3;
Ex. 49 at 3. The post settlement payment delays “range[d] from nine months
to upwards of 2 years and can be caused by a number of factors such as
additional court procedures that need to be completed before a settlement can
be disbursed, lack of staffing in courts, insurance company policies and, State
by State statutes, etc.” Ex. 42 at 2; Ex. 44 at 2; Ex. 49 at 2. According to FAQs
dated as late as July 2014, Respondents “rarely purchased” receivables
relating to mass torts and multi-district litigation because the four-year
duration of such matters created a “duration mismatch.” Ex. 42 at 4; Ex. 44
at 4; Ex. 49 at 4. As early as September 2012, however, Respondents
acknowledged that duration had “increased over the years” as the Funds
diversified from personal injury cases into “class action cases and multi-
district cases.” Ex. 297A. The Funds’ “greatest overall risk” was “duration
and its effect on risk/reward.” Ex. 42 at 4. Additional risks included the
Funds’ lack of “complete control of cash,” the “related risk . . . [of] attorney
theft,” and obligor-related risk. Ex. 42 at 4.

    Regarding transparency, the FAQs noted various documents that
investors received or were available online. Ex. 42 at 3.

         5.2.5. Iran Special Purpose Vehicle Marketing Materials

     Respondents marketed the Iran SPV with two documents: a “Summary
of Investment Opportunity” (the Peterson timeline), Ex. 36, and the
“Memorandum of Terms for Private Placement” (Iran SPV term sheet),
Ex. 45. The 2012 Peterson timeline sets forth the background of the Peterson
litigation and analyzes the merits of the turnover litigation. Ex. 36. The
“Timeline to Resolution” section notes that it “likely will take until at least
July 2013 to resolve all of the issues raised in the consolidated litigation and
obtain a favorable judgment. An appeal of a favorable judgment likely would
follow and be concluded sixteen to eighteen months later, around December
2014.” Id. at 2. In the “Investment Steps, Funding and Settlement
Procedures” section, the 2012 timeline notes that “RD Legal has been
working in concert with” the Peterson attorneys and communicating with


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plaintiffs about the potential for cash advances. Id. It also notes that “RD
Legal has deployed $25 million” to the Peterson attorneys “to be repaid on
turnover of the Citibank account.” Id. It further states that “RD Legal will
purchase future cash flows from the Peterson Plaintiffs at a discount.” Id. At
the time, the Iran SPV had not been formed as a legal entity. Tr. 5530.
Respondents would provide the timeline to prospective investors even
without a nondisclosure agreement. Tr. 6520-22.

    The 2013 Peterson timeline, Ex. 46, is similar to the 2012 version in
format. It notes that Respondents are “seeking investors to participate in a
special business opportunity—financing the litigation receivables of the
Peterson Plaintiffs’ judgment.” Id. at 2. The document states that “pending
appeals will likely take eighteen months to resolve, concluding sometime in
2015.” Id. It does not state the amount deployed for Peterson investments, as
the 2012 version did. Compare Ex. 46 at 2, with Ex. 36 at 2. The 2013
timeline notes that “RD Legal has purchased and will continue to purchase”
from Peterson plaintiffs, whereas the 2012 version stated only that it will
purchase such cash flows. Ex. 46 at 2 (emphasis added); Ex. 36 at 2.

     The Iran SPV term sheet described the general structure and
opportunity of the Iran SPV. It stated that the investment was structured as
a special purpose vehicle with duration of two to three years, with a 0%
management fee and a 30% performance fee, and closing dates in September
and October 2013. Ex. 45 at 1. The term sheet stated that Respondents were
“seeking investors to participate in a special business opportunity—financing
litigation receivables of a judgment against Iran in the 1983 Marine Corps
barracks bombing in Beirut.” Ex. 45 at 1. The term sheet described the
background of RD Legal Capital and RD Legal Funding but did not reference
the Funds. After describing the investment opportunity, the term sheet
discussed three potential risks: (1) normalized relations between the United
States and Iran leading to a treaty nullifying laws favorable to collecting on
Iranian assets; (2) additional claimants; and (3) the judgment being
overturned. Id. at 2. The term sheet described congressional action as
“unlikely” and the risk of the judgment being overturned as “de minim[i]s”
and explained that, under New York law, the Peterson plaintiffs had a first
priority lien on the assets. Id.




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      5.3. Non-Marketing Materials 12

     In addition to materials prepared for the primary purpose of marketing,
Respondents also produced various documents primarily for keeping
investors informed. These included: (1) “independent accountant’s reports on
applying agreed-upon procedures”; (2) annual audited financial statements;
(3) Respondents’ underwriting department’s “Lotus Notes” databases; (4) RD
Legal Capital’s password-protected investor website; and (5) a so-called
“Citibank Memorandum.”

          5.3.1. Independent Accountant’s Report on Applying Agreed-Upon
          Procedures

     Respondents released the “Independent Accountant’s Report on Applying
Agreed-Upon Procedures” the first three quarters of each year. See, e.g.,
Ex. 1431 at 3. The agreed-upon procedures were created by the accounting
and business consulting firm Wiss & Company, LLP, to detail their findings
upon implementing certain procedures outlined in the Funds’ offering
memoranda. See, e.g., id. The AUPs were sent as a matter of course to all
current investors, but not prospective investors. See Tr. 5038-39.

     Wiss “judgmentally selected” a sample of receivables in the Funds’
portfolios and conducted certain “tests” over those cases, including verifying
whether the documents for the case associated with each receivable “did
reflect valid settlements” and verifying evidence that “the case has been
settled.” E.g., Ex. 1431 at 3-4. 13 The sections of the AUPs relating to the
sample cases contained additional language stating that “based upon review
by the law firm of Smith Mazure, it was determined that in each of the cases,
the documents did reflect valid settlements for which the Assignment and
Sale agreement was made” and also that Smith Mazure confirmed that with
“no exceptions” the Funds followed their due diligence procedures by
“verify[ing] there is proof the case has been settled.” See, e.g., Ex. 1064 at 4-6;
Ex. 1074 at 4-6; Ex. 1103 at 4-6; Ex. 1132 at 4-5; Ex. 1186 at 3-5; Ex. 2018 at
5-6. Thus, when a Cohen, ONJ, or Peterson receivable was included in the


12  I use the title “non-marketing” to distinguish materials whose primary
purpose is not to market the Funds. However, as discussed below, non-
marketing materials were generally made available to potential investors
who signed a nondisclosure agreement and requested access as part of their
due diligence on the Funds.
13  This AUP was identified in the Division’s Proposed Finding of Fact
No. 221 as a “typical” example of an AUP.




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sample, 14 the reader of the AUP could get the impression that such receivable
represented a settled litigation.

     However, in addition to the sample cases, the AUPs contained a section
on “asset delinquencies,” which presented Dersovitz’s “comments about
certain potentially delinquent/open receivables.” See, e.g., Ex. 2018 at 7-10.
The end of the delinquent receivables section noted that further information
or documentation was available on request. Id. at 10.

     These narratives changed over time to account for new developments,
but to take one example, the first quarter 2012 AUP described the ONJ cases
as ongoing litigation in which an “overall settlement” had not yet been
reached: “Recent trial verdicts and settlements provide additional evidence
supporting the collateral position of the Osborn obligation. . . . These sixteen
settlements & verdicts give rise to a $1.61MM average and Management
believes this bodes extremely well for a significant overall settlement.” See
Ex. 1431 at 6; see also Ex. 1186 at 5 (referring to the “unsettled ONJ case
inventory”). Some of the AUPs noted that the Osborn advances were entered
into in part in an effort at “preserving [Respondents’] previous capital
advances” to Osborn. Ex. 1186 at 6. After being shown the description of the
Funds’ investments in Osborn in the first quarter 2011 AUP (which is similar
to the description in other AUPs), Osborn testified that it accurately
described the status of the litigation and ongoing funding. Tr. 1350.

    By late 2009, the AUPs also described the problems the Funds were
having in collecting on the Cohen cases. Ex. 1083 at 7-8. Elliot Buchman, the
CFO of the Cohen firm, testified that the first quarter 2011 AUP narrative
accurately described the status of the Cohen investments. Tr. 5785-86.

     The AUPs did not discuss Peterson in the section on “asset
delinquencies.”

          5.3.2. Annual Audited Financial Statements

    The Funds drafted annual financial statements, which they had audited
before releasing to investors. E.g., Ex. 1141. From 2011 through 2015,
Marcum LLP, a large public accounting and auditing firm, audited the
financial statements, which were the responsibility of the Funds’


14   None of the AUPs mentioned the investments directly in Peterson
plaintiff receivables. Investments in Peterson attorney receivables, however,
were part of the “judgmentally selected” samples of the second quarter 2011
and 2012 AUPs. Exs. 1246, 1490.




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management. Tr. 3179-80. The financial statements ordinarily were given to
potential investors only upon request and after signing a nondisclosure
agreement. Tr. 6740.

     The financial statements contain a condensed schedule of investments,
divided into legal fee receivables and line of credit receivables, and listing a
payor or obligor for each receivable, from information supplied by
Respondents. E.g., Ex. 1141 at 9 (Offshore fund financial statements for
2010); Tr. 3185, 6869. As the auditors for the financial statements understood
it, payor indicates who is obligated to pay the Funds with respect to the
particular receivable listed in the schedule. Tr. 3187.

     The payor for the Funds’ Peterson positions was listed variously as
“Citibank,” “U.S. Government,” “Funds under control of the U.S.
Government,” or “Qualified Settlement Trust.” See Ex. 10 at 8; Ex. 11 at 6;
Ex. 13 at 8; Ex. 15 at 8; Ex. 16 at 6; Ex. 18 at 6; Ex. 19 at 6; see Tr. 3192-93,
3222, 3225. Dennis Schall of Marcum testified that these characterizations
were reasonable from an accounting standpoint, but that it would also have
been reasonable to list “Bank of Iran” or “Peterson Fund” as the payor.
Tr. 3193-95, 3226-28.

     As the name implies, the condensed schedule of investments provides
limited information on each scheduled investment. Thus, investors were not
able to determine from these schedules how many different cases or
investments each payor line item represented. See, e.g., Tr. 248, 860-61, 1167;
see also Tr. 6869. For example, a line item for Merck combined investments
related to a settled Vioxx matter and unrelated investments in the unsettled
ONJ litigation. Compare, e.g., Ex. 12 at 5, with Ex. 2869 at 8-9. The financial
statements listed Novartis or Merck as payors from 2010 through 2014, even
though neither yet had an obligation to pay. Ex. 9 at 8; Ex. 10 at 8, Ex. 18 at
6; Ex. 19 at 6; Tr. 2671. 15 The condensed schedule did not contain a separate
entry to reflect the total percentage of the Funds’ assets invested in the ONJ
cases, because they were listed under separate obligors—Novartis and Merck.
E.g., Ex. 13 at 8; Tr. 2685-87.

     Starting with 2011, some of the financial statements contain a note on
“finance concentrations,” stating that the “total exposure within the portfolio
for any single payor is limited based upon the lowest of the long term
unsecured bond ratings” and that “portfolio exposure limitation ranges from
15% to 30%” to the highest rated obligors. Ex. 12 at 21. In the 2012 and 2013

15   Schall recalled that Respondents told him that Novartis had an
obligation to pay at the time of Marcum’s audit. Tr. 3186.




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statements, the concentration note adds that the investment manager “may
make exceptions increasing the portfolio exposure above the above limits on a
case by case basis.” Ex. 14 at 25; Ex. 16 at 25. None of the financial
statements indicate that an exception or exceptions were made.

     Respondents also issued separate audited financial statements for the
Iran SPV. See Exs. 17, 20, 21. These statements contained notes on some of
the risks involved, including the risk that the Peterson litigation may be
unsuccessful and purchased receivables may not be satisfied. Ex. 17 at 21-22;
see Ex. 20 at 21; Ex. 21 at 21. The SPV financial statements also noted that
“normalization of relations between the U.S. federal government and Iran
could positively or negatively impact the Fund depending on how relations
are normalized.” Ex. 20 at 21. This language was provided to the auditors by
Respondents, who did not provide similar language for the Funds’ financial
statements. Tr. 3234-37. As of year-end 2014, the percentage of the Offshore
SPV partners’ capital invested in Peterson was 91.40%, while 74.16% of the
Offshore Fund partners’ capital was invested in Peterson. Compare Ex. 20 at
6, with Ex. 18 at 6. The Funds’ financial statements did not contain Peterson-
related disclosures similar to those in the SPV financial statements.

         5.3.3. RD Legal Capital Website

      RD Legal Capital maintained a password-protected website where
various documents, such as AUPs, financial statements, marketing
documents, and certain e-mails and memoranda, could be accessed. Tr. 4360,
5837; Ex. 2354A. Respondents offered to provide a password upon request to
investors or prospective investors who signed a nondisclosure agreement. See,
e.g., Ex. 244 at 2. The website did not contain a list of the Funds’ investments
or individual positions. Garlock received access to the website while doing
due diligence for Cobblestone, but found he was unable to determine the
Funds’ holdings from information on the website. Tr. 424; Ex. 302 at 1. When
he e-mailed Chandarana to ask if the website had a “list of portfolio
holdings,” she directed him to a Lotus Notes database. Ex. 302.

         5.3.4. Lotus Notes

     RD Legal Funding’s underwriting department used Lotus Notes as a
virtual filing system for documentation of transactions. Tr. 4760.
Respondents maintained a document library or database and a “demo”
library. Tr. 4392-93, 4760; Ex. 650 at 1. The former is the working library
used by the underwriting department and the latter was used to demonstrate
the nature and functionality of the system to someone who was unfamiliar
with it. Tr. 4393; Ex. 650 at 1. The files within the Lotus Notes libraries were
organized alphabetically by the name of the originating entity of a



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contemplated or realized transaction, rather than by particular litigation—
that is, the library was not organized so that an investor could determine for
“which cases Merck is an obligor.” Tr. 4865-66, 4871. The program’s search
function could be used for the titles of folders and documents, but not to
search the contents of documents. See Tr. 4910-11. As of 2015, the document
library contained 175,486 documents, Tr. 4848, and included documentation
related to all of the assets that RD Legal Funding considered originating,
whether or not the transaction was consummated, and whether it was
originated for the Funds or for third parties. Tr. 4315, 4857-58, 4886.

     The demo library did not contain every position the Funds held, but
instead contained “an example of some of the cases,” Ex. 650 at 1, relating
specifically to only six entities. Ex. 711 (screenshot of demo library). It did not
contain any documents relating to Peterson, the ONJ cases, or the Cohen
cases. Id.; Tr. 4962-63.

     From 2009 through fall 2013, certain of the marketing materials for the
Funds offered investors remote access to the Lotus Notes database upon
condition of signing a nondisclosure agreement. E.g., Ex. 39 at 15; Exs. 758,
766, 769. For potential investors who did not sign a nondisclosure agreement
or ask for full access, Respondents would conduct an in-person demonstration
of the Lotus Notes system, with historical transactions that were closed
instead of current transactions in the Funds. Tr. 6265, 6290-91. Remote
access to the Lotus Notes libraries was withdrawn from Fund investors in
late 2013. See Tr. 6012-13; Ex. 3112. Dersovitz testified that the proprietary
nature of their investment-related information was the motivation for
withdrawing remote access. Tr. 5841-43, 6278. However, documentary
evidence suggests the presence of personally identifiable information in some
of the documents as the motivation. Ex. 724 at 1. Beginning in the fall of
2013, the Funds’ marketing materials stopped mentioning investor access to
the Lotus Notes database. See Ex. 719 at 5; Ex. 1900 at 11.

     During the hearing, Jehanara Haider, Respondents’ assistant director of
operations and a member of the underwriting department, conducted a
demonstration of Respondents’ Lotus Notes document library. From her
demonstration, it could not be determined whether the database contains
lists of individual investments in each of the Funds’ portfolios, Tr. 4851-55,
the top five positions in the Funds’ portfolios, Tr. 4776-77, or whether the
search function could be used to find investments in the Funds’ portfolios
that may relate to “unsettled” or non-final cases. Tr. 4874-78, 4886-87.
Haider testified that these types of queries were not the way she used the
system for her work in underwriting, and that she would have to ask
Dersovitz or someone in accounting or investor relations if an investor made
such an inquiry. Tr. 4839-40, 4851-52.


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         5.3.5. Citibank Memorandum

     In February 2012, Respondents internally circulated a draft “Citibank
Memorandum” regarding increasing the Funds’ exposure to Peterson.
Ex. 272. The final version of the Citibank Memorandum, which twice
describes Peterson as a “settlement,” was dated February 28, 2012, Ex. 1324,
and posted on Respondents’ website on March 12, 2012. Ex. 3096 at row 193.
Dersovitz testified that the memorandum was intended to “connect the dots
for all investors that the Citibank exposure that they saw on the financials
related to a position involving Iran, Clearstream, restraining funds and so
on.” Tr. 5586. The memorandum was not mailed or e-mailed to investors.
Tr. 3551-52. Dersovitz directed at least some investors to go to the website to
see the memorandum after it was posted. See Ex. 278.

     The draft memorandum starts: “Due to a large increase in the amount of
advances for Citibank, N.A., we now have a need to increase its concentration
limitations.” Ex. 272 at 3. The draft notes that “As of January 31st [2012], we
have advanced $15 million solely on this litigation to two law firms,
exceeding the 10% limit imposed by its level 2 rating.” Id. The document
describes risks in Clearstream I, which it considers low:

          [T]he primary risk of the transaction is the time it will
          take to complete the remaining legal steps in the
          Federal District Court of NY, before the monies can be
          turned over to the lawyers for distribution. Not much
          different from the standard risk of time that we take
          (albeit admittedly this is longer). . . . We believe that the
          payment default risk of this institution is very low over
          the 2-3 year time period that we expect this matter to
          remain outstanding. It must be noted that Citibank has
          now fully segregated these monies and that it is no
          longer being held in the name of Clearstream. This
          financial risk is that of Citibank alone . . . .

          Going forward, we will be enacting a 30% limitation for
          Citibank exposure. For the future, we are expecting
          plenty of new capital inflows; however with the low
          expected risk, we may be increasing our exposure with
          Citibank. This limitation along with inflows should keep
          our exposure at a steady balance until the settlement
          pays fully and we are able to draw down our receivables.

Id.




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     The final posted memorandum contained a few notable revisions. It
predicted an expected duration of three years rather than two to three.
Ex. 1324. Language stating that the Peterson investment’s “standard risk of
time” was “longer” than the Funds’ usual investments was removed from the
final version. The final version also adds that “due to the confidential nature
of [Peterson/Clearstream I ], we are unable to give full details on its
standing.” Ex. 1324. Finally, one reference to “this matter” was changed to
“this settlement.”

     Between June 2012 and July 2012, the Peterson position grew to exceed
the 30% limit announced in the memorandum. Ex. 2 at cells M14 and M15
(showing increase of Peterson concentration from 26.42% to 31.18%).
Although the Peterson concentration continued to increase, Respondents did
not publish a subsequent Citibank exposure limitation memorandum.
Tr. 3815-18.

6. Investor Testimony

     Several potential and actual investors testified regarding their
interactions with Respondents. All but two of these witnesses—Salvatore
Geraci and Travis Hutchinson—were presented by the Division.

    6.1. Jeffrey Burrow

    Jeffrey Burrow is an investment advisor who owned Valley Wealth, an
investment advisory firm, until August 2014, when it merged with United
Capital, for whom Burrow was working at the time of the hearing. Tr. 92-93.

     Chandarana contacted Burrow in the spring of 2011 to propose an
investment in the Funds. Tr. 94-95. In an introductory call in late June 2011,
Chandarana “succinctly” explained Respondents’ investment strategy. Tr. 95;
see also Ex. 244 at 2. Chandarana gave Burrow examples of the types of cases
that the Funds were factoring and of the payors in those cases, stating that
they were creditworthy companies, and included pharmaceutical companies,
insurance companies, and municipalities. Tr. 95-96. Chandarana spoke about
diversification risk, which, according to Burrow, was that the timing of
repayment was uncertain, although this could be mitigated by having many
different notes with different estimated time frames. Tr. 96-97. Respondents
provided Burrow with the Funds’ offering documents, the Form ADV Part 2A,
the 2010 audited financial statement, and marketing documents. Exs. 244,
252, 1199; Tr. 181-82. Respondents also offered access to the website,
although Burrow viewed it as essentially a backup of documents
Respondents’ emailed to him, rather than a source of new information.
Tr. 101-02, 140, 190-91. As part of his diligence process, he spoke to someone
at the Funds’ administrator. Tr. 181-82. For Burrow, the most important


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document regarding the “terms of the deal” is a fund’s offering memorandum.
Tr. 186. As a non-lawyer, he did not know the difference between a
settlement and a judgment, both of which he viewed as opportunities for
future receivables. Tr. 193, 198-99.

     Before making additional recommendations to clients, Burrow met with
Dersovitz at the St. Regis Hotel in San Francisco in November 2011. Tr. 107.
The information Dersovitz conveyed matched what Chandarana had told
Burrow and what he had read in the marketing and offering documents.
Tr. 107, 118, 126, 146, 148. Dersovitz told Burrow that the Funds were
unique because “what he did didn’t exist anywhere else.” Tr. 129. Burrow
asked if the cases in which Respondents invested were non-appealable and
Dersovitz said “absolutely.” Tr. 130-31. According to Burrow, Dersovitz also
stated that obligors were entities that were “well known or easy to be
understood financially,” and mentioned pharmaceutical companies as an
example. Tr. 130-31.

     Dersovitz gave Burrow examples of risks of the investments, including
attorney theft and duration risk. Tr. 118. Burrow understood that duration
risk involved a delay between reaching a settlement and its payment,
because there was “a lot of procedure.” Tr. 149, 199-200. In discussing
diversification, Dersovitz told Burrow that the timing of the settlements in
which the Funds invested was staggered. Tr. 132. Dersovitz did not discuss
any workout situations. Tr. 132. If Burrow had been told that the Funds had
positions in ongoing cases, “they would not have received money from my
investors.” Tr. 125-26.

     In September 2013, Dersovitz and Markovic pitched Burrow an
opportunity to invest in the Iran SPV, which Burrow considered “separate”
from and “very different than” the Funds. Ex. 373; Tr. 152, 158. Burrow was
not interested in the opportunity for his clients (except for one) because it had
“just too many risks.” Tr. 152-53, 155; Ex. 372. Burrow did not recall anyone
from Respondents telling him that the Funds had invested in Peterson,
although Dersovitz may have said that he had personally done so. Tr. 152-57,
160. Burrow testified that conducting diligence on the Peterson position was
beyond his ability and would have required much more time than he had,
given that he had approximately 400 clients. Tr. 216. Reviewing the risk
disclosures in the Iran SPV offering documents on the stand, Burrow testified
that none of those risks were disclosed to him with respect to his clients’
investments in the Funds. Tr. 166-69. Burrow only became aware of the
Funds’ Peterson positions in 2015 when the Funds suspended redemptions.
Tr. 171-72.




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     At that time, Burrow spoke with Dersovitz and Markovic, who explained
that one reason for the suspension was the size of the Funds’ Peterson
position, which had not yet started paying. Tr. 160, 171. In August 2015,
Burrow asked for a list of positions in the Funds, because he could not
understand how the receivables had become so concentrated. Tr. 171;
Ex. 460. Respondents emailed Burrow a document containing an anonymized
list of assets in the Funds. Ex. 460 at 9-17. The total “indicated portfolio
value” is more than $172 million, id. at 17, yet no single entry exceeds $12
million, so Burrow could not understand mathematically how any one asset
made up the majority of the Funds’ assets. Tr. 173-74. Further, without a key
to the codes used in the law firm and position ID columns, there was
“absolutely no indication that any of these [positions] were different from . . .
the types of notes that were put in place on the fee acceleration strategy
previously.” Tr. 174.

     Burrow’s first client invested in the Funds in September 2011; four more
clients invested over the next eighteen months. Tr. 126, 239. His clients
invested a total of $3.6 million in the Funds over that period. Tr. 241-42. By
the time of the hearing, all of Burrow’s advisory clients had submitted
redemption requests, and all but one had received their principal and earned
interest. Tr. 175-76. The exception is a client who filed a redemption request
in May 2016—a year after the Funds had suspended redemptions—and, as of
the date of Burrow’s testimony, had not received a redemption payment.
Tr. 175-76.

    6.2. Tom Condon

     Tom Condon is the investment manager for himself and his extended
family. Tr. 949-50. After “extensive” oral and written communications with
Respondents—including his receipt of the offering memorandum, financial
statements, valuation reports, AUPs, access to Lotus Notes (which he did not
possess the technological savvy to use), and a listing of every position in the
portfolio—Condon invested $1 million in the Domestic Fund in early 2012.
Tr. 950, 971-72, 992-93, 995; Exs. 2703, 2869, 2870, 2879. Condon also
received access to the investor website, although he did not recall using it.
Ex. 3107 at 2; Tr. 1004, 1058. Condon was attracted by the legal factoring
side of the business—“a diversified portfolio of settled legal cases.” Tr. 953-54.
He “would have wanted to know if there was anything other than a settled
case in this portfolio,” because it may have influenced his decision-making.
Tr. 1056.

    As part of his due diligence, Condon posed twenty questions to
Respondents in an email in late 2011, which, along with Respondents’
answers, he copied into a document containing his notes on the opportunity.


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Ex. 263; Tr. 959-61. Condon asked for the “primary cause of payment delays,”
which Respondents stated were “court appeals and other operational issues,”
such as cases requiring approval by a judge, if there was a fairness hearing or
the plaintiff was a minor, or distribution of settlement proceeds by the
administrator in larger cases. Ex. 263 at 4-5; see Tr. 1023-27. Condon also
asked whether there was “any chance that the obligation to pay a judgment
could be overturned or re-enter litigation.” Ex. 263 at 5. Respondents said
that the Funds “are only purchasing receivables after a settlement agreement
has been signed by all the parties. . . . We will purchase the receivable once
the settlement is signed and all the terms are agreed to by both parties even
if it is conditioned on final court approval.” Id. Condon did not make any
distinction between settlements or judgments and considered the terms
interchangeable. Tr. 1029-30. What was important to him was that there was
no “chance the obligation to pay a judgment could be overturned or reenter
litigation.” Id. Condon asked these questions because he “wanted to be a
hundred percent sure . . . that there was no litigation risk.” Tr. 967-68.

     Respondents pitched the Iran SPV to Condon in the fall of 2013. Tr. 970-
71. Although the list of positions Condon received in December 2011
contained numerous entries for “Peterson, et al v. Islamic Republic of Iran,”
Ex. 2869 at 8, Condon testified that the SPV pitch was the first time he had
heard of the case, Tr. 970-71. He testified that he did not know until October
2013 that the Funds were invested in Peterson. Tr. 973; see Tr. 974-76.
Condon filed a partial redemption request in early 2014 because he “was
unsettled by learning that the Iran case was such a big portion of the fund.”
Tr. 977, 1048. Condon later requested redemption of the rest of his
investment and at the time of the hearing had received approximately $1.4
million on his $1 million investment. Tr. 1050-51.

    6.3. Warren Levenbaum

    Warren Levenbaum is the general partner and founder of the
Levenbaum & Trachtenberg law firm and the CEO of the American
Association of Motorcycle Injury Lawyers. Tr. 2948. He has been a lawyer for
over 45 years, during which time he has also served as a prosecutor and
worked as a criminal defense attorney. Tr. 2948-50.

     Levenbaum met Dersovitz or someone from Respondents at a convention
of people who “servic[e] the plaintiffs’ personal injury community,” and
became interested in the Funds. Tr. 2950-51. He began doing diligence on the
Funds in 2010, which included meeting with Dersovitz in Respondents’ New
Jersey office, speaking to several of Respondents’ employees, and reviewing
Fund documents. See, e.g., Tr. 2952; Exs. 528, 531. He made two investments
totaling $400,000, in March 2011 and April 2012. Tr. 2964.


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     After discussions with Dersovitz and reviewing the written materials he
received, Levenbaum came to understand that Respondents had a “niche” in
accelerating the legal fees to lawyers with respect to cases where liability had
been “settled and resolved,” but it could take months or years for the cases to
be funded, as well as investing a “small percentage” in the line of credit
business. Tr. 2951-52, 2957, 2960; Ex. 233 at 2. From his professional
experience, Levenbaum understood various other attorney financing
mechanisms and sources, such as advancing money to clients with structured
settlements or buying a large stake in a case on appeal. Tr. 2953-58. He was
not interested in investing in those opportunities, “first and foremost” due to
the risk involved. Tr. 2958. Levenbaum had the impression that Respondents’
strategy “was reasonably safe compared to other types of loaning operations
to the plaintiffs, legal community.” Tr. 2953. At the meeting in Cresskill,
Dersovitz told Levenbaum that fee acceleration was 95% of the business and
5% was in lines of credit. Tr. 2975. According to Levenbaum’s
contemporaneous notes, Hirsch confirmed those percentages in a call in
February 2011. Ex. 536 at 2. The next month, Levenbaum had a call with
Rick Rowella, then an employee of RD Legal, and two other employees.
Ex. 537. Rowella told him that Respondents had $61 million invested in 100
positions, concentrated in 25 attorneys or law firms, which led Levenbaum to
understand that the Funds were diversified. Ex. 537 at 1; Tr. 2997-98. In
addition to liking the strategy, Levenbaum valued transparency and
diversification. Tr. 2965-66, 2975.

     Levenbaum initially testified that it was his understanding that the
Funds’ did not have positions in cases that had not yet settled. Tr. 3001.
Levenbaum acknowledged that the offering memorandum referred to the
purchase of receivables from “litigation, judgment and settlements,” but
testified that it did not change his impression. Tr. 3088-89; see Ex. 235 at 5.
He also conceded that an AUP he received and reviewed before investing
described the Novartis ONJ case as ongoing and unsettled, although
Levenbaum interpreted this as part of a workout and not the Funds’ primary
strategy. Tr. 3105-07; Ex. 539 at 24-25. And, although Levenbaum reviewed
the materials he was sent before investing, he did not access the investor
website or Lotus Notes database, or review in detail AUPs and financial
statements he received after he made his investments, which he “probably
just skidded over.” Tr. 3004-05, 3045-46, 3071.

    Levenbaum had “no understanding, no knowledge whatsoever,” whether
Respondents had already invested in Peterson by the time of his second
investment in the Funds. Tr. 3021; see Tr. 3097-98. Levenbaum did not learn
about the Peterson position until a May 2015 conference call on which
Dersovitz “apologized for . . . not timely following up with investors about the



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Iran victims’ funding dilemma as it impacted RD’s ability to timely meet its
quarterly distributions.” Tr. 3020-21.

    On May 4, 2015, days after receiving the Funds’ illiquidity notice,
Levenbaum submitted a redemption request. Ex. 549 at 1. As of the hearing,
Levenbaum had received $579,614.66 on his $400,000 investment, and was
due an additional $108,000 in interest. Tr. 3044-45.

    6.4. Asami Ishimaru

     Asami Ishimaru has worked in the financial services sector for around
thirty years, and at the time of the hearing she was starting an investment
strategy business. Tr. 265-66, 350.

     She first heard of the Funds in 2009. Tr. 266. By early 2010, Ishimaru
met with representatives of Respondents, who explained that the primary
strategy of the Funds was to purchase from law firms and attorneys certain
accounts receivable representing legal fees derived from judgments and
settlements, but for various reasons experienced a delay in receiving
payment. Tr. 266-68. Dersovitz explained that some reasons for the delay
included settlements with municipalities or minors, class actions, and mass
torts. Ex. 231. Ishimaru was told that all of the cases in which the Funds
invested were cases where the “defendant was willing and able to pay.”
Tr. 375-76. In addition to reviewing Fund documents and her discussions
with Respondents, Ishimaru had access to the Lotus Notes database, however
she did not use it much because she “didn’t think [she] would really glean
anything to make [her] understanding of the fund any better.” Tr. 273, 401.

     Ishimaru was attracted by the strategy “because it seemed that it was
really a matter of duration,” and the payors “for the most part had fairly good
credit ratings.” Tr. 267. She was aware of, and had no interest in investing in,
funds that loaned money to lawyers who were “fighting a case.” Tr. 268; see
also Tr. 271. As a non-lawyer, she did not know the difference between a
settlement and a judgment and the use of one or the other of those terms did
not make a difference to her investment decision. Tr. 375-76; see also Tr. 278,
367.

     Dersovitz also told Ishimaru that he managed “a well-diversified
portfolio.” Tr. 276; see also Tr. 402. She does not recall Respondents telling
her before she invested about workout situations, cases where the defendant
was fighting an obligation to pay, or other exceptions to their strategy.
Tr. 280-81. Ishimaru understood that the offering documents provided the
investment manager with considerable flexibility. Tr. 377. Ishimaru invested
$100,000 in the Domestic Fund on February 26, 2010. Tr. 278; Ex. 2744. At
the time, the Funds had not yet invested in Peterson.


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     On July 29, 2011, Ishimaru and a college classmate, Paul Craig, 16 visited
Respondents’ offices in New Jersey, because Craig was “looking for an
investment opportunity that made regular payouts,” and Ishimaru was
considering further investment in the Funds. Tr. 287-90. Ishimaru did not
recall any differences between the Funds’ strategy as explained by Dersovitz
at the office meeting and the strategy when she first invested. Tr. 289.
Ishimaru did not recall whether Peterson or the Cohen cases were mentioned
on that visit. Tr. 302, 400. Ishimaru conceded that she had received an AUP
before the office meeting that explained, in part, the Cohen cases. Tr. 381-82.
However, because she was investing her own money in the Funds, she was
not as diligent as she would have been if she were investing someone else’s
money. Tr. 378. She only “glanced at . . . some of ” the AUPs, and did not
“carefully review[ ] every single one.” Tr. 377. Craig invested $2 million in the
Domestic Fund on August 25, 2011; Ishimaru did not make an additional
investment. Ex. 168 at 2.

     In early 2012, Ishimaru and Craig asked marketing director Rick
Rowella for a list of the “top five obligors of the portfolio.” Tr. 301. Rowella
emailed them a spreadsheet showing the top five to be: “Citibank, N.A.,”
Merck, Novartis, AstraZeneca, and “USA (Gov’t of ).” Ex. 1319. Ishimaru was
“really shocked with . . . how big the Citibank exposure was.” Tr. 303.
Rowella informed Ishimaru that the Citibank position referred to “money
that was frozen by the U.S. government that the Iranian government owns,”
and it “could be used to pay to the families of the victims of this Iranian
terrorist attack.” Tr. 302, 304, 332-33. This was the first she heard of
Peterson. Tr. 304.

     Throughout 2012, Ishimaru, Craig, and Steven Gumins, a friend of
theirs who had also invested, expressed to Respondents—via email, phone
calls, and meetings—their concerns with the Peterson position. See, e.g.,
Ex. 286 at 1 (email exchange referencing phone call between Dersovitz and
Craig); Ex. 1339 at 1-2 (Ishimaru noting that she had lunch with Hirsch and
“was able to get more information regarding the Citibank exposure”).
Ishimaru was concerned both because Peterson represented a concentration
risk, Tr. 303, and because it seemed to her to hold “a lot of political risk,” and
was “not the same kind of settlement” as was involved in the Funds’ other
positions. Tr. 311; 345-46. In addition, she believed that the uniqueness of the
Peterson position made its risk difficult to assess relative to the examples of

16  Craig did not testify but is discussed here because Ishimaru had direct,
contemporaneous contact with him with respect to all of his pertinent
dealings with Respondents.




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post-settlement delay Dersovitz previously described. Tr. 402-04. Although
she independently researched the case, she “didn’t really understand what
was going on” because of the case’s complicated legal and political posture.
Tr. 396.

    In response to their concerns, Dersovitz told the group that he “hope[d]
to bring these concentrations down.” Ex. 277 at 2. After further questions
from Craig, on March 13, 2012, Dersovitz wrote that it was “one of the best
assets in the book” and that he was looking to purchase “a much greater
amount in another vehicle.” Ex. 278 at 2. He also praised the Funds’
transparency, saying “we’re trying to be the most forthcoming manager you
can deal with and while there is always room for improvement, I simply can’t
imagine many managers being more transparent than us.” Id.

     More questions followed, and on June 10, 2012, Dersovitz wrote to
Ishimaru that “the concentrations for this asset could significantly increase,”
and directed her to the Citibank memo on Respondents’ website. Ex. 287 at 1.
Although Ishimaru was “uncomfortable” with the Peterson exposure, the
Fund had “a nice return, so [she] kind of just was hoping for the best” and did
not submit a redemption request at that time. Tr. 347; see also Tr. 408.

     Ishimaru submitted a redemption request on February 25, 2013, because
she “found out that the concentration of this Iranian exposure was . . . so
high that [she] didn’t really care if [she] was getting 13-and-a-half percent.”
Tr. 347, 408; Ex. 2759 at 2. Ishimaru received a return of $152,737 on her
$100,000 investment; Craig received almost $2.6 million on his $2 million
investment. Ex. 168 at 2; Tr. 361.

    6.5. Steven Gumins

    Steven Gumins runs Athens Capital Management, LLC, which is an
extension of a family office managing approximately $75 million. He founded
the firm in 2001. Tr. 3599-3601. Gumins has been a registered investment
advisor for more than thirty years and holds series 7, 63, and 66 licenses. Tr.
3656. He has no legal background. Tr. 3604.

    Gumins heard of Respondents in late summer of 2011 from Craig and
Ishimaru. Tr. 3601. As part of his due diligence, on September 11, 2011, he
had a four-hour meeting with Dersovitz and Craig at Respondents’ New
Jersey office. Tr. 3602-03. Dersovitz “explained [the Funds] extremely well
and had a lot of documentation to back it up.” Tr. 3603. Gumins understood
that the Funds “only invested in settled court cases, period.” Tr. 3603, 3611.
Gumins did not review the Funds’ offering memoranda or subscription
agreement, because to him they were “boilerplate,” but he had Brian Torres,
Athens’s CFO, review the documents. Tr. 3601, 3605-06, 3688. Ten days after


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the meeting, Athens invested $1,500,000 in the Domestic Fund; it made two
further investments for a total of $2,050,000: $250,000 on December 1, 2011,
and $300,000 on July 2, 2012. Exs. 592, 595, 3067; Tr. 3610-12, 3660-61.

     Gumins first heard about Peterson after Athens’s first two investments
in the Funds, through a February 2012 email from Respondents. Ex. 588;
Tr. 3613-14. He was against investing in Peterson because of the “headline”
or political risk, and because he had moral objections to it. Tr. 3613-14. Even
though Gumins knew about Dersovitz’s interest in Peterson before making
Athens’s third investment, he testified that, based on Dersovitz’s
representations, he did not think the Domestic Fund held Peterson positions
at that time. Tr. 3623-24. Over the next year, Gumins received from
Respondents reports and marketing documents that discussed Peterson,
including marketing documents relating to the Iran SPV, and was copied on,
and involved in, email exchanges among Ishimaru, Craig, and Dersovitz that
discussed Peterson, but Gumins testified that he did not read any of the
materials, even emails to which he replied. See, e.g., Tr. 3620-21, 3626, 3665-
67, 3671-72, 3681, 3683, 3690. On January 15, 2013, Gumins emailed
Dersovitz to ask for “our exposure to Iran onshore and offshore.” Ex. 598 at 3.
Dersovitz said it was at “roughly 40 – 45% and now beginning to dial down
with new dollars.” Id. at 2. Two weeks later, Athens submitted a request to
redeem its full investments in two installments. Ex. 3085. As of June 30,
2014, Athens Capital received payment of its full principal and interest,
receiving a return of almost $2.5 million. Ex. 168; Tr. 3661-62.

    6.6. TIGER 21 Investor Testimony

     TIGER 21—shorthand for “The Investment Group for Enhanced Results
in the 21st Century”—is a “peer-to-peer learning network” for high net worth
investors. Tr. 726; see Tr. 6098-99. Its members meet monthly in groups to
discuss investment opportunities. Tr. 595. Members engage in “collaborative
intelligence,” sharing information and evaluating investment opportunities,
but they invest individually. Tr. 893-94, 935-36. Five members of two TIGER
21 groups testified, and their testimony is organized below by group.

         6.6.1. Group 5

    Members of Group 5 included Allen Demby, a retired ophthalmologist
and registered investment adviser, Tr. 2163; Alan Mantell, a consultant and
non-practicing lawyer, Tr. 591-93; Ex. 482; Arthur Sinensky, a semi-retired
management consultant, Tr. 3296; Steven Wils, a private investor who
formerly ran a food distribution business, Tr. 869-70; Randy Slifka, a
manager of hedge fund portfolios and real estate investor, Tr. 600; and
George Mrkonic, Tr. 2194. Slifka had a consulting agreement with



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Respondents for promoting the Iran SPV. Tr. 3832-33. Demby, Mantell,
Sinensky, and Wils testified.

     In February 2013, Sinensky and Dersovitz—who went to the same
synagogue and country club and have known each other for approximately
twenty years—met for breakfast, during which Dersovitz provided a “high
level, introductory” summary of the Funds, including “what the investment
opportunity was . . . [and] how it worked.” Ex. 329; Tr. 3297-98, 3301-03.
Sinensky understood that Respondents invested in cases “that have been
resolved or settled and an award has been made”—meaning the case “was
finalized.” Tr. 3304. Afterward, Sinensky recommended to Group 5 that it
allow Dersovitz to give a presentation. Ex. 329; Tr. 3301-02.

     Shortly before the presentation to Group 5, Demby visited Respondents’
offices in New Jersey, and spoke with Dersovitz and Markovic. Ex. 501;
Tr. 2167. The visit lasted approximately forty minutes, during which
Respondents stated that the Funds invested “in cases that have been fully
adjudicated” with “no appeals pending” and that “no single investment in the
fund would exceed 5 percent of the fund.” Tr. 2167-69.

     On April 11, 2013, Demby, Mantell, and Sinensky attended a
presentation by Dersovitz and Markovic at a townhouse in New York City
used by TIGER 21. Tr. 599-603, 2204, 3302; see Exs. 336, 501. According to
Markovic, Dersovitz “launched into the Peterson case immediately,” which he
called “the best case of [his] portfolio,” and on which he spent half the
presentation. Tr. 6791. However, neither Mantell nor Demby recalled any
discussion of Peterson. Tr. 629, 2173-74. At the time, the Peterson positions
made up nearly 50% of the Funds on a fair value basis. Ex. 2 at cell O24.

     Mantell recalled that Dersovitz presented the Funds as “exclusively
focused” on funding matters “where the fees arose out of cases where
judgment had already been obtained and the opportunity to appeal had
passed,” as well as settlements, and the payors were primarily “insurance
companies” that were “good for the money.” Tr. 604-05, 735. The fact that the
receivables were purchased from lawyers provided additional assurance
because of their fiduciary duties. Tr. 605.

     Mantell recalls that Dersovitz told investors that there was no risk of
appeal from the judgments and settlements in which the Funds invested.
Tr. 617; Ex. 336 at 9. Mantell took that to mean there was “no risk of the
merit of the case. The merit of the case had nothing to do with the matter.”
Tr. 605-06. Mantell and Sinensky did not recall Dersovitz describing any risk
that the settlements and judgments in which the Funds purchased
receivables could be appealed. Tr. 610, 624, 3310-11. Mantell recalled that



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Dersovitz told him that the risk of obligor default was minimal because, in
the case of a settlement agreement, the agreement itself “validates financial
capacity” of the obligor. Tr. 618-19 (discussing Ex. 336). Mantell also recalled
that Dersovitz said the concentration risk of the portfolio was low. Tr. 619,
621. Mantell testified that concentrations of 25 percent or more may not
concern him if the payor is creditworthy, but could otherwise concern him.
Tr. 790-94.

     A couple weeks after the presentation, Sinensky forwarded to Dersovitz
a Wall Street Journal article about entities lending money to personal injury
plaintiffs at high rates of interest. Ex. 343, 561. In response, Dersovitz
“point[ed] out that [the article] deals with pre-settlement funding which is
very distinct from what we’re doing.” Ex. 343; see also Tr. 3317-18. Sinensky
took this as “an affirmation that the RD Legal fund does not do what this
article is talking about.” Tr. 3318.

     In May 2013, Demby invested $1 million in the Offshore Fund. Ex. 504.
Demby still was unaware of any Peterson positions in the Funds. Tr. 2180.
Demby read the subscription documents thoroughly before investing.
Tr. 2213. In June 2013, Sinensky invested $500,000 in the Offshore Fund.
Ex. 718 at 3. Sinensky recalled that Dersovitz mentioned Peterson during
their discussions, but in the context of the Iran SPV, not the Funds. Tr. 3311-
12. He did not recall Dersovitz mentioning that the Offshore Fund had
Peterson positions. Tr. 3320, 3324-26. Prior to investing, Sinensky received
the February 2013 Offshore offering memorandum, which he did not review
in full. Tr. 3319-20. Mantell submitted his subscription documents in June
2013, investing $325,000. Ex. 2850 at 14. Prior to investing, Mantell read the
entirety of the offering memorandum. Tr. 631. Mantell testified that he
thought that the Funds were “newly created” when he invested, although he
could not explain what gave him that impression. Tr. 787-88.

    At the time Mantell invested, it would have mattered to him if
Respondents were deviating from their original business plan—a
phenomenon he describes as “style drift.” Tr. 699-701. Further, he did not
know that the Funds would invest in Peterson. Tr. 654. In June 2013, the
concentration of the Funds’ Peterson positions on a fair value basis was
approximately 53%. Ex. 2 at cell O26.

     By June 2013, Wils, who missed Respondents’ presentation to Group 5,
attended a presentation before another group. Tr. 871-72; see also Ex. 718 at
3. During that meeting, Wils understood that Respondents bought
receivables that were “settled” from law firms that needed cash flow. Tr. 872-
73. Although he had a limited understanding of legal terms, Wils understood
“settled” to mean that “a judgment has been handed down by a judge.”


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Tr. 874. Dersovitz also mentioned that “a special purpose vehicle . . . was in
the works” related to Peterson, but “he did not go into great detail about it.”
Tr. 876. Wils understood it to be “a separate entity” from the Funds. Tr. 877.

     Wils and Sinensky attended a meeting at Respondents’ office in New
Jersey in July 2013. Tr. 882-83; see Ex. 351. At that meeting, Wils sat in on a
pitch Dersovitz gave to “two or three” prospective investors and then had a
separate conversation with him. Tr. 884-85. Over the course of about two
hours, Dersovitz again said that the investment was in “settled legal claims.”
Tr. 885.

     Wils invested $800,000 in the Onshore Fund shortly after the visit to
Respondents’ office. Ex. 2834. Wils testified that he invested based on the
“overview” marketing document and how Dersovitz orally represented the
Funds. Tr. 894-95. Wils also had access to, but did not use, the investor
website and other materials before investing. Tr. 915-16, 930; Ex. 336. Wils
later believed that he had not done enough due diligence. Tr. 929.

     At the time Wils invested, “because [Peterson] was presented on two
occasions as a special purpose vehicle . . . that had a higher return,” Wils
assumed that there were no Peterson positions in the Funds. Tr. 895-96, 917.
Wils had not asked about any specific positions in the Funds nor had he
reviewed any historical financials before investing. Tr. 931-32. Wils testified
he would not have invested had he known that 50% of the Funds’ portfolio
was invested in Peterson. Tr. 896. Yet, after learning about the Peterson
concentration, he did not immediately redeem in full, but instead left
$350,000 in the Fund. Tr. 902-03. At the time of his testimony, Wils had
already received approximately $991,000 in redemption payments on his
initial investment of $800,000, with more to come. Tr. 910.

     In September 2013, Markovic sent emails pitching the Iran SPV to Wils,
Mantell, and Sinensky and attached related documents. Exs. 360, 361, 362.
To Wils and Mantell, she described the SPV as “separate from our flagship
fund in which you are invested.” Exs. 361, 362. She also wrote: “As you may
recall, from time to time, we come across very large cases that we cannot take
full advantage of in our flagship funds” and informed them that Respondents
were launching the SPV “to absorb the excess capacity” of the investment in
Peterson. Exs. 361, 362. A little later, Sinensky—noting that the SPV would
likely be a “topic of conversation” at an upcoming TIGER meeting—
forwarded to Dersovitz a question from Demby. Ex. 364 at 2-3. Dersovitz
responded, noting that “the outcome [of the Peterson investment] appears to
be binary, with a very small probably [sic] in my own estimation, for non-
payment,” and setting forth the basis for his opinion that Peterson was a good
investment. Id. at 1-2.


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     Later that month, Mantell became concerned about advances made with
respect to the “workout” of the Osborn receivables, which he read about in an
AUP. Tr. 666-70; see Ex. 369. Mantell disagreed with the “workout” approach
and instead thought Dersovitz should consider writing down the Osborn
positions. Tr. 669-71. Mantell did not redeem at the time because the dollar
amounts of the advances “were not huge in proportion to the fund.” Tr. 668.
Mantell raised his concerns with Dersovitz, who wrote that Smith Mazure
“fully evaluated” the Osborn positions, and that Dersovitz decided to continue
the Osborn relationship “once the collateral was evaluated and it was
determined that there was a great deal of excess collateral and we were able
to achieve control of cash.” Ex. 371 at 2. Dersovitz continued, saying that “the
focus of the business remains exactly the same as it has always been, to
advance cash on settlements and/or judgments with a clearly identified
corpus of money to collect from. I assure you that has not changed, nor will
ever change.” Id. Dersovitz’s response concerned Mantell. Tr. 674-76. In
retrospect, Mantell testified that he “probably” would not have invested had
he known the Osborn positions represented approximately “10 percent of the
book.” Tr. 672-73.

     On March 23, 2014, the Wall Street Journal published an article titled,
“Hedge Fund’s $100 Million Bet: Iran Will Pay for Terror Attack.” Ex. 55. 17
The article reported that Respondents were “already . . . buying rights to
some of the payments received by victims’ families, as well as fees earned by
their attorneys involved in the case.” Id. at 2. Upon reading the Journal
article, Demby testified that he was “shocked and appalled” because he
“wanted nothing to do with” Peterson. Tr. 2182-83.

     The next morning, Demby emailed Markovic to ask “what percentage of
RD Legal Capital Fund is invested in the Iranian litigation settlement?”
Ex. 393. Later that day, Demby forwarded the article to other Group 5
members, including Mantell, Sinensky, Wils, Slifka, and Mrkonic, along with
a note of concern indicating that he was “pretty sure that Katerina and Ron
D stated previously that this fund and the Iranian settlement fund are
separate entities and that the existing fund would not participate in the
Iranian settlement ‘opportunity’.” Ex. 395. Demby spoke with Dersovitz and
Markovic that afternoon and reported the results to other Group 5 members
that $54.8 million of the total $178 million in the Fund was invested in
Peterson. Ex. 398.

17   I did not admit the article for the truth of the matters it asserts, but to
help provide context to investors’ reactions, without regard to the accuracy of
the reporting.




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     Mrkonic responded that it “sounds like [Dersovitz] . . . diverted his
primary fund into” Peterson, which was “very hi [sic] risk for him and thus for
us.” Ex. 397 at 2. Sinensky responded that the situation was “clearly, deeply
troubling,” and noted that Dersovitz had not warned him about the content of
the Journal article. Id. at 1-2. Slifka replied: “Ron told me that he had a 20%
position and that he was going to lay it off to the [S]wiss, and to a hedge
fund.” Id. at 1. Slifka found the “lack of disclosure [to be] very upsetting.” Id.
To him, the size of the Peterson position was “at best style shift, and more
likely taking too much risk with other peoples [sic] capital.” Id. However, a
year before this exchange, Slifka emailed various potential investors about
the Funds on at least six occasions, telling them about the Peterson
opportunity and stating that the Funds had a “disproportionate” and
“oversized” position in Peterson. See Exs. 1632, 1643, 1672, 1673, 1685, 1688.
Wils felt “blindsided” because he recalled that “it was presented that the
Iranian claims were in a special purpose vehicle at a higher risk, and,
therefore, a higher reward, by Mr. Dersovitz on two separate occasions.”
Tr. 900-01.

     After receiving Demby’s emails, Mrkonic emailed Markovic to request an
immediate redemption: “I am very concerned to learn that the [RD] legal
primary fund is invested in the Iran matter. I understood to be a separate
fund completely.” Ex. 683 at 3. That evening, Slifka spoke to Dersovitz and
reported back to the group that Dersovitz told him that “he is indeed selling
down his position.” Ex. 400 at 1-2. Mantell responded that he “wholly
agree[d]” with another group member that the Peterson position was “more
than style drift,” and said that he informed Dersovitz of his intent to “redeem
in full.” Id. at 1. Demby emailed Markovic that evening to request a full
redemption. Ex. 392; Tr. 2183. Mantell requested a redemption the next day.
Ex. 2843. Mantell redeemed because he “felt the risk profile of the fund, as
revealed by the financial statements of 2013, was intolerable,” referring both
to certain Osborn receivables and Peterson. Tr. 702-03. Demby redeemed
because he personally felt that Dersovitz had “violated [his] trust,” and “put a
very large investment into a settlement that was really, really risky and well
above [his] risk tolerance.” Tr. 2190.

     Wils and Sinensky met with Dersovitz in person to relay the TIGER 21
investors’ dissatisfaction, including that the investors “felt that we had been
deceived as a group,” but found that Dersovitz was “a bit evasive and didn’t
really directly answer our concerns.” Tr. 905-06. Wils redeemed his
investment in two partial requests beginning in April 2014. Tr. 902-04.
Sinensky redeemed his investment in September 2014 because of his concern
with the Peterson exposure. Ex. 171 at 2; Tr. 3337-38. As of the time of his
testimony, Sinensky had received $624,000 in redemption payments on his



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$500,000 investment, with additional redemption payments forthcoming.
Tr. 3390.

         6.6.2. Group 4

     In September 2013, Dersovitz and an RD Legal employee gave a
presentation to TIGER 21 Group 4, which David Ashcraft attended. Tr. 1460-
61; see also Ex. 718 at 3. Ashcraft formerly owned a software company and
currently owns a renaissance festival, which includes a farm and land being
used for home development. Tr. 1459-60. Dersovitz presented the Funds’
investment strategy as “basically buy[ing] settlements,” which Ashcraft
interpreted as cases that “had already been judged.” Tr. 1461-62, 1467-68.
For the purposes of the investment, Ashcraft did not distinguish between
settlements and judgments. Tr. 1497. Part of Dersovitz’s pitch to Group 4 was
that the “wide set” of assets that were purchased mitigated concentration
risk. Tr. 1463-65, 1501-02. Dersovitz also presented the Iran SPV. Tr. 1470-
71. Ashcraft’s opinion was that the Iran SPV had a risk profile that was
“night and day” from that of the Funds. Tr. 1471-73, 1514-15. Ashcraft did
not recall Dersovitz stating that the Peterson position was in the Funds.
Tr. 1474. Following the presentation, Markovic sent Iran SPV marketing
documents to Ashcraft. Ex. 367. He was not interested in the SPV. Tr. 1474-
75.

     Ashcraft also reviewed the offering memorandum, but believed that
Dersovitz’s oral statements were “far more relevant,” because “you invest in
people; not documents.” Tr. 1507-08. In January 2014, Ashcraft invested
$750,000 in the Offshore Fund. Ex. 718 at 3; Tr. 1477. At that time, Ashcraft
did not understand that there were Peterson positions in the Offshore Fund.
Tr. 1483-85.

     When Ashcraft learned of the Peterson exposure, sometime in “March or
April of 2014,” he was “surprised.” Tr. 1486-87. Ashcraft spoke to Markovic “a
number of times” and told her that the “the root causes of people’s concerns is
they’re becoming aware of the fact” that the Funds were invested in the same
case as the Iran SPV. Tr. 1534-35; see also Ex. 2947 at 1-2. At the time of his
testimony, Ashcraft had received one redemption payment of $76,000, on his
$750,000 investment, which was valued at $886,000. Tr. 1492.

    6.7. Andrew Furgatch

     Andrew Furgatch has degrees in business administration and law.
Tr. 2001. He practiced law for several years before becoming an officer of the
Public Insurance Company, which operates under the trade name Magna
Carta, where he is currently the chairman of the board and CEO. Tr. 2001-
02.


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     At a September 2013 investment conference in Monte Carlo, Markovic
gave Furgatch a brief introduction to the Funds and the not-yet-launched
Iran SPV in a “speed dating” format, along with a thumb drive containing
documents relating to the Funds. Tr. 2002-04, 2060-61. Markovic pitched the
Funds’ strategy as purchasing accounts receivables from law firms to collect
on attorney’s fees. Tr. 2006. Furgatch believes Markovic’s description of the
Funds was consistent with Respondents’ written documents that he received.
Tr. 2011. Markovic mentioned that the Iran SPV was a “high-risk, political
risk, one-off situation,” and told Furgatch that she did “not know a whole lot
about” it, but that he should ask Dersovitz for more information. Tr. 2005-06.
Furgatch was “absolutely not at all” interested in the Iran SPV. Tr. 2005.

     In October 2013, Furgatch visited Respondents’ office in New Jersey,
where he met Dersovitz and various employees of Respondents. Tr. 2007.
Dersovitz described the Funds’ strategy in “the same way” as Markovic and
the Funds’ FAQ; that is, that the Funds “invest[ed] in cases that were
already resolved, but it was just a matter of a timing risk of when the money
gets collected.” Tr. 2011. Furgatch understood Respondents to be
distinguishing themselves from other funds that took on litigation risk—
“investing in . . . the outcome of a litigation”—which his company already had
a “tremendous amount of ” and which the company was not interested in
taking on more of. Tr. 2010-11. Furgatch’s understanding was that the
Funds’ positions were “collateralized by the collectibles as distinguished from
essentially [a] nonsecured line of credit to a firm.” Tr. 2012, 2015. That day,
Furgatch also met the head of the underwriting department and received a
copy of Respondents’ underwriting guidelines, which Furgatch felt to be
“critically important.” Tr. 2017-19; Ex. 228.

     At a subsequent lunch meeting with Dersovitz and Markovic before
Furgatch invested, Dersovitz and Furgatch spoke at length regarding
Peterson, which Furgatch was “vehemently against investing in.” Tr. 2026-29.
When Furgatch asked if the Funds had invested in Peterson, Dersovitz
“hemmed and hawed,” before concluding that “he thinks maybe there could
be some residual negligible amount” in the Funds, but “he was just parking it
there until the special situations fund was launched.” Tr. 2029. Furgatch
believed that Peterson had political and litigation risk. Tr. 2030-02. However,
he relied on what he heard from Dersovitz and did not do independent
analysis of the case. Tr. 2092-93. Furgatch explained that Magna Carta did
not “dig[ ] in to examine the substance or the merits of any of the individual
investments that [Dersovitz] invested in.” Tr. 2124. Although Magna Carta
was given access to the Funds’ website, Furgatch did not know whether
anyone in fact accessed it. Tr. 2117-19, 2158-59.




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     In April 2014, Furgatch caused Magna Carta to invest $10 million in the
Domestic Fund. Tr. 2004-05. The following January, Miriam Freier, a relative
whom Furgatch had brought on to consult on alternative investments, heard
rumors of Respondents’ liquidity issues at a conference in Miami. Tr. 2037-
39. As a result, Furgatch spoke with Dersovitz and Freier emailed questions
to Markovic. Tr. 2040; Ex. 450. During a phone conversation in May 2015,
Dersovitz inaccurately informed Furgatch that approximately “10-20% of
domestic fund [is] in Iran.” Tr. 2041-42; Ex. 447. Furgatch was very upset at
the time, as he was worried about Respondents’ ability to satisfy Magna
Carta’s redemption request. Tr. 2046-47; Ex. 459 at 4; Ex. 447 at 2-3. A few
days later, Freier forwarded to Furgatch an email containing Markovic’s
answers to her questions, which included the information that 70.44% of the
fair value of the Domestic Fund was invested in Peterson. Ex. 450 at 2-3.
Furgatch was “blown away” by the discrepancy between the numbers
Dersovitz gave him and those from Markovic. Tr. 2051-52.

    As of the date of Furgatch’s testimony, Magna Carta had received
$12,129,000 in redemptions, and was awaiting the payout of the holdback
amount. Tr. 2096-98, 2133.

    6.8. Kyle Schaffer

     Kyle Schaffer is a partner and a member of the board of directors of
Ballentine Partners, a registered investment adviser based in Massachusetts,
and he has twenty-six years of experience in the financial services industry.
Tr. 1064-65. In the fall of 2013, two Ballentine analysts learned of the Funds
and brought the opportunity to Schaffer. Tr. 1066.

     On December 4, 2013, Schaffer had an introductory call with Markovic.
Tr. 1067-68. Schaffer then had other calls and meetings with Respondents
during his due diligence, including visits to Respondents’ offices in February
and June 2014. Tr. 1087, 1103-05; Ex. 478. He also received written
materials from Respondents, including an offering memorandum, the FAQ,
an AUP, three years of financial statements, and access to the website.
Exs. 2923, 2933; Tr. 1114-15, 1136, 1156-57, 1172. Schaffer thought Dersovitz
and Markovic were “adept in telling [him] the same story” during his various
conversations with them. Tr. 1087-88.

    One aspect of that story was that the Funds’ primary strategy was to
invest in receivables for “only cases . . . that were already settled.” Tr. 1069;
see Tr. 1112-15. Schaffer took that to mean that there was “one less
dimension of risk.” Tr. 1070, 1103. He was not interested in “presettlement
funding” opportunities, and would have wanted to know if the Funds were
exposed to similar risks. Tr. 1071. Dersovitz also distinguished Respondents’



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business from the competition by noting that other funds “are in the legal
receivables space generally, but they are presettlement players, meaning that
they’re funding cases that are still on, with uncertain outcomes.” Tr. 1102-03.
Schaffer is not a lawyer, and although he “recognize[d] there probably is a
difference” between settlements and non-appealable judgments, he “couldn’t
explain them.” Tr. 1115. For him, “they both provide[d] the same degree of
comfort.” Id. Schaffer understood the Funds’ primary risks to be duration,
theft, and nonpayment. Tr. 1098. Markovic told Schaffer that obligors for the
primary strategy tended to be “insurance companies, government entities,
and Fortune 500 companies.” Tr. 1071-72; see also Ex. 478 at 1. She also said
that Respondents’ “book” had 335 positions from 200 attorneys in 68 cases,
which led him to believe Respondents’ portfolio was “broadly diversified.”
Tr. 1074-75; see also Ex. 478 at 2.

     Markovic also discussed the Iran SPV during the introductory call.
Tr. 1077-78. She said it was to be a new fund, but that Dersovitz had made
deals with the attorneys before. Tr. 1077-79. But Schaffer did not know at the
time if those deals were still in the Funds’ portfolios. Tr. 1079, 1097.
Markovic also told him that Respondents were then “considering going
directly to [Peterson] plaintiffs” to purchase some of their claims. Tr. 1079-80;
see also Ex. 478 at 3. Schaffer testified that he was not interested in Peterson
plaintiff investments for his clients. Tr. 1081-83. Dersovitz did not tell him
during his June 2014 site visit that the Funds were invested in Peterson.
Tr. 1107-08. Schaffer read the Alpha Generation presentation to mean that
the Iran SPV was an “exception” to and “very different” from the Funds’
primary strategy. Tr. 1119-20; Ex. 489 at 4.

     Schaffer recommended that his clients invest with Respondents.
Tr. 1123. In January 2015, one invested $1 million in the Domestic Fund and
another invested $2 million in the Offshore Fund. Tr. 1123-24.

     Following those investments, in June 2015, Schaffer read an article in
the Wall Street Journal discussing the Funds’ investments in Peterson.
Tr. 1126-30. This was the first time he was aware the Funds were invested in
Peterson. Tr. 1096. He thought the article was “unnecessarily unflattering”
and a “little bit of a hatchet job,” but he knew that his clients would see it
and he wanted to know Respondents’ perspective, so he arranged a meeting
with Dersovitz. Tr. 1129-30. Dersovitz represented that 55% of the dollars
deployed in the Funds were invested in Peterson. Tr. 1132. Schaffer
encouraged his clients to redeem following the meeting. Tr. 1133. His
recommendation was based on (1) the Funds’ illiquidity, (2) the Funds’
position in Peterson, which “was not what [he] believed [they] signed up for,”
and (3) the Funds’ concentration in Peterson, which Schaffer felt was a “poor
portfolio management decision.” Tr. 1133-34.


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     Schaffer’s client who invested in the Domestic Fund filed for redemption.
Tr. 1135. The client invested in the Offshore Fund is participating in that
fund’s wind-down. Tr. 1135-36. As of the date of his testimony, Schaffer’s
clients had received one-third to two-fifths of their investment back. Tr. 1136.
In July 2016, after the initiation of this proceeding, Ballantine was informed
by the Division that “no money is missing [from the Funds] and investors
may do quite well.” Ex. 2928.

    6.9 Salvatore Geraci & Travis Hutchinson

     Sal Geraci is a member of HHM Wealth Advisors, a registered
investment advisor, whose clients first invested in the Funds during the
summer of 2012. Tr. 2726-27, 2744. Geraci is a certified public accountant,
certified financial planner, and has a law degree. Tr. 2727, 2792. Geraci
personally invested in the Funds in July 2012. Ex. 2999; Tr. 2731-32, 2745.
Travis Hutchinson, the managing member and financial planner for HHM,
was also involved with doing due diligence on the Funds for HHM’s clients.
Tr. 2819, 2821. The primary risks HHM was concerned with were: liquidity,
interest rates, inflation, concentration, and obligor risk. Tr. 2739-40, 2761.
Geraci was aware of investment opportunities in “cases that were still being
heard,” but decided not to invest in them. Tr. 2779-80.

     Geraci testified that he would have wanted to know before he invested,
and recommended that clients invest, if the Funds had more than 10% of
their portfolio in unsettled cases—as was the case with the ONJ Novartis
position. Tr. 2784-85. Hutchinson testified that to his knowledge the Funds
never invested in “mass tort litigation where there was no settlement yet,”
such as the ONJ Cases. Tr. 2866-67.

     Geraci and Hutchinson were aware of the Peterson position before Geraci
and HHM clients invested. Tr. 2751-52, 2880. They relied on Dersovitz to
evaluate the risks involved in Peterson. Tr. 2783-84, 2861. In March of 2014,
after reading a story in the Wall Street Journal about Respondents, Geraci
emailed Markovic to ask if the Funds would “participate in the new fund
Iranian judgment.” Ex. 1936 at 2. He also told Markovic that Dersovitz had
told him that the Domestic Fund had $6 million in Peterson. Id. In response,
Markovic informed him that the Domestic Fund had deployed $18 million
into the Peterson positions. Ex. 1936 at 1.

     Before Geraci and his clients invested, he understood from Respondents’
employees that the Funds had “concentration limiters” that capped how
much exposure they can take on as to any single obligor. Tr. 2793. He
testified that he would have wanted to know if those limits had been
changed. Tr. 2794. Hutchinson believed the offering memorandum “allowed



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[Respondents] quite a bit of discretion” to exceed the self-imposed
concentration limits. Tr. 2855.

    Geraci is still invested with Respondents and has a standing redemption
request to supplement his income. Tr. 2774-75.

7. Expert Qualifications

     The parties presented the testimony of three retained experts pertinent
to liability issues: Professor Anthony Sebok, Leon Metzger, and David
Martin. Sebok, who has taught at law schools since 1992, testified as an
expert witness on behalf of the Division. Ex. 223 at 2. He holds advanced
degrees in politics and law. Id. Since 2002, Sebok has specialized—through
academic research, scholarship, and conference presentations—in issues of
investments in litigation. Id. at 3; Tr. 2509-10. He serves as an ethics
consultant for the litigation finance company Burford, which partly invests in
litigation where liability has not been established. Tr. 2510. For the purpose
of his opinion, Sebok defines “factoring” as “a process by which a business
sells to another business, at a small discount, its right to collect money before
the money is paid.” Ex. 223 at 8. As discussed below, Sebok’s opinion is that
the types of risks associated with Respondents’ pertinent investments were
greater than those typically associated with factoring “a settlement or a final
non-appealable judgment obtained after litigation with an appearing
defendant.” Id. at 9, 25-41.

     Respondents presented the expert testimony of Leon M. Metzger.
Metzger has approximately thirty years of experience in the hedge fund
industry in senior positions and academia. Ex. 2396 at 1. He has taught over
thirty graduate courses on the management, operation and regulation of
hedge funds. Id. He served as the vice chairman of a firm that provides
services to hedge funds. Id. He has testified before Congress on hedge fund
matters on three occasions, and has appeared as an expert on such matters
before government agencies and multilateral organizations. Id. Metzger has
an MBA. Id. at 2. Here, Metzger’s opinions primarily address whether the
representations in the offering memoranda and other key documents are
consistent with the standard of care according to the customs and practices of
the hedge fund industry.

     Respondents also presented David X. Martin, who “provides advisory
services on complex risk and fiduciary issues” through his “strategic risk
management consulting firm.” Ex. 2393 ¶ 1; see id. at App’x A (curriculum
vitae). Martin has “held senior positions at PricewaterhouseCoopers (PwC),
Citibank, and AllianceBernstein” during more than forty years working as a
financial executive. Id. ¶ 1. He has “extensive experience with investment



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strategies, quantitative research, exchanges, supervising trading desks,
performing due diligence on major pricing vendors, [and] investment
research.” Id. He is the author of two books and numerous white papers on
risk and risk management. Id. ¶ 3. Martin is a certified public accountant
and has an MBA. Id. ¶ 5.

                             Conclusions of Law

     Respondents are charged with willfully violating the antifraud
provisions of the Securities Act and the Exchange Act. OIP at 14. Dersovitz is
charged with willfully aiding and abetting and causing RD Legal Capital’s
violations. Id.

     Exchange Act Section 10(b) prohibits the use or employment of any
manipulative or deceptive device “in connection with the purchase or sale of
any security”; specifically, Section 10(b) and Rule 10b-5 prohibit:
(1) employing any device, scheme, or artifice to defraud; (2) making material
misstatements of fact or statements that omit material facts; or (3) engaging
in any act, practice, or course of business which operates or would operate as
a fraud or deceit upon any person. 15 U.S.C. § 78j(b); 17 C.F.R. § 240.10b-5.
“[C]onduct that produces a false impression” is deceptive. Dennis J. Malouf,
Securities Act Release No. 10115, 2016 WL 4035575, at *6 (July 27, 2016),
petition for review filed, No. 16-9546 (10th Cir. Sept. 8, 2016); see also SEC v.
Dorozhko, 574 F.3d 42, 50 (2d Cir. 2009) (“In its ordinary meaning, ‘deceptive’
covers a wide spectrum of conduct involving cheating or trading in
falsehoods.”).

     Securities Act Section 17(a), which applies “in the offer or sale of any
securities,” prohibits: (1) employing any device, scheme, or artifice to defraud;
(2) obtaining money or property by means of any material misstatement of
fact or statements that omit material facts; or (3) engaging in any
transaction, practice, or course of business which operates or would operate
as a fraud or deceit upon the purchaser. 15 U.S.C. § 77q(a). Unlike Section
10(b), a finding of manipulative or deceptive conduct is not required for a
violation of Section 17(a). Malouf, 2016 WL 4035575, at *10-11.

     Scienter is required to prove violations of Securities Act Section 17(a)(1)
or Exchange Act Section 10(b) and Rule 10b-5, whereas negligence is
sufficient to prove violations of Securities Act Section 17(a)(2) or (a)(3). Aaron
v. SEC, 446 U.S. 680, 701-02 (1980); Ira Weiss, Securities Act Release
No. 8641, 2005 WL 3273381, at *12 (Dec. 2, 2005), petition for review denied,
468 F.3d 849 (D.C. Cir. 2006). Scienter is defined as “a mental state
embracing intent to deceive, manipulate, or defraud.” Aaron, 446 U.S. at 686
n.5. Scienter can be established by extreme recklessness, which is “an


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extreme departure from the standards of ordinary care, . . . which presents a
danger of misleading buyers or sellers that is either known to the defendant
or is so obvious that the actor must have been aware of it.” SEC v. Steadman,
967 F.2d 636, 641-42 (D.C. Cir. 1992) (internal quotation marks omitted); see
also Dolphin & Bradbury, Inc. v. SEC, 512 F.3d 634, 639 (D.C. Cir. 2008)
(explaining that as extreme recklessness is a lesser form of intent, “the
danger [must be] so obvious that the actor was aware of it and consciously
disregarded it”).

     Any misstatements or omissions must be material. A representation or
omission is material if there is a substantial likelihood that disclosure of the
omitted fact would have been viewed by a reasonable investor as having
significantly altered the total mix of information available. Basic Inc. v.
Levinson, 485 U.S. 224, 231-32, 240 (1988); TSC Indus., Inc. v. Northway,
Inc., 426 U.S. 438, 449 (1976); see Azrielli v. Cohen Law Offices, 21 F.3d 512,
518 (2d Cir. 1994) (“A fact is to be considered material if there is a
substantial likelihood that a reasonable person would consider it important
in deciding whether to buy or sell shares.”). Both Securities Act Section 17(a)
and Exchange Act Section 10(b) prohibit “ ‘half-truths’—literally true
statements that create a materially misleading impression.” SEC v. Gabelli,
653 F.3d 49, 57 (2d Cir. 2011), rev’d on other grounds, 568 U.S. 442 (2013).
Whether a statement is misleading is judged from the point of view of an
objective investor. See TSC Indus., 426 U.S. at 449.

    Liability under Securities Act Section 17(a)(1) and (a)(3) and Exchange
Act Rule 10b-5(a) and (c) may be predicated, in some circumstances, on
conduct involving misstatements. See SEC v. Goldstone, 952 F. Supp. 2d
1060, 1205-06 (D.N.M. 2013); SEC v. Familant, 910 F. Supp. 2d 83, 95
(D.D.C. 2012); Malouf, 2016 WL 4035575, at *8, *11-12. 18 For example,

18  Courts have held that “[a] defendant may only be liable as part of a
fraudulent scheme based upon misrepresentations and omissions under
Rule[ ] 10b-5(a) or (c) when the scheme also encompasses conduct beyond
those misrepresentations or omissions.” WPP Luxembourg Gamma Three
Sarl v. Spot Runner, Inc., 655 F.3d 1039, 1057 (9th Cir. 2011); see also Pub.
Pension Fund Grp. v. KV Pharm. Co., 679 F.3d 972, 987 (8th Cir. 2012);
Lentell v. Merrill Lynch & Co., 396 F.3d 161, 177-78 (2d Cir. 2005); SEC v. St.
Anselm Expl. Co., 936 F. Supp. 2d 1281, 1298-99 (D. Colo. 2013); SEC v.
Benger, 931 F. Supp. 2d 908, 913-16 (N.D. Ill. 2013); Familant, 910 F. Supp.
2d at 93-94; In re Nat’l Century Fin. Enters., Inc., Inv. Litig., No. 2:03-MD-
1565, 2006 WL 469468, at *21 (S.D. Ohio Feb. 27, 2006). In Malouf, the
Commission disagreed with this approach. See 2016 WL 4035575, at *5-11 &
n.14.




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“repeated acts, such as repeatedly making or drafting materially misleading
statements over a period of time,” may create liability under Securities Act
Section 17(a)(3). Malouf, 2016 WL 4035575, at *12 (emphasis in original).

     In the context of the securities statutes, willfulness means intentionally
committing the act that constitutes the violation, and “does not require that
the actor ‘also be aware that he is violating one of the Rules or Acts.’ ”
Timothy S. Dembski, Exchange Act Release No. 80306, 2017 WL 1103685, at
*13 (Mar. 24, 2017) (quoting Wonsover v. SEC, 205 F.3d 408, 414 (D.C. Cir.
2000)), petition for review denied, 726 F. App’x 841 (2d Cir. 2018). The
willfulness requirement may be satisfied by negligent conduct. See C. James
Padgett, Exchange Act Release No. 38423, 1997 WL 126716, at *7 n.34 (Mar.
20, 1997).

     Insofar as the Division has proved that Respondents made material
misstatements, Respondents do not contest the following elements: They
obtained money “by means of ” such misstatements within the meaning of
Section 17(a)(2). See 15 U.S.C. § 77q(a)(2); SEC v. Stoker, 865 F. Supp. 2d
457, 465 (S.D.N.Y. 2012). The misstatements were made “in the offer or sale
of any securities” within the meaning of Securities Act Section 17(a) and “in
connection with the purchase or sale of any security” within the meaning of
Exchange Act Section 10(b). See 15 U.S.C. §§ 77q(a), 78j(b); SEC v. Zandford,
535 U.S. 813, 819-20, 825 (2002); United States v. Naftalin, 441 U.S. 768, 778
(1979). And the misconduct involved use of interstate means. See SEC v.
Softpoint, Inc., 958 F. Supp. 846, 865 (S.D.N.Y. 1997) ( jurisdictional element
is broadly construed and easily satisfied), aff’d, 159 F.3d 1348 (2d Cir. 1998);
Thomas Lee Hazen, Treatise on the Law of Securities Regulation § 17.13
(WestLaw 2018) (“It is very difficult to imagine a securities transaction that
does not in some respect involve an instrumentality of interstate commerce.”).

     To establish Dersovitz’s causing liability, which would subject him to
sanctions under Securities Act Section 8A and Exchange Act Section 21C, the
Division must establish (1) a primary violation of any provision of the
Securities Act or Exchange Act; (2) his act or omission contributed to the
violation; and (3) he knew or should have known that the act or omission
would contribute to the violation. Robert M. Fuller, Securities Act Release
No. 8273, 2003 WL 22016309, at *4 (Aug. 25, 2003), petition for review
denied, 95 F. App’x 361 (D.C. Cir. 2004). Negligence is sufficient to establish
that he caused a violation of a provision that does not require scienter. See
KPMG Peat Marwick LLP, Exchange Act Release No. 43862, 2001 WL 47245,
at *19 (Jan. 19, 2001), petition for review denied, 289 F.3d 109 (D.C. Cir.
2002).




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8. Respondents Made Material Misrepresentations and Omissions

    The Division argues that Respondents made material misrepresentations
and omissions in their oral and written communications with investors,
specifically in relation to the investments discussed in the findings of fact.
For the reasons discussed below, I find that Respondents made material
misstatements with respect to certain of their Osborn and Cohen receivables,
but not with respect to Peterson or Deepwater Horizon.

    8.1. In the Offering Memoranda and Other Disclosures, Respondents
    Represented that “All” of the Funds’ Investments Arose from Settlements
    and Judgments

     Respondents contend that they were permitted under the offering
memoranda to make the investments challenged by the Division and, to the
extent that other written or oral statements to investors were contradicted by
clear language in the offering memoranda, the terms of the offering
memoranda control. Resp. Post-Hr’g Br. at 5-6.

     In securities cases, whether a particular written disclosure should trump
misrepresentations made in other writings or orally to investors “is highly
fact-specific and therefore is not amenable to bright-line rules.” SEC v.
Morgan Keegan & Co., 678 F.3d 1233, 1250 (11th Cir. 2012). I agree with
Respondents that I should begin with consideration of the terms of the
offering memoranda, which were the cornerstone of the “total mix” of
information available to investors. See Brown v. E. F. Hutton Grp., Inc., 991
F.2d 1020, 1032 (2d Cir. 1993) (“[W]ith respect to the Partnership’s risks, the
Brochure directs the potential investor to the Prospectus, the single most
important document and perhaps the primary resource an investor should
consult in seeking that information.”). But in the offering memoranda as well
as in other representations, Respondents gave investors the distinct
impression that the Funds were invested exclusively in legal receivables from
cases that were resolved by settlement, an agreement between parties, or, in
some instances a judgment against a debtor—with little to no litigation risk.

     The terms of the offering memoranda advised readers that Respondents
“will”: (a) purchase from law firms receivables representing legal fees derived
from “litigation, judgments and settlements”; (b) purchase from plaintiffs
receivables representing proceeds from final judgment awards or settlements;
(c) provide loans to law firms through secured lines of credit; and (d) provide
capital to law firms to pursue certain other opportunities outside of these
categories. E.g., Ex. 60 at 5, 13-14; Ex. 66 at 5. The offering memoranda also
include a flexibility provision stating that Respondents will “not be limited
with respect to the types of investment strategies [they] may employ or the



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markets or instruments in which [they] may invest,” will “seek to capitalize
on attractive opportunities, wherever they might be,” and “may pursue other
objectives or employ other techniques [they] consider[] appropriate and in the
best interest of the [Funds].” E.g., Ex. 60 at 17. The offering memoranda set
forth a broad and diverse strategy—within the litigation receivables field—
that by its nature is forward looking and subject to change over time, and do
not mention any specific cases held in the Funds’ portfolios.

     Notwithstanding the flexible mandate, the offering memoranda stated
that the Funds had to that point employed a more limited investment
strategy. From 2007 to 2012, each offering memorandum stated that the
Funds had only purchased legal fees arising from settlements or memoranda
of understanding; after 2012, the offering memoranda stated that judgment
receivables had also been purchased. For example, the July 2007 Domestic
Fund offering memorandum, while authorizing Respondents to purchase
legal fees from litigation or judgments prospectively, nonetheless states that:
“All of the Legal Fee Receivables purchased by the Partnership arise out of
litigation in which a binding settlement agreement or memorandum of
understanding among the parties has been reached.” Ex. 1017 at 12. From
July 2011 through the hearing, eight offering memoranda (four Domestic and
four Offshore) used language substantially similar to the foregoing, but
included it not just in the “strategy” section of the document, but also in the
“risk” section. See Ex. 61 at 14, 21; Ex. 62 at 14, 21; Ex. 63 at 13, 17; Ex. 64 at
13, 17; Ex. 65 at 16, 25; Ex. 66 at 13, 18; Ex. 67 at 16, 24; Ex. 591 at 90, 94.

     In reading these provisions, the offering memoranda represented that, as
of the date the offering was published, “all” of the Funds’ past purchases
arose from settlements or judgments. Or stated differently, no offering
memorandum ever advised a reader that the Funds had ever purchased a
legal fee arising out of anything other than a settlement or judgment.

     In addition to the offering memoranda, the Division contends that
statements and omissions in other documents are actionable. Much like the
offering memoranda, Respondents’ Disclosure Brochure on Form ADV-Part
2A in 2011 stated that “except for some of the ‘other advances’ provided to
law firms [not pertinent here], all of the legal fee receivables purchased by
the funds arise out of litigation in which a settlement agreement or
memorandum of understanding among the parties has been reached.”
Ex. 218 at 10. In 2012, 2013, and 2014, the pertinent language read that “all
of the legal fee receivables purchased by the funds arise out of litigation in
which a Legal Fee has been earned and the settlement has either occurred or
is pending.” Ex. 219 at 11; Ex. 220 at 10-11; Ex. 1932 at 12. Although
Metzger does not identify the Form ADV-Part 2A as a “key” document for
investors, he relies on it to support the opinions in his report and does not


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opine that it should receive the “little weight” he ascribes to marketing
materials. See Ex. 2396 ¶¶ 75, 82, 97.

     Unlike the offering memoranda, however, Respondents argue that
marketing materials are deserving of limited weight. They rely on Metzger’s
opinion describing the state of the industry. I conclude that industry practice
is not inconsistent with the law recognizing the primacy of key documents,
and the weight I ascribe to certain representations in marketing materials is
informed both by the law and his opinion. Metzger’s expert opinion is that
“reasonable accredited investors should have understood that the funds’
marketing materials were meant to provide a brief summary of the
investment opportunity only and did not purport to contain all relevant terms
that may be of interest to prospective investors.” Ex. 2396 ¶ 13i. He notes
that “the SEC’s own guidance to investors places little weight on marketing
materials.” Id. ¶ 50. In Metzger’s opinion, “the examples that the [Division]
cites in non-critical marketing documents must be read in the context of
critical documents” such that the Division’s position would not represent the
actual mix of information available to an investor if it is allowed to “ ‘cherry
pick’ language from less-important documents, and then ignore the critical
ones.” Id. ¶ 57. Metzger considers the offering memoranda and limited
partnership and subscription agreements to be “critical documents.” Id. ¶ 57
n.27. By contrast, he considers marketing materials to be “ ‘appetizers’ to
pique investor interest.” Id.

    The Division’s position, however, is supportable with respect to the
marketing materials that provided information consistent with the offering
memoranda in a fashion that the investor would have no reason to believe
was canceled by offering memoranda language. Indeed, some of the
marketing materials reinforced the representations in the offering
memoranda and Forms ADV that all previously purchased receivables were
from settled litigation. 19 For example, the June 2014 DDQ uses language of


19   Respondents’ reliance on Olkey v. Hyperion 1999 Term Trust, Inc., 98
F.3d 2 (2d Cir. 1996), Carr v. Cigna Securities, Inc., 95 F.3d 544 (7th Cir.
1996), and Dodds v. Cigna Securities, Inc., 12 F.3d 346 (2d Cir. 1993), is
misplaced. See Resp. Post-Hr’g Br. 5 & n.5. Those cases stand for the
proposition that oral statements regarding an investment will not create
liability where offering documents prominently display contrary warnings.
See Olkey, 98 F.3d at 4-9 (opining that dismissal was warranted despite
allegations that managers downplayed the riskiness of the investment
strategy because the investors’ “claims” that risks were undisclosed were
“contradicted by the disclosure of risk made on the face of each prospectus”);
Carr, 95 F.3d at 545, 547 (holding that allegation that oral representation
                                                                     (continued…)


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exclusivity, like the early offering memoranda, in stating that Respondents
have “not identified any other registered entities that traffic solely in post-
settlement legal fee receivables.” Ex. 48 at 9. The DDQ continued: “There are
entities that lend money to contingency fee attorneys, but they take litigation
risk, which we don’t.” Id. The December 2012 and January 2014 DDQs also
contain this language. Exs. 1640 at 13, 1900 at 9. The Division also notes
that the September 2012 DDQ states that the Funds’ portfolio “consists of
two investment products”: fee acceleration or factoring, which the document
noted were purchased “once a settlement has been reached,” and lines of
credit. Ex. 1479 at 11; Div. Post-Hr’g Br. at 6. That DDQ could easily give the
reasonable reader the impression that 95% of the Funds’ portfolio was in
post-settlement receivables.

     Other oral and written representations by Respondents further bolstered
the impression given in the offering memoranda that the Funds invested in
“primarily, 100 percent, . . . settled cases.” Ex. 216 at 7; see also id. at 31-32.
It was a point of emphasis during the conference call with representatives of
Cobblestone, for example, that “a settlement is a settlement is a settlement”
and that settlements result only when one party “agrees to pay” the other, id.
at 9, even though Dersovitz also referred to Peterson as a judgment and
implied that the Funds held some Peterson receivables. And investors, such
as Condon, were reassured orally and in emails that the Funds were “only
purchasing receivables after a settlement has been signed by all the parties.”
Ex. 263 at 5; see also, e.g., Tr. 375-76 (receivables only from cases where the
“defendant was willing and able to pay”); Tr. 1069 (“only cases . . . that were
already settled”). Although these interactions varied among investors, they
were a consistent feature in the marketing of the Funds.

     That said, the statements in other marketing materials are less
problematic. For example, the Division notes that the FAQ and Alpha
Generation documents use the words “basic,” “primary,” and “principally” in
relation to settled cases and judgments to describe its strategy. Div. Post-Hr’g
Br. at 6. Those terms mean that settlements and judgments were most


that “the limited partnerships were safe, conservative investments” were
fatally undercut by documents “warning [plaintiff] in capitals and bold face
that it was a RISKY investment”); Dodds, 12 F.3d at 348, 350-51 (holding
that warnings, including “THE SECURITIES OFFERED HEREBY
INVOLVE A HIGH DEGREE OF RISK,” put the reasonable investor on
notice of the risks of certain investments despite oral representations by an
investment adviser that the investments were suitable for an investor
pursuing a conservative strategy).




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important or central to the Funds’ strategy, but they imply that the Funds
have room for other types of investments. None is synonymous with words
commonly used to signify exclusivity, such as “exclusive,” “sole,” “only,” or
“lone.”

    8.2. Certain Positions of the Funds Made These Statements False and
    Misleading

     The statements in the offering memoranda, DDQs, and Forms ADV were
inaccurate because when they were made Respondents had already taken
sizable positions in Cohen and ONJ receivables that were not based on
settlements or judgments. However, I conclude that the Division failed to
establish by a preponderance of the evidence that that statements were
materially false or misleading with respect to the Peterson and Deepwater
Horizon positions.

         8.2.1. Cohen and ONJ

     Respondents’ positions in the Cohen and ONJ matters were not
judgment or settlement-based legal receivables. Instead, those investments
presented risks qualitatively different than the risks presented by
conventional factoring. Sebok, whose experience makes him well situated to
address this issue, identified the ONJ cases and Cohen matters as
investments with litigation risk, stating that they “are indistinguishable from
transactions that are typically conducted by firms that ‘take litigation risk.’ ”
Ex. 223 at 26-27. Pre-judgment and pre-settlement receivables present a
considerably greater risk because of the increased duration before payment
and also the “risk inherent . . . to litigation—a contingent event that depends
on numerous factors.” Id. at 13-14. The Funds’ investment in ONJ case
receivables illustrates the effects of this litigation risk—particularly, as
highlighted by Sebok, the “subjective attitudes of judges and juries; [and] the
possibility that new facts and law will be developed after the factoring
contract is complete.” Id. at 14. Indeed, unlike some of the successes in ONJ
cases handled by other attorneys, Osborn’s did not proceed as well as
expected and were not resolved by settlement until 2014—and even then on
terms less favorable to Osborn’s clients than expected.

     Respondents concede that “the Division is correct that the key difference
between [pre- and post-settlement strategies] is litigation risk.” Resp. Post-
Hr’g Br. at 9. And, to their credit, Respondents also acknowledge that “the
Division is correct that the Funds’ purchase of legal fees relating to . . . the
‘ONJ cases’ . . . did not fall squarely within the Funds’ post-settlement
strategy.” Resp. Post-Hr’g Br. at 2.




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     Respondents contend, however, that the ONJ positions were “part of a
‘workout’ of legacy investments that fell into delinquency . . . and the offering
documents gave Respondents flexibility to enter into workouts when
necessary to preserve the Funds’ ability to recoup their investments.” Resp.
Post-Hr’g Br. at 2. However, regardless of whether the offering memoranda
authorized workouts, the issue is that the offering memoranda represented
that all of the legal receivables the Funds have purchased were based in a
settlement or judgment. Although Osborn’s success in subsequent, unrelated
contingent fee litigation appears to have helped to ameliorate some of the
Funds’ losses, the existence of a workout position predicated on substantial
investments in pre-settlement legal fee receivables contradicts the language
of the offering memoranda.

     Respondents also argue that the ONJ positions were “more akin to an
attorney line of credit” authorized by the offering memoranda “than a
purchase of pre-settlement legal receivables.” Resp. Post-Hr’g Br. at 2.
However, Respondents structured the ongoing ONJ investments as purchases
of legal receivables (not lines of credit); the ONJ positions were part of the
portfolio which was valued using discounted cash flow, Tr. 1830-31, whereas
lines of credit were not; and Respondents reported the ONJ positions in their
audited annual financial statements as “Legal Fee Receivables,” Ex. 1141 at
9. Respondents do not argue that the ONJ or Cohen investments fall within
the offering memoranda’s “Other Advances to Law Firms” category, which
has, as one mandatory limitation, that the “repayment source is realistic
within twelve months or less.” E.g., Ex. 60 at 14-15.

     The Cohen receivables in WellCare and Licata also did not arise from a
settlement agreement or memorandum of understanding. No award had been
determined at the time Respondents purchased the WellCare qui tam
receivable, and I concur with Sebok’s assessment that it lacked the character
of a post-judgment or post-settlement fee receivable, and instead presented
the risks of unadjudicated contingency fee litigation. Ex. 223 at 27. Again,
much like the ONJ cases, the unfavorable outcome by Cohen on behalf of his
client—substantially underperforming expectations—demonstrates the
heightened risks of such a contingent investment. In addition, the Licata
receivable also did not arise out of a settlement or memorandum of
understanding. Although Respondents’ position was that Cohen earned the
fee upon agreeing to represent Licata in a criminal action, Licata lacked the
funds to pay of the fee. The language in the offering memoranda that all
receivables arose from settlements highlights the importance of that
representation by explaining that credit risk is low because the defendants
who have agreed to settle and pay the money are deep-pocketed corporations
that have little or no credit risk. Instead, Licata was a criminal defendant



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who could not pay the $15 million retainer and instead assigned Cohen’s firm
interest in real property that turned out to be worthless. Tr. 1395-96, 1400-
01, 1435, 5786-89, 5797-99.

     In defense of its Cohen positions, Respondents contend that because
“these transactions . . . were consummated years before the period covered by
the [OIP],” they “cannot support the Division’s claims that later statements
by Respondents about the Funds’ primary strategy were false or misleading.”
Resp. Post-Hr’g Br. at 2-3 (emphasis added). But the question is not when
transactions commenced; what matters is when the misrepresentations were
made. Here, the offering memoranda continued to mispresent that all of the
Funds’ past purchases arose out of settlements throughout the period covered
by the OIP.

         8.2.2. Deepwater Horizon

     A more recent and novel investment by the Funds relates to legal claims
from the Deepwater Horizon disaster in the Gulf of Mexico. The Division has
established that a small percentage of the Funds’ assets were invested in
such positions. Because the terms of the Deepwater Horizon settlement fund
allowed claims to be filed on behalf of claimants by representatives other
than counsel, some of the Funds’ settlement-based receivables were
purchased      from    non-law-firm     entities—claims     processors,  claim
administrators, and accounting firms. While this represents a departure from
past investments of the Funds, given that the settlement specifically
authorized this, I find that the opportunity was consistent with one of the
emerging opportunities the Fund manager could reasonably take advantage
of under the terms of the offering memoranda’s flexibility provision. See
Tr. 2665-67. In this respect, I credit Metzger’s opinion that new opportunities
such as the Deepwater Horizon settlement fund were consistent with the
flexibility provision, which itself was consistent with industry standards.
Ex. 2396 ¶¶ 13i, 60-61. Metzger noted that a “2003 SEC Staff report cites the
flexibility provided by broad investment mandates as a benefit of hedge fund
investing.” Id. ¶ 62 n.31 (citing “Implications of the Growth of Hedge Funds,”
Staff Report to the United States Securities and Exchange Commission,
(September 2003)).

     In addition, by March 2012, Respondents were indicating that they
would “further use [their] skill set in a number of different receivable secured
strategies,” which Metzger interpreted as a “signal[] that the focus was on
broad-based receivable-secured strategies, and could include accounting and
claim aggregator firms.” Id. ¶ 80 (citing March 2012 DDQ at 12). Although
the offering memoranda did not specifically mention advancing money to non-
attorney representatives, the representatives were authorized to file claims


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against a settlement fund. As such, these entities were something of a
surrogate for law firms for purposes of the settlement process, and I do not
find the absence of reference to such entities to be material. See Tr. 2665-67.
While the class of persons authorized to act on behalf of claimants was
broader than attorneys, the investments were otherwise substantially similar
to the core investments of the Funds. Neither Sebok nor the investor
witnesses expressed concern over the deployment of fund assets into positions
related to the Deepwater Horizon settlement.

          8.2.3. Peterson

     The focus of the Division’s case is its challenge to the Funds’ Peterson
positions. The Division argues that various risks associated with Peterson
rendered representations in the Funds’ key documents inaccurate or would
have required additional disclosures to be accurate.

    While Respondents’ experts and some fact witnesses expressed the view
that the Peterson positions were authorized by the Funds’ governing
documents, e.g., Ex. 2396 ¶ 69, other witnesses—Gumins, for example—
expressed a negative view of the Funds investing in Peterson—in large part
because the case related to Iran. But the Funds’ offering documents
contained no limitations on the subject matter of the settlements or
judgments from which the receivables they purchased were generated.

     However, the Division argues that because the Peterson receivables did
not arise out of a settlement or memorandum of understanding, but instead
from a judgment, all the offering memoranda that issued from approximately
2010 to late 2012, among other documents, were inaccurate. See also
Tr. 2916-17 (Dersovitz admitting that Peterson was not settled). Respondents
take the position that the distinction between settlements and judgments is
one without a difference, because it does not have a meaningful effect on their
core approach, which involves investing in legal receivables with the
following three characteristics: (1) an already imposed legal obligation to pay;
(2) a credit-worthy source of funds to make the payment; and (3) a delay
between the imposition of the obligation and payment. Resp. Post-Hr’g Br. at
9; Ex. 2396 ¶ 84. In other words, Respondents claim that their
misrepresentations were not material. See Levinson, 485 U.S. at 231-32.

    The Division relies primarily on the testimony of discontented 20
investors to argue that the Peterson positions were materially different from

20  I do not use discontent in a pejorative sense. Although almost all
investors profited, a number seemed genuinely discomfited, particularly after
the Wall Street Journal published articles intimating that the Peterson
                                                                     (continued…)


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investment in settlements. See Div. Post-Hr’g Br. at 19-21. Testimony of
investors and record evidence of their behavior is one way to judge
materiality. See Rothberg v. Rosenbloom, 771 F.2d 818, 821 (3d Cir. 1985).
Investors testified that they did not understand the distinction between the
legal terms “settlement” and “judgment.” E.g., Tr. 1029-30. But the investor
testimony nevertheless indicates that investors chose to invest in the Funds
because of what they understood to be the benefits of investing only in settled
litigation—in contrast to the other litigation financing funds that were also
looking for investors. See, e.g., Tr. 1115-16, 2117, 2779-80. Investors
understood that the risks—specifically, “litigation risk”—were different when
the opposing party had not “agreed to” make the payment in question. E.g.,
Tr. 952, 1070-71. And some even drew that distinction with Peterson in the
context of explaining why they had no interest in investing in the Iran SPV.
See, e.g., Tr. 1470-71, 1474-75.

     Investors’ reactions to learning about the Peterson investment were more
equivocal. Some redeemed their full investment upon learning about
Peterson. E.g., Exs. 392, 2843. They testified to feeling “duped” or “shocked
and appalled.” Tr. 172, 2182-83. Others, however, immediately redeemed only
part of their investment, e.g., Tr. 902-03, 977, 1048, 1050-51, or decided to
maintain their investment, e.g., Tr. 347, 408. In addition, as noted above,
some investors showed a distinct undercurrent of discomfort in investing in
Peterson merely because the case was in the news and associated with Iran.
See, e.g., Tr. 311, 345-46, 3613-14. I find it likely that investors’ unease with
the subject matter of Peterson was responsible for at least some of the
redemptions. For all of these reasons, the redemptions carry less weight than
they otherwise might.

     And by their own admission none of these investors performed the due
diligence necessary to understand Peterson’s procedural or legal posture—
including that there was a final, non-appealable judgment—or the actual
risks associated with the Peterson investments. That isn’t to say that it was
the investors’ burden to find information. Accord Miller v. Thane Int’l, Inc.,
519 F.3d 879, 887 (9th Cir. 2008); Metro-Goldwyn-Mayer, Inc. v. Ross, 509
F.2d 930, 933 (2d Cir. 1975). But a person’s uninformed, subjective concerns
cannot substitute for the objective materiality standard. See Morgan Keegan
& Co., 678 F.3d at 1245 (“[In TSC Industries], [t]he Supreme Court noted the


investments were unduly risky or improperly valued. Though the evidence
made available to me does not establish the precise risk posed by the Peterson
investments, it is easy to understand why such articles would provoke an
investor’s concern.




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‘universal[ ] agree[ment]’ that materiality is an ‘objective’ inquiry involving
the significance of an omitted or misrepresented fact to a reasonable
investor.” (last two alterations in original)). For these reasons, the investors’
testimony and behavior alone may not satisfy the Division’s burden in
proving that Respondents’ misrepresentations were material.

     Division expert Sebok provides more objective reasons. He posits that
the “completion risk” related to a post-default judgment factoring contract to
be “relatively high” compared to the “relatively minimal . . . burdens of
enforcement” for a factoring contract that “arises from adjudication,” because
in the latter case a “party has availed itself of the judicial process, [which is]
typically an indicator that there is an ability and incentive to pay a lawfully
rendered judgment.” Ex. 223 at 20-21. For Sebok, “under conditions where
completion requires significant attorney legal services, such as in a default
judgment or a settlement where the conditions subsequent are complex and
might take years to resolve, the contract becomes much riskier.” Ex. 223 at
23.

     Although Sebok does not claim to have read any of the Peterson
pleadings or purport to quantify the risk that the Funds would not collect on
any particular Peterson positions, see Tr. 2593-94, 2640, he expressed the
opinion that the type of collection risk associated with those positions was
different than that of a settlement or fully adjudicated judgment, and instead
more like a default judgment—which may require different risk disclosures.
Sebok explained that default judgments generally have higher completion
risk due to high enforcement costs, low likelihood of enforcement, or both.
Ex. 223 at 36-38. Sebok’s specific opinion is that the Peterson positions
involved completion risks that were less like a settlement and more like
litigation financing. Id. at 21.

     I also credit Sebok’s opinion that in contrast to default judgments,
“completion risk in post-settlement factoring is extremely low because . . . a
factor, by definition, can more definitively ascertain ‘the quality and value’ of
the legal claim upon which a counterparty’s proceeds depend.” Ex. 223 at 21.

     Yet, because Sebok was admittedly unfamiliar with the particulars of
Peterson, see Tr. 2593-94, it is necessary to look further. Sebok’s opinion on
the heightened risk associated with post-default actions against foreign
nations is consistent with the testimony of the experienced counsel in
Peterson. Perles testified that obtaining a default judgment is only “the
beginning of the case” because there is “significantly more work involved in
enforcing the case than there is in winning the judgment.” Tr. 1559-60. Iran,
in particular, “decline[s] to participate in any way through the entry of a final
default judgment” but then “vigorously defend[s] and frequently collaterally


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attack[s] during the enforcement phase . . . with the best lawyers in the
country that [its] money can buy.” Tr. 1549, 1560.

       Sebok himself points to Jacobson v. Oliver, 555 F. Supp. 2d 72 (D.D.C.
2008), as an example of the typical outcome in post-default actions involving
Iran, “a foreign government that is hostile to the United States.” Ex. 223 at
38. The Jacobson court found that, “at the point at which the default
judgment had been obtained, the risk that the attorney would receive no
proceeds from the case [was] high.” Id. at 39 (citing 555 F. Supp. 2d at 86).
Sebok claims that “Jacobson illustrates that the completion risk faced by an
attorney in a default judgment case with a foreign adverse party that rejects
jurisdiction is equivalent to the risk faced by an attorney at the outset of
litigation.” Ex. 223 at 39. He goes on to assert that “when RDLC made its
initial investment in the Peterson case, the completion risk faced by the
attorneys whose fees it ‘purchased’ was qualitatively similar to the
completion risk faced by the attorney in Jacobson at the point that the court
. . . deemed such risk to be high.” Id.

     I disagree. Jacobson relates to a 1992 contingency fee arrangement to
represent plaintiffs against Iran. At that time, the FSIA granted immunity
from lawsuits to foreign states with only limited exceptions, such that the
lawsuit was dismissed in 1993. Cicippio v. Islamic Republic of Iran, No. 92-
cv-2300, 1993 WL 730748 (D.D.C. Mar. 13, 1993), aff’d, 30 F.3d 164 (D.C. Cir.
1994). As the Jacobson court observed, plaintiffs’ claims “were foreclosed by
the immunity conferred on Iran by the [FSIA].” 555 F. Supp. 2d at 82.
According to the court, “much of the risk” involved in the representations was
that, even though Iran did not appear to defend the action, they “still faced
numerous challenges [in obtaining a judgment in Jacobsen’s favor] . . . . A
second, even greater risk was also present: the risk of nonpayment.” Id. at 86
(quoting Jacobsen v. Oliver, 451 F. Supp. 2d 181, 201 (D.D.C. 2006)
(alterations in original)). In 1996, Congress amended the FSIA to allow for
lawsuits “against foreign states that sponsor terrorism.” Jacobsen, 201
F. Supp. 2d at 97. Thus in Peterson, one challenge to obtaining a judgment
was already gone; and unlike Jacobson, where the plaintiffs had not
identified any Iranian assets to satisfy a judgment, the Peterson plaintiffs
had. Although there remained substantial obstacles to collection following the
1996 amendment, Jacobson does not illustrate the risks in Peterson.

     Indeed Perles’s evaluation of Peterson—as opposed to the typical post-
default action—also deemed success relatively certain at an early date. By no
later than November 2011, as corroborated by contemporaneous evidence,
Perles was “[a]bsolutely” confident that the collection effort would succeed.
Tr. 1685; see Ex. 1252. In a vacuum, Perles’s opinion would not be
particularly objective. He was plaintiffs’ counsel with an interest in securing


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funding from Respondents. But Respondents’ expert, Martin, identifies
several unique characteristics of Peterson that suggest its risk profile differed
from the typical post-default action. As a preliminary matter, Martin
addressed the Division’s allegation “that RD Legal repeatedly misrepresented
to investors the type of assets it was purchasing because Peterson receivables
were associated with a default judgment as opposed to a settled lawsuit, and
included the purchase of plaintiff awards as well as attorney fees.” Ex. 2393
¶ 12 (citing OIP ¶¶ 1-4). Martin concluded that this allegation was “not
correct from an investor perspective.” Ex. 2393 ¶¶ 12, 20. Martin determined
that “Peterson receivables and receivables from settled cases . . . are both
valued using the same methodology, and both fall squarely within the same
narrow asset class.” Ex. 2393 ¶ 12; see id. ¶ 16. Martin opined that “the
valuation of any legal receivable purchased by RD Legal . . . is based on an
appropriate[] [methodology] . . . regardless of whether the underlying
receivable is backed by a settlement, a judgment, an attorney fee, or a
plaintiff award.” Id. ¶ 12. Martin further stated that the methodology used by
Respondents’ independent valuation service is “routinely used and widely
accepted in the financial markets when pricing assets—including fixed
income, bond-like instruments—which have a future expected payoff.” Id.
¶ 19. I am persuaded by Martin’s analysis of this question.

     As I already concluded above, the Funds’ investments in Peterson were
within the scope of the Funds’ investment strategy as authorized in the
offering memoranda. As is typical with some hedge funds, particular
positions were not detailed in those materials, so there was nothing atypical
or wanting as to the disclosures as they related to Peterson. In this particular
context and given the sophistication of the Funds’ accredited investors, I
cannot say it was Respondents’ duty to make detailed disclosures about the
Funds’ Peterson positions. But the fact that similar valuation methodologies
were used does not address whether the quantum of risk in post-default
actions in general and Peterson in particular differed materially from the risk
in settled cases. That a valuation methodology is widely used for different
types of instruments does not mean that a misrepresentation about which
particular type of asset a fund purchases is not material under the securities
laws.

     Turning therefore to the purported risks, Martin provided expert
opinions on four principal questions about Peterson, two of which I will now
discuss: (1) “what impact, if any, Peterson receivables had on the overall risk
of the portfolio and on realized returns to investors”; and (2) “whether
Peterson receivables represent a single homogenous asset with a uniform and
correlated risk profile.” Ex. 2393 ¶¶ 8-9.




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     In answering the first question about the overall risk of the portfolio,
Martin’s discussion of the Funds’ so-called “information advantage” informs
his opinion about how the Peterson positions impacted risk. Martin explained
that an information advantage can be a result of: (1) better data collection;
(2) better data analysis; and (3) better use of the analysis “for advantage and
execution with timing and flawless precision.” Ex. 2393 ¶ 51 (citing John
Sviokla, Five Keys to Creating an Information Advantage, Harvard Bus. Rev.
(Jan. 19. 2010)). Martin determined that Respondents’ information
advantage arose “because it built a network of law firms that were willing to
sell their receivables, it was able to successfully evaluate the collectability of,
and otherwise value, those receivables, and it was able to purchase the
receivables at an advantageous price.” Ex. 2393 ¶ 52.

     Part of Respondents’ information advantage came from Dersovitz’s
“personal expertise” and “years of litigation experience.” Id. ¶ 53. In addition,
Martin found that the information advantage developed as Respondents
“devoted substantial resources over the years to engage a variety of
professionals to evaluate various aspects of its investment decisions,” such as
Reed Smith vis-à-vis Peterson. Id. ¶ 54. Martin also determined that
Respondents “identified a number of facts that supported [their] conclusion
that investing in Peterson receivables would carry minimal risk and be
profitable.” Id. ¶ 58; see id. ¶¶ 59-63. Dersovitz learning from Perles about
the Italian depositions establishing that the assets at Citibank were being
laundered by Iran is a prime example of this. Information advantage is not
necessarily having a monopoly on information, but rather identifying,
analyzing, and understanding the import of information before competitors,
so that it can be acted upon profitably. And in this respect, based on
Dersovitz’s own expertise and relevant external expertise, the Funds
anticipated and understood the import of a series of developments that
predicted the distribution of funds to the Peterson attorneys and plaintiffs,
including President Obama’s blocking order, Section 8772, partial summary
judgment in Clearstream I, the creation of the qualified settlement fund, and
the Second Circuit’s affirmance of Clearstream I. Each of these events further
decreased concerns about collection risk.

     Another aspect of Respondents’ information advantage came “in the form
of asset price observations based on arms-length sales of Peterson receivables
to third-party buyers.” Id. ¶ 55. Martin found that “pricing data provided by
these third-party sales supported RD Legal’s assessments regarding the
value of the Peterson receivables, and these assessments were further
reinforced by the fact that other Peterson receivables were [sold] at fair
market value as determined by” the independent valuation expert. Id.




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    But the fact that Respondents obtained and exploited an information
advantage does not mean that the Peterson positions did not materially
change the risk profile of the Funds.

     Martin also offered an evaluation of certain objective characteristics of
the relative riskiness of the receivables. Contrary to the Division’s allegation
“that Peterson receivables were a riskier investment than receivables
associated with settled cases,” Ex. 2393 ¶ 13 (citing OIP ¶¶ 11, 56), Martin
found that the Peterson positions “actually reduced the risk profile of the
overall portfolio, and that as the[ir] concentration . . . increased, overall
portfolio risk declined,” id. ¶ 13; see id. ¶ 21. In Martin’s opinion, Peterson
receivables reduced overall risk in three ways: they curbed credit risk,
decreased duration risk, and were “largely uncorrelated to other portfolio
assets.” Id. ¶ 21.

     Peterson improved the credit risk of the portfolio because, according to
Martin, Respondents “appropriately assigned” to Peterson receivables the
highest credit rating, “based on comprehensive due diligence it performed
with the help of numerous legal experts and other professionals.” Id. ¶ 25. By
the time Respondents started purchasing Peterson receivables, the Peterson
plaintiffs had already identified and restrained a corpus of funds and
commenced a collection action. Later, the restrained funds were placed in a
trust for the Peterson plaintiffs’ benefit. Sebok conceded that this effectively
eliminated credit risk and theft risk. Tr. 2588. In addition to the Iranian
assets involved in Clearstream I, the Peterson plaintiffs could look to other
Iranian assets to satisfy their judgment, including the Fifth Avenue property
and the J.P. Morgan account. And if those avenues failed, receivables could
be satisfied from the $1 billion fund for victims of terrorism. These
alternative collection sources demonstrate that, even in the event that the
Peterson collection action failed, Respondents had other options for recovering
the fees and awards purchased by the Funds. I concur with Martin’s
endorsement of the credit rating Respondents ascribed to Peterson. Martin
calculated the “weighted average rating of the entire portfolio” from June
2011 to September 2016, which he showed decreased—that is, got better—“as
Peterson receivables were added and became a larger part of the entire
portfolio.” Ex. 2393 ¶ 25 & Ex. 1.

    Martin also determined that Peterson receivables were subject to less
credit risk because so many of them “were backed by greater collateral [the
inventory of the Fay and Perles firms] than the average non-Peterson




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receivable.” Id. ¶¶ 26-30 & Ex. 2. 21 Respondents’ maintenance of “effective
and contractually stipulated control of cash payouts on the underlying
claims” also reduced credit risk. Id. ¶ 31. I agree that—in theory—these
contractual safeguards served to reduce credit risk. I cannot, however,
conclude that they materially did so. Even though the Peterson receivables
purchased from the Fay and Perles firms “were collateralized by the total
receivables of those firms,” Martin elected to calculate the collateralization
ratio for those receivables based solely on the “overall legal fees in the
Peterson litigation.” Id. ¶ 30; see Tr. 4015, 4156-57. If the Peterson collection
action failed, the supposedly excess collateral Martin used in his calculations
would not exist to secure the receivables purchased by the Funds.

     Nevertheless, I conclude that the characteristics that reduced the credit
risk of the Peterson receivables may have made it less likely that
Respondents’ misrepresentations were material. In light of the foregoing
analysis, I have also determined that Respondents’ disclosures regarding
credit risk were consistent with the credit-worthiness of the Peterson
positions and that no additional disclosures were necessary.

     Martin also analyzed the effect of Peterson on duration risk, which
several investors testified was one of the primary risks Respondents
discussed. Martin’s Exhibit 3 reports his analysis of the impact of Peterson
receivables on the duration of the Funds’ entire portfolio for more than five
years:

           For the first three years, June 2011 to June 2014, the
           duration impact was relatively minor, as Peterson
           receivables lengthened the overall portfolio duration by
           5 to 12 months. For most of the later period, from
           February 2015 to September 2016, the Peterson
           receivables in aggregate had a shorter duration than the
           rest of the portfolio, lowering the overall portfolio
           duration by l to 7 months. In effect, the Peterson
           receivables reduced the duration risk of the entire
           portfolio between 2011 and 2016 because such
           receivables reduced portfolio duration when the size of
           the overall RD Legal portfolio was the largest.



21   Martin began the period for analysis when “the Fay and Perles
receivables reached maximum exposure” and ended it “in the last full month
prior to their final payoff.” Ex. 2392 at Ex. 2 n.2.




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Ex. 2393 ¶ 33 & Ex. 3. With respect to the period that Peterson attorney
receivables increased overall portfolio duration, it did so with the
corresponding benefit of increasing investors’ returns on those receivables:

          While Peterson attorney-fee receivables took longer to
          mature than certain plaintiff receivables, this does not
          indicate an improper risk assessment of these assets by
          RD Legal because their average realized return of
          34.23% was also substantially higher than the weighted
          average realized return of 20.93% for those plaintiff
          receivables that did mature or were sold to third parties
          on or before September 2016. In other words, the actual
          performance of these assets is consistent with the theory
          and practice of financial markets which, all else equal,
          expect assets with longer maturities and thus higher
          level of duration to risk produce higher returns for the
          investors.

Ex. 2393 ¶ 48 n.11.

    Although the Peterson receivables at times increased the average
expected duration of the Funds’ investments, the attorney-fee receivables
were actually increasing the Funds’ return during the period when Peterson
lengthened portfolio duration, and the Peterson receivables shortened overall
duration at the time the portfolio was the largest. I thus cannot find that
Respondents’ disclosures related to duration were inadequate.

     The Division contends that the Funds’ increasing stake in Peterson from
2010 to 2015 rendered its representations about concentration and
diversification risks inaccurate. The offering memoranda cautioned that
investments “will be exposed entirely to the risks of ” the Funds’ legal
receivables, lines of credit, and “other advances” positions, “without the
protections against loss afforded by diversification.” E.g., Ex. 60 at 19. It
continued:

          Concentration in a certain type of investment has the
          effect of exposing a significant portion of invested capital
          to the same or similar risks . . . and thereby increases
          investment risk as well as the portfolio volatility.
          Accordingly, the value of a Partnership investment may
          fluctuate more widely given this concentration, as
          compared with the fluctuation expected in a broadly
          diversified portfolio.




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Id. The Funds’ Form ADV did the same. Ex. 218 at 11. The offering
memoranda do not further discuss concentration or diversification.

     However, the Funds did claim in the DDQ that the portfolio was
“constructed with diversification in mind,” because it was “made-up of many
litigants, many law firms, and a variety of different claims.” Ex. 1332 at 12.
In Metzger’s view, the offering memoranda and DDQ presented “different
ways of understanding diversification. The DDQ is stating that the strategy
is concentrated but suggests that within the strategy there is diversification.”
Ex. 2396 ¶ 105. In other words, even though the offering memoranda warned
investors that the Funds would not be protected against loss by
diversification, the manager intended to seek diversification opportunities
within the investment strategy.

     Yet beginning in 2010, a substantial and increasing concentration of the
purchased receivables related to Peterson. However, Metzger noted that the
DDQ could be read to “suggest[] that if the obligor has very high
creditworthiness that there will be less diversification, because there is less
concern for the portfolio’s overall risk of loss.” Id. ¶ 110 (citing Ex. 1332 at
14). Thus for Metzger, after July 2013, virtually no level of concentration in
Peterson would be too high, as he viewed it as “akin to buying nearly risk-free
U.S. Treasury securities that were extremely safe through the government
backstop, but also had high rates of returns.” Id. ¶ 112; see also id. ¶¶ 114-16.

     The Division responds that Metzger “acknowledged that his conclusion
hinged on accepting as true Respondents’ contention that Peterson involved
no litigation risk.” Div. Post-Hr’g Reply Br. at 21. I agree that this somewhat
undercuts the force of Metzger’s opinion.

     Martin also concluded that “any claim that the concentration of Peterson
receivables materially increased the overall risk to the portfolio . . . is
fundamentally flawed because it inaccurately and indiscriminately treats all
Peterson receivables as one undifferentiated investment with a uniform and
correlated risk profile.” Ex. 2393 ¶ 14. Instead, he found that:

          Peterson receivables were not monolithic, but instead
          differed in terms of their types and the structure of their
          cash flows, and, as the result, had different, non-
          correlated risk profiles. This diversification translated
          into differences in sensitivities of Peterson receivables to
          various types of risk, as evidenced by the fact that
          Peterson receivables experienced different payoff periods
          and produced different rates of return.




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Id.; see id. ¶¶ 40-42, 48 & Exs. 6, 9. Peterson receivables had different
expected rates of return and varying actual realized rates of return. Id.
¶¶ 43, 47 & Exs. 5A, 5C; see id. Ex. 7. Martin opined that “[s]uch differences
in realized returns indicate that the variation within the universe of Peterson
receivables by type and cash flow structure made these assets different from
one another from [an] investment perspective.” Id. ¶ 47.

     The Division disputes Martin’s analysis based on his testimonial
concession that there was “correlation among the Peterson receivables
themselves.” Tr. 4152; Div. Post-Hr’g Reply Br. at 21. Martin acknowledged
that correlation of portfolio assets is an important concept because
“combining assets that have a lower or inverse correlation not only reduces
the volatility of the portfolio as a whole but also allows the portfolio manager
to invest more aggressively.” Ex. 2393 ¶ 34. Although Martin found that
Peterson receivables generally “were largely uncorrelated” with the rest of the
portfolio, Ex. 2393 ¶¶ 35-36 & Ex. 4, he did not quantify the correlation
among the Peterson receivables. Tr. 4152, 4209-10. Martin did determine that
within the Peterson positions there were investments with non-correlated
risk profiles. Ex. 2393 ¶ 49. As he explained, Peterson receivables were
“structured differently from one another.” Id. ¶ 44; see id. ¶ 45. But because
Martin failed to calculate the correlation coefficients of the different Peterson
receivables, I cannot fully rely on his opinion to determine the materiality of
any concentration risk. And even if the receivables were purchased from
different payors—that is, the firms or the plaintiffs—and had slightly
different structures, the fact that all payments originated out of the same
litigation would likely be the overwhelming factor in determining the
correlation coefficient.

     In sum, of Martin’s (and Metzger’s) analysis of objective indicia of the
relative riskiness of the Peterson position, only Martin’s opinion on credit risk
provides persuasive support for Respondents’ arguments on this issue. This is
perhaps unsurprising because Martin acknowledged that he—like Sebok—
did not form an opinion on the merits of the Peterson collection action.
Tr. 4079-80. He disclaimed any attempt to compare the litigation risk posed
by Peterson to that posed by other receivables in the Funds’ portfolios.
Tr. 4115-16.

     Finally, the Division raised a number of other arguments that Peterson
was a risky bet. First, the Division claims that both Peterson plaintiffs’
attorney Perles and James Martin of Reed Smith assessed that the plaintiffs
(and attorneys) may never collect. See Div. Post-Hr’g Br. at 19. While both
expressed uncertainty over the timing of the plaintiffs’ recovery, Perles
testified he had been confident that the Peterson collection action would
succeed, and in 2011 sent a lengthy email to Dersovitz taking that position.


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Tr. 1685; see also Ex. 1252. As for James Martin, although the Reed Smith
memoranda were written with the caution of any law firm predicting what
judges would do, he explained that the memoranda on the likely success of
each aspect of Peterson “were the reflection of our best professional judgment.
And they came with that degree of confidence. So I sit by what we did, how
we did it and the conclusions we came to.” Tr. 3417. Notably, the other
principal Peterson plaintiffs’ attorney, Fay, expressed his belief that with all
three branches of government supporting the turnover, “the Marine[s],
soldiers and sailors and their families . . . were going to collect.” Tr. 2456,
2459. Rather than relying on any one data point, Dersovitz was for years an
avid consumer of multiple pertinent streams of information, as well as being
an experienced plaintiffs’ attorney himself, and he based his assessment of
the case on an understanding of the factual and several legal bases for
recovery. Even if the Supreme Court had ruled that one of three theories for
recovery was unavailable, there were two other avenues that would have
fully supported the turnover of assets.

     Second, the Division cites language from two documents—an unrelated
Reed Smith memorandum and a marketing letter to select Peterson
plaintiffs—to suggest that Respondents thought the Peterson investments
were unreasonably risky. See Div. Post-Hr’g Br. at 30; Div. Post-Hr’g Reply
Br. at 9. This particular Reed Smith memorandum did not analyze any
aspect of the Peterson collection action’s likelihood of success, but instead
addressed whether Peterson investments would be considered loans, which
turned on the non-recourse nature of the transactions and the allocation of
collection risk. Ex. 714 at 51. It therefore provided Respondents with no new
or different information with regard to the likelihood of collecting on any
Peterson position. Similarly, while Respondents’ marketing correspondence to
the Peterson plaintiffs acknowledged the possibility that the collection action
would fail, it did so to provide assurance that Respondents’ investment was a
non-recourse sale transaction, and that under no circumstances would the
plaintiffs need to return the fees paid to purchase portions of their
judgments. Ex. 1384 at 6. In addition, Respondents acknowledged in that
letter “the serious possibility that you might in fact be able to collect your
portion [of the judgment] in the not too distant future.” Id. The fact that the
Peterson investments had modest and managed collection risk does not
support the claim that Respondents had a special duty to disclose such risks
associated with the Peterson trades to the Funds’ investors.

    Third, using the Iran SPV disclosures as a baseline, the Division
contends that Respondents were obliged to make the same disclosures to all
investors in the Funds. Yet the Division has not established why the Iran
SPV set the baseline for proper disclosures under the Securities and



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Exchange Acts. In addition, while the Iran SPV marketing materials purport
to address “Potential Risks,” Respondents’ actual statements about those
risks make clear that Respondents did not believe those risks were of any
significance, nor would a reasonable investor find them material. For
example, after identifying the potential risk that “the United States
normalizes relations with Iran by entering into a Treaty that nullifies the
previous Congressional Acts,” the disclosure stated that Respondents “believe
this is unlikely as [legislation] specifically prevents the Executive Branch of
our Government [from] unblocking the subject assets.” Ex. 45 at 2.
Respondents’ belief was supported by the analysis of Reed Smith. Ex. 573.
The Iran SPV marketing materials likewise discounted the risk that
additional claimants would reduce the Peterson recovery, and stated further
that, “the risk that the [Peterson] judgment could be overturned is [de
minimis].” Ex. 45 at 2.

     The disclosures also differed because the Iran SPV was created for the
sole purpose of investing in Peterson. While it was appropriate to disclose
remote risks associated with the Iran SPV’s inflexible and completely illiquid
strategy, the Funds had a much broader, opportunistic investment mandate.
Indeed, as mentioned, the Funds’ offering memoranda did not discuss any
particular position, since the investments would change as Respondents
focused on different investment opportunities at different times. The Funds’
investors retained the right to redeem at any time, after one year of
investing, whereas the SPV did not allow investors to redeem unrealized
gains before the Peterson receivables collected, which is a further reason why
the SPV disclosures addressed even minute risks to collection.

     In the end, the parties’ arguments regarding the materiality of
misrepresentations as they relate to the Peterson receivables are persuasive
to varying degrees, but the evidence supporting them is slim. Neither the
Division nor Respondents have convinced me. But it is the Division, not
Respondents, that bears the burden of proof and persuasion. I therefore
conclude that the Division has not proved by a preponderance of the evidence
that Respondents’ misrepresentations were material with respect to Peterson.

    8.3. The Misstatements Were Material as Related to the Cohen and ONJ
    Positions

     For the reasons articulated by Sebok, I find that the misstatements in
the offering memoranda were material as to the Cohen and ONJ positions,
because they failed to put investors on notice of the different class of risks
associated with contingent litigation-based receivables. These were not small
positions, either. At the end of January 2012, the ONJ and Cohen
investments accounted for more than 30% of the portfolio on a fair value


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basis, or 23% based on the dollars deployed. Ex. 2 at cells E9, G9, I9, K9. For
the same reason, the misstatements in the Form ADV brochures and the
DDQs that expressly disclaimed litigation risk were material.

     Further, while “the reaction of individual investors is not determinative
of materiality,” Richmark Capital Corp., Securities Act Release No. 8333,
2003 WL 22570712, at *5 (Nov. 7, 2003), many investors testified that they
were aware of other investment opportunities that took on litigation risk, but
that what so intrigued them about Respondents were the representations
that the Funds did not. Investors and advisers, including Burrow, Condon,
and Geraci, testified that knowing that the portfolio contained unsettled
cases may have affected their decision to invest or recommend the Funds to
their clients.

9. Respondents Did Not Act with Scienter But Were Negligent

      9.1. Lack of Intent to Deceive

     While the Division attempts to use the evidence to craft a story that
Respondents orchestrated a malicious scheme to deceive and defraud
investors, the evidence supports a different narrative: that Respondents,
though imperfect, operated the Funds in a creditable fashion, exceeding in
most cases key standards and practices of the hedge fund industry with
respect to disclosures, but in some regrettable respects acting inconsistently
with the standard of care. The Division’s argument springs from the
proposition that “the Supreme Court ‘repeatedly has described the
“fundamental purpose” of the [Exchange] Act as implementing a ‘philosophy
of full disclosure.’ ” Div. Post-Hr’g Br. at 4. Yet, that platitude is not
particularly useful outside its intended context. As one court explained,
“while mutual funds . . . must register with the Commission and disclose
their investment positions . . . hedge funds typically remain secretive about
their positions and strategies, even to their own investors.” Goldstein v. SEC,
451 F.3d 873, 875 (D.C. Cir. 2006) (citation omitted); 22 cf. In re Phila.

22  The court also noted how hedge funds are often structured to maximize
the manager’s discretion, without fetter from investors:

            Another distinctive feature of hedge funds is their
            management structure. Unlike mutual funds . . . , whose
            shareholders must explicitly approve of certain actions,
            domestic hedge funds are usually structured as limited
            partnerships to achieve maximum separation of
            ownership and management. In the typical arrange-
            ment, the general partner manages the fund . . . for a
                                                                    (continued…)


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Newspapers, LLC, 422 B.R. 553, 568 (Bankr. E.D. Pa. 2010) (“Hedge funds
. . . have historically guarded their trading secrets fiercely.”). It is wholly
unsurprising that Respondents’ key documents would not contain
information about individual investment positions. In the hedge fund
industry, this practice of secrecy extends to the due diligence phase. Metzger
explained that:

          During the course of due diligence, many hedge fund
          managers do not like to disclose to prospective investors
          the specific positions held by the fund. A 2014 SEC Risk
          Alert observed that “while some managers were willing
          to provide additional transparency, others were
          reluctant to share detailed information about their
          alternative investments. In particular, these managers
          were sensitive to sharing position-level information,
          which they felt may compromise their ability to execute
          their strategies.”

Ex. 2396 ¶ 11 (quoting Office of Compliance Inspections and Examinations,
Investment Adviser Due Diligence Processes for Selecting Alternative
Investments and Their Respective Managers 2-3 (Jan. 28, 2014), https://www
.sec.gov/about/offices/ocie/adviser-due-diligence-alternative-investments.pdf ).

     The foregoing context of general hedge fund practice is important to my
conclusion that Respondents acted, in a variety of ways, inconsistent with the
Division’s allegations of scienter. Collectively, the following information
provided by Respondents to all investors, whether automatically or upon
request, rebuts the allegation of scienter. These informational means were
specifically referenced in the offering memoranda and, according to the
testimony of Respondents’ experts and Hirsch, presented a high level of
disclosure to investors.

     First, Respondents provided investors with a quarterly “Independent
Accountant’s Report On Applying Agreed-Upon Procedures,” which included
detailed information concerning troubled assets in the Funds’ portfolio,
including the ONJ and Cohen investments. Although some of the AUPs’
boilerplate language incorrectly characterizes certain positions as


          fixed fee and a percentage of the gross profits from the
          fund. The limited partners are passive investors and
          generally take no part in management activities.

451 F.3d at 876 (internal citations omitted).




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settlements, the narrative explanations of the troubled positions provided
reasonably detailed, accurate descriptions of those positions, including in the
view of the attorneys whose positions were under discussion, as they testified
at the hearing. Although I found that the language in offering memoranda
and consistent marketing material claiming that all receivables arose from
settlements was misleading due to the existence of Cohen and ONJ non-
settlement receivables in the portfolio, I do not find any intent to deceive
because Respondents did not attempt to hide these investments. Rather, they
reported quarterly to all investors about these so-called workout positions.
Although Dersovitz provided some of the narrative information, the AUP was
not an internal, self-serving report, but a “quarterly compliance report”
prepared by “an independent Certified Public Accountant or law firm” to
“identify and report on any delinquencies and that the funded assets remain
in compliance with their respective agreements.” Ex. 60 at 15-16. The reports
were created three times a year and provided promptly to all investors. While
the AUPs did not address the Peterson positions, that is because they were
never delinquencies. Even when the Supreme Court unexpectedly granted
certiorari in the Peterson turnover action, the only real consequence was to
extend the investments’ duration, allowing several positions to realize more
interest income than expected. In other words, by the terms of the agreed
upon procedures, there was no reason to report on Peterson.

     Second, Respondents provided investors with annual audited financial
statements that identified the Funds’ top concentration of investments by
payor. Every statement, without exception, shows a high degree of
concentration with respect to at least one payor. While the Division asserts
that the descriptions of payors on the reports, which changed over time, are
deficient, this is unsupported by the evidence. The descriptions were affirmed
by the independent auditor—not just in the reports, but also by the sworn
testimony of Schall. Although there is some elasticity in how a payor or
obligor could be reported, Schall credibly affirmed that the designations
selected comported with the controlling principles of his profession in the
preparation of such a document. The Division did not elect to present an
expert witness to refute this testimony.

     Metzger also is of the opinion that the statements’ characterization of
the Peterson receivables as “funds under control of the US Government” was
consistent with the American Institute of CPAs’ Audit and Accounting Guide
for Investment Companies. Ex. 2396 ¶¶ 95-96. At the time of the hearing,
Metzger had been a licensed CPA for thirty-five years. Id. at 58. He was the
founding chairperson of the Investment Management Committee of the New
York State Society of Certified Public Accountants, and a member of the
Alternative Investments Task Force of the American Institute of Certified



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Public Accountants. Id. I accept the views of Schall and Metzger to the effect
that Respondents reported the outstanding positions appropriately in the
annual report. Although the Division suggests that someone reading the
annual statement could have misinterpreted it, Mantell’s testimony provides
evidence to the contrary. As soon as Mantell first received and reviewed the
annual statement, he noted that the Fund was highly concentrated in a few
obligors, asked the Respondents questions, and received prompt answers.
After some period of time, taking the view that the concentrations were
inconsistent with his risk profile, he redeemed his investment. As noted
previously, the standard of practice in the hedge fund industry is to avoid any
regular reporting of particular positions; but Respondents, in their annual
statements, satisfied fully their self-imposed reporting obligation to provide
investors with information on the top obligors. This reporting was
appropriate under accounting standards and gave the investors information
concerning the concentrated nature of the Funds. This is also inconsistent
with deceiving investors concerning the high concentrations, as the Division
suggests.

     Third, Respondents’ website hosted documents pertinent to the Funds,
including the offering memoranda, subscription documents, financial
statements, AUPs, and investor communications. This included the so-called
Citibank Memo which described the Funds’ increasing investments in
Peterson.

     Fourth, until late 2013, Respondents provided access to a document
library on a Lotus Notes database, which contained the underwriting
documents for every transaction the Funds executed. While relatively few
investors elected to access and utilize the full Funds’ database, it did in fact
contain a detailed collection of information with respect to the legal
receivable agreements. Although fully exploiting the information would
require considerable time and skill, if, for example, an investor had wanted to
use it to find additional information about the agreements concerning
delinquencies—like the Cohen or Osborn workouts—the information was
available.

    Fifth, Respondents were responsive to investor questions. Investors
could call, email, or meet in person, various employees, including Dersovitz,
who would answer their questions or direct them to someone who could.
Respondents and their employees appeared to strive genuinely to satisfy
investors while carrying out the other components of their jobs. Once a
nondisclosure agreement was in place, there do not appear to have been
additional restrictions that prevented employees from getting investors
requested information. There was no policy or practice of denying or
providing false information. While the Division argues that investors had no


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obligation to conduct diligence or follow-up, this misses the more important
point that when investors sought information they got it, contradicting the
claim that Respondents were trying to deceive investors.

    The foregoing points are bolstered further by Martin’s opinion that
Respondents “acted appropriately and consistent with industry practices
when assessing, marking, and reporting the value of assets comprising the
investment portfolio it managed,” including adequately reporting the
composition and performance of the portfolio to investors. Ex. 2393 ¶¶ 15, 50,
74. While Martin did not purport to look at individual investor
communications, his opinion is based on the structure of the Funds and their
general operation and disclosures.

    Based on these factors, I conclude that Respondents did not intend to
deceive investors.

    9.2. Negligence

     As a threshold matter, Respondents contend that the Division “failed to
establish an essential element of a negligence claim” because “the Division
did not present any testimony—expert or otherwise—that sought to establish
the standard of care applicable to Respondents’ disclosures.” Resp. Post-Hr’g
Br. at 44. Respondents contend that the Second Circuit’s decision in SEC v.
Ginder, 752 F.3d 569 (2d Cir. 2014), should control the outcome here. In
Ginder, the Commission tried a case against a broker based exclusively on
the theory that the broker’s alleged misconduct was intentional. Id. at 572.
The jury rejected all claims of intentional misconduct, but found the broker
liable under Sections 17(a)(2) and (3) on a negligence theory. Id. at 573. The
Second Circuit reversed, holding that the evidence was insufficient to support
a verdict against the broker under a negligence theory. In reaching its
decision, the court wrote:

          The SEC ultimately succumbs to its strategic choice at
          trial to pursue a theory of scienter or nothing. Its entire
          jury presentation was premised on the idea that [the
          broker] violated Section 17(a) through intentional
          conduct. The SEC’s summation relied solely on intent
          and recklessness; theories rejected by the jury. And as to
          negligence, the SEC never introduced testimony or any
          other evidence on the appropriate standard of care
          against which a jury could measure [the broker’s]
          conduct. “[T]he SEC’s failure to present any evidence
          that [the defendant] . . . violated an applicable standard
          of reasonable care was fatal to its case.”



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Id. at 576 (quoting SEC v. Shanahan, 646 F.3d 536, 546 (8th Cir. 2011)).
Ginder did not present the Second Circuit with the “occasion to consider” the
standard of care under Section 17(a)(2)-(3). 752 F.3d at 574. According to
some district courts, “[u]nder these provisions, the definition of negligence is
‘the failure to use reasonable care, which is the degree of care that a
reasonably careful person would use under like circumstances.’ ” SEC v. Wey,
246 F. Supp. 3d 894, 913 (S.D.N.Y. 2017) (quoting SEC v. Cole, No. 12-cv-
8167, 2015 WL 5737275, at *6 (S.D.N.Y. Sept. 19, 2015)). 23 “Such negligence
‘may consist either of doing something that a reasonably careful person
would not do under like circumstances, or in failing to do something that a
reasonably careful person would do under like circumstances.’ ” Cole, 2015
WL 5737275, at *6 (quoting jury instructions from SEC v. Stoker, No. 11-cv-
7388 (S.D.N.Y. July 31, 2012)). To the extent, however, that it cannot be
determined what a reasonably careful person would or would not do under
similar circumstances, no cause of action for negligence is supportable. While
the Division focused most of its efforts on supporting its claims requiring
scienter, it did not thereby forfeit or waive its claims based on negligence. To
the extent that the factual record shows that Respondents committed acts or
made omissions that similarly situated individuals exercising reasonable
prudence would not have done, such acts or omissions may be sufficient to
establish an actionable deviation from the standard of care. See id.

    I find sufficient evidence in the record regarding the standard of care to
conclude that Respondents did not meet that standard.

     If an investor in the Funds were to assume the provisions in the offering
memoranda are consistent, then the investor could reasonably assume that
all of the Funds’ past purchases arose from settlements or judgments.
Metzger takes a contrary view. In his opinion, a reasonable investor would
have perceived an inconsistency and tried to resolve it by calling the hedge
fund manager. Tr. 5268, 5275-77; see Tr. 5270-71. According to Metzger, an
investor should not necessarily refer to other documents—like marketing
documents—because the offering memorandum is “the priority document,”
although he would give some weight to audited financial statements.
Tr. 5268, 5271-72. The annual statements issued before the offering
memorandum language changed in 2013 would have been of little or no help

23   Accord SEC v. Jankovic, No. 15-cv-1248, 2017 WL 1067788, at *14
(S.D.N.Y. Mar. 21, 2017) (stating that the standard of care “remains an open
question” in the Second Circuit, and noting that “courts in this Circuit have
not strayed far from a black-letter, ‘reasonable person’ standard in defining
‘negligence’ under Section 17(a)(2) and (3)”).




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in clarifying Metzger’s perceived inconsistency. For example, the Offshore
Fund’s financial statements from 2008 through 2011 said that “all”
receivables arose from settlements. See Ex. 11 at 23; Ex. 503 at 172; Ex. 1059
at 17; Ex. 1095 at 17. For 2012 and 2013, the language changed to reflect that
the purchased receivables “typically” arise out of settlements. Ex. 13 at 19,
28; Ex. 2921 at 22, 34. All such references were removed for the 2014
statement. See generally Ex. 18. The same discrepancy appears in the audited
annual financial statement for the Domestic Fund for 2008. See Ex. 1060 at
16. But the 2009 statement says that the purchased receivables “typically”
arise out of settlements. Ex. 1092, at 10. The language is substantially
similar for the years ending 2010 through 2013. Ex. 1142 at 17; Ex. 1291 at
22; Ex. 1550 at 18; Ex. 1878 at 18. Beginning in 2014, that language was
removed, as it was for the Offshore Fund. See generally Exs. 2078, 2262.

     Thus, following Metzger’s recommendation, it appears that an investor
in the Domestic Fund, at least, who perceived a conflict in the offering
memorandum and in the exercise of due diligence reviewed the annual
statements where the language had been changed to “typically,” would have
confirmed there was a contradiction and would have had reason to ask the
manager. Even if all of this is true, it still demonstrates that the offering
memorandum’s language was not drafted in a reasonably prudent manner.
That an investor could possibly have figured out the accurate information
does not excuse the offering memoranda’s internal contradiction.

     Although Dersovitz eventually changed the offering memorandum’s
language in response to investor confusion, he disagreed with Metzger’s
testimony that there was an inconsistency. But his disagreement was based
on his belief that an investor who had conducted extreme (and somewhat
convoluted) due diligence into the background of Dersovitz and his funds
would have concluded it was not inconsistent. Tr. 5460-75. In addition,
Dersovitz testified at length concerning other provisions in the offering
memoranda that allowed the Funds to purchase receivables other than those
arising from settlements. Tr. 5468-75. But the question is not whether non-
settlement positions were allowed by the offering documents; but whether
use of the inaccurate language represents a departure from the standard of
reasonable prudence that a hedge fund would use in drafting its offering
memorandum, when its portfolio already contained assets that did not arise
from a settlement or judgment. The plain language of each offering
memorandum is either going to be read as consistent by an investor—because
“purchased” is retrospective and “will purchase” is prospective—such that the
reader could conclude that up until the time the offering memorandum was
drafted only settlement receivables were purchased, though judgment
receivables could be in the future. Or, the language might be read as



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inconsistent. But the fact that an investor could do enough digging to
determine what was meant does not make the inaccuracy a prudent
inclusion.

     As noted, in 2013, the offering memoranda were amended to remove the
exclusive language with respect to settlements, and to include cases in which
“a judgment has been entered against a judgment debtor.” Ex. 342 at 43, 51;
Ex. 348 at 16, 21. Hirsch testified that the change was made in February
2013 to include Peterson. Tr. 4626-29. 24 Dersovitz likewise testified that
judgments were added to this language because Respondents “had started”
making Peterson investments, Tr. 5490-91, and that the “all of the legal fee
receivables purchased” language was eventually removed because it was a
“source of confusion”:

           We realized later on that this was a source of confusion.
           And then took it—acknowledged that we took it out. We
           removed this, okay?

           Because you could get one notion from this and perhaps
           a different notion from the objectives. And that’s why we
           ultimately pulled it.

           But it was not our intent to mislead anyone ever.

Tr. 6546-47; see also Tr. 5463-64, 6256-57. According to Dersovitz, when
Respondents “started” investing in receivables arising from the Peterson
judgment “back in 2010,” they did not change the offering memoranda
because those documents, among others, “underwent an evolutionary
process” based on Respondents’ “constantly trying to improve them.”
Tr. 5492. He also testified that “documents get better over time. . . . As you’re
doing things and as you’re drafting pleadings, they improve over time.”
Tr. 5463.

     I have no reason to doubt the consistent accounts of Hirsch and
Dersovitz, but that does not mean that inaccurate language between 2010
and 2012 is consistent with the standard of care of what a reasonably
prudent hedge fund would do. Nor does their explanation address whether
the language was ever appropriate for a portfolio that already contained legal
fee receivables based neither in settlements nor judgments. I find that the


24   Hirsch explained that in her experience, when part of an offering
memorandum was “no longer true,” it would “most likely” be revised.
Tr. 4573.




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offering memoranda language with respect to all legal receivables arising
from settlements and judgments represented an inaccuracy that is
inconsistent with the reasonable care a hedge fund should take when it in
fact had substantial positions in receivables based on pending litigation
rather than settlements and judgments.

     Regarding Respondents’ DDQs, Metzger explained that “another way to
interpret” them is that the DDQ “uses settlements as an example of a fee
acceleration . . . . But not . . . every fee acceleration investment requires that
a settlement had been reached.” Ex. 2396 ¶ 79. I agree that the DDQs might
be plausibly interpreted in two dramatically different ways—(1) 95% of the
Funds’ investments are in factoring settlements, or (2) 95% of the Funds’
investments are in legal receivable factoring, of which settlements are but
one example. But up through 2012, the offering memoranda said the Funds
had “only” factored settlements—which would have been a further reason for
the reader of the DDQ to understand that the 95% related to settlements
only. If Respondents meant to use settlements only as an example of what
they factored, they could have made that clear by using any of the following
phrases: “for example,” “e.g.,” “for instance,” or “such as.” 25 The fact that the
DDQ can give rise to considerable confusion—based on the conflicting
interpretation identified by Respondents’ own expert—demonstrates that
reasonable prudence was not exercised in its drafting.

      9.3. Recklessness

     Based on the analysis in the preceding two sections, I conclude that
Respondents’ conduct did not rise to the level of extreme recklessness and
thus they lacked scienter. Among the most troubling misstatements were the
express disclaimers of litigation risk in the DDQs, e.g., Ex. 48 at 9, but they
did not rise to the level of recklessness for two reasons. First, DDQs are
marketing materials, which investors should treat skeptically. Had such
statements appeared in the offering memoranda, it may have been reckless.
Second, the misstatements were in answer to a question about the Funds’
strategy, and Dersovitz and Hirsch testified that they did not view the ONJ
and Cohen matters as part of the Funds’ strategy, but as one-off workouts of
other, strategy-compliant positions that had gone wrong. While the


25   Indeed, the DDQ form itself, as adopted by Respondents, uses “e.g.” See
Ex. 1479 at 4 (“Does the firm or advisor have any relationship which may
affect its trading flexibility, e.g. associated broker/dealer?”); id. at 14 (“Are
any third parties involved in verifying adherence to risk limits, e.g. the fund’s
administrator?”).




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misstatements in the offering memoranda and Forms ADV were a departure
from the standard of care, they were not an “extreme” one. Further, the
information, access, and responsiveness Respondents provided to investors,
which I concluded negated a finding of intent to deceive, likewise weighs
against a conclusion of recklessness.

                                *      *       *

     Because of my conclusion that Respondents lacked scienter, the claims
under Exchange Act Section 10(b) and Rule 10b-5 and Securities Act Section
17(a)(1) fail and will be dismissed. Since I have concluded that Respondents
failed to adhere to the appropriate standard of care and made repeated
materially misleading statements over a period of several years, I find them
liable for willfully violating Securities Act Section 17(a)(2) and (a)(3).

     My conclusion that Respondents lacked scienter also negates aiding and
abetting liability against Dersovitz. See Monetta Fin. Servs., Inc. v. SEC, 390
F.3d 952, 956 (7th Cir. 2004). I do, however, find Dersovitz to be a cause of
RD Legal Capital’s Section 17(a) violation, as he knew the composition of his
Funds’ portfolio and had final approval over the Funds’ offering documents
and other written materials at times when those documents did not
adequately describe the risks of the Funds. See Fuller, 2003 WL 22016309, at
*4-6.

                                    Remedies

10. Cease-and-Desist Order

     Securities Act Section 8A and Exchange Act Section 21C authorize a
cease-and-desist order against any person where it is found that such person
violated or has caused the violation of those acts or rules thereunder. OIP at
15; 15 U.S.C. §§ 77h-1(a), 78u-3(a).

     The Division requests that both Respondents be ordered to cease and
desist from committing (and Dersovitz, from causing) future violations of
Securities Act Section 17(a) and Exchange Act Section 10(b) and Rule 10b-5.
Div. Post-Hr’g Br. at 47. Having found no liability under Securities Act
Section 17(a)(1) or Exchange Act Section 10(b) and Rule 10b-5, I consider the
request under Securities Act Section 8A with respect to Respondents’
violations of Section 17(a)(2) and (a)(3).




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     In determining whether a cease-and-desist order is warranted, I must
consider the following nine criteria, 26 no one of which is dispositive—(1) the
egregiousness or “seriousness” of the violations, (2) the “isolated or recurrent
nature” of the violations, (3) “the respondent’s state of mind” (also referred to
as the “degree of scienter involved”), (4) “the sincerity of . . . assurances
against future violations,” (5) the “recognition of the wrongful nature of his or
her conduct,” (6) “the respondent’s opportunity to commit future violations,”
(7) “whether the violation is recent,” (8) “the degree of harm to investors or
the marketplace resulting from the violation,” and (9) “the remedial function
to be served by the cease-and-desist order in the context of any other
sanctions being sought in the same proceedings.” WHX Corp. v. SEC, 362
F.3d 854, 859 (D.C. Cir. 2004) (quoting WHX Corp., Exchange Act Release
No. 47980, 2003 WL 21283081, at *11 (June 4, 2003)). Also, “there ‘must be a
showing of some risk of future violation,’ though not necessarily a very great
risk.” Id. (quoting WHX Corp., 2003 WL 21283081, at *10); see also KPMG
Peat Marwick LLP, 2001 WL 47245, at *24.

      10.1. Seriousness

     Notwithstanding the mitigating factors discussed below, I find that
Respondents’ various deficiencies with respect to the “workout” positions are
serious, because they could confuse investors concerning the character of
more than 15% of the Funds’ portfolio. 27 An investor could plausibly
understand that the Cohen and ONJ positions were settlement or judgment
based receivables, instead of what they were: positions that were dependent
on liability or damages that were not yet established. While Respondents
make two points that mitigate to an extent the seriousness of the violations
concerning workouts, I do not find them sufficiently extenuating to forbear
from ordering a cessation of violative conduct.

     Respondents first argue that the seriousness of their violations is
mitigated by the AUPs, which were sent on a quarterly basis and provided
investors with assessments of the underperforming Cohen and Osborn
positions. Although certain boilerplate language of those reports inaccurately
employs the term “settlement” with respect to those positions, the narrative
descriptions of those positions provide sufficient and accurate detail to advise
investors of the non-settled nature of those cases, the available collateral of

26  The first six criteria are the so-called Steadman factors. See Steadman v.
SEC, 603 F.2d 1126, 1140 (5th Cir. 1979), aff’d on other grounds, 450 U.S. 91
(1981).
27    E.g., Ex. 2 row 56.




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the firms, and other pertinent issues. Each AUP was sent to every investor by
the Funds’ third-party administrator. Although prospective investors were
not given AUPs as a matter of course, the reports are described in the
offering memoranda, and Respondents would provide copies to prospective
investors who asked for them and signed a nondisclosure agreement. Thus, I
find that these reports somewhat mitigate the seriousness of the violation.
But they do not fully do so because some people invested without reviewing
or receiving the AUPs.

     Second, Respondents argue that the lack of loss to investors is a
mitigating factor. Setting aside the fact that the vast majority of investors
profited handsomely from their investments, the Division correctly contends
that, in at least some cases, investors’ returns have been delayed. While
Respondents have submitted evidence indicating that investors continue to
receive sizable returns and there may ultimately be no loss on these
investments, delays in the return of investment capital and profits thereon
can be serious. Because the contingent fee legal receivables were among the
poorest performers of the Funds’ investments—hence their conspicuous
mention in the AUPs—it is reasonable to conclude that those positions
contributed to the delay.

     Overall, the mitigating factors raised by Respondents do not negate a
finding of seriousness. Moreover, although Respondents’ violations were
committed with negligence rather than scienter, the Commission considers
violations of the antifraud provisions to be “especially serious.” Peter Siris,
Exchange Act Release No. 71068, 2013 WL 6528874, at *6 (Dec. 12, 2013),
pet. denied, 773 F.3d 89 (D.C. Cir. 2014).

    10.2. Isolated or Recurrent Nature

     I concur with the Division that this proceeding is not about an isolated
misstatement because Respondents’ deficiencies persisted “over the course of
several years.” Div. Post-Hr’g Br. at 46. Respondents do not appear to
address this issue. Although one could argue that the deficiencies in the
offering memoranda and other documents represent preliminary errors that
simply carried over, the repeated failure to correct them is sufficient to
render the violations recurring.

    10.3. Mental State

    Although I did not find that Respondents acted with scienter,
Respondents have not presented a persuasive argument as to why the
remedy sought is inappropriate in light of my finding that they were
negligent. This is not a case, for example, where, after being alerted to their
deviation from the standard of care, a hedge fund had already or immediately


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thereafter corrected the deficiencies. Instead, Respondents’ failure to adhere
to the appropriate standard of care persisted for several years.

      10.4. Recognition of Wrongdoing and Sincerity of Assurances

     Respondents vigorously contested liability, so they did not offer
assurances against future wrongdoing nor was there recognition of
wrongdoing. I do not hold this against Respondents; indeed, my finding of no
scienter vindicates their stance with respect to a majority of the allegations
in the OIP. 28

      10.5. Opportunity to Commit Future Violations

     At present, in the absence of a cease-and-desist order, Respondents
would be able to commit further Section 17(a)(2) and (a)(3) violations. I am
sympathetic to the Division’s position that it would be “troubling” for
Dersovitz to continue working in the industry without any change in the way
Respondents do business, because opportunities will arise in which so-called
“workouts” will have to be disclosed in accordance with the standard of care.
Div. Post-Hr’g Br. at 47. A cease-and-desist order will ensure that those
circumstances will not result in additional violations.

      10.6. Recency of Violations

    The violations, which continued through Respondents’ most recent
representations up until the time of the hearing, are sufficiently recent to
favor a cease-and-desist order.

      10.7. Harm to Investors or the Marketplace

     Most testifying investors profited from their investment in the Funds;
some had not as of the hearing, but the Funds have continued to receive
payments and distribute them to investors. However, consideration of the
public interest “extends beyond the consideration of particular investors to
the public-at-large.” See Christopher A. Lowry, Investment Advisers Act of
1940 Release No. 2052, 2002 WL 1997959, at *6 (Aug. 30, 2002), petition for
review denied, 340 F.3d 501 (8th Cir. 2003). And the Commission considers


28  The Division argues that some of the evidence demonstrates that
Respondents’ behavior was especially callous and takes issue with some of
Dersovitz’s testimony. Div. Post-Hr’g Br. at 46-47. I conclude, however, that
the Division misinterpreted Dersovitz’s testimony under the circumstances,
and I do not find that the record supports the Division’s intimation that he
was lying or is averse to telling the truth.




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conduct that involves the dissemination of false and misleading statements or
deprives investors of full disclosure to make informed decisions to necessarily
harm the marketplace and erode investor confidence. See Gordon Brent
Pierce, Securities Act Release No. 9555, 2014 WL 896757, at *23 (Mar. 7,
2014), petition for review denied, 786 F.3d 1027 (D.C. Cir. 2015); Ira Weiss,
Securities Act Release No. 8641, 2005 WL 3273381, at *16 (Dec. 2, 2005),
petition for review denied, 468 F.3d 849 (D.C. Cir. 2006).

    However, Respondents aver that a “cease-and-desist order that prevents
Dersovitz from continuing to raise and invest capital would directly harm”
investors. Resp. Post-Hr’g Br. at 49. But Respondents are being ordered to
cease and desist from violations of the securities statutes, not from raising
and investing capital, so Respondents’ concern is inapplicable and this factor
weighs in favor of imposing a cease-and-desist order.

    10.8. The Remedial Function in the Context of Other Sanctions Sought

     A cease-and-desist order should expeditiously stop all violations. While
such an order may not be necessary if Respondents were permanently barred
from operating in the industry, because this decision does not do so, practical
concerns support a cease-and-desist order. In addition, the civil penalties,
which are based on Respondents’ past violations (even if the penalties will
provide some measure of deterrence), are best used in tandem with a cease-
and-desist order, so that past misconduct is punished and future, potential
misconduct is prohibited. Finally, the Commission has held that “in the
ordinary case, a finding of a past violation is sufficient to demonstrate a risk
of future ones” to justify a cease-and-desist order. Malouf, 2016 WL 4035575,
at *25. Here, I have found not just a single past violation, but several,
occurring over a period of years.

11. Suspension

    Advisers Act Section 203(f ) authorizes the Commission to censure, limit
the activities of, suspend for a period not exceeding 12 months, or bar from
association any person if, as relevant here, (1) that person was associated
with an investment adviser at the time of the alleged misconduct, (2) that
person willfully violated any provision of the Securities Act, and (3) the
sanction is in the public interest. See 15 U.S.C. § 80b-3(f ), (e)(5). Investment
Company Act Section 9(b) authorizes the Commission to prohibit,
conditionally or unconditionally and either permanently or for a period of
time, any person from serving or acting in certain capacities with a registered
investment company if, as relevant here, (1) that person willfully violated any
provision of the Securities Act, and (2) the sanction is in the public interest.
15 U.S.C. § 80a-9(b)(2).



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    The Division seeks a permanent industry bar against Dersovitz as
president and CEO of RD Legal Capital, an entity registered with the
Commission as an investment adviser for most of the period of the
misconduct described above. As I found in the conclusions of law, Dersovitz
committed willful violations of the Securities Act. I therefore consider the
public interest, including the Steadman factors, deterrence, and any
mitigating factors. See Dembski, 2017 WL 1103685, at *13-14.

     Respondents contend that an industry bar against Dersovitz “would
directly harm the Commission’s core constituency: investors,” because
“Dersovitz earned substantial profits for his investors.” Resp. Post-Hr’g Br. at
49. The Division counters that the Funds are, according to Dersovitz, “self-
liquidating.” Div. Post-Hr’g Br. at 47 n.58 (citing Tr. 5878-79). But the
Division overstates the point, as Dersovitz testified that “the funds to some
extent are self-liquidating,” and noted ways in which they were not. Tr. 5878-
79. To permanently bar Dersovitz, who by the terms of the offering
memoranda represents the key to managing and continuing the operation of
the Funds, would quite likely adversely impact those investors who are
awaiting principal or interest. However, the adverse impact on investors is
not by itself determinative. The array of remedies ordered must be sufficient
to end the unlawful practice and deter not just the wrongdoer but also
dissuade industry actors from engaging in similar misconduct.

     Here, in light of the Steadman factors already discussed, I have
determined that the cease-and-desist order and the civil penalties nearly
satisfy the needs of deterrence sufficient to dissuade wrongful conduct,
without imposing a permanent bar. However, to ensure that the purposes of
both specific and general deterrence are satisfied, I will suspend Dersovitz for
a period of six months from association with an investment adviser and other
components of the securities industry, and prohibit him from serving or
acting in capacities with a registered investment company for the same
period. While the addition of a suspension to the foregoing remedies will
impose temporary consequences on Dersovitz, and may regrettably work
some adverse impact on investors, it is necessary to ensure that Dersovitz
and similarly situated industry actors understand the serious consequences
of even negligent violation of the antifraud provisions.

12. Civil Penalties

    Securities Act Section 8A authorizes civil monetary penalties where, as
here, Respondents violated or caused a violation of any provision of the
Securities Act, if such penalties are in the public interest. See 15
U.S.C. § 77h-1(g)(1)(A)-(B). The Act sets forth a three-tiered maximum
penalty amount for each act or omission. First-tier penalties are permitted


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based on any violation of the Act. See id. § 77h-1(g)(2)(A). Second-tier
penalties require a finding that the violations “involved fraud, deceit,
manipulation, or deliberate or reckless disregard of a regulatory
requirement,” that is, scienter, see id. § 77h-1(g)(2)(B); SEC v. M&A W., Inc.,
538 F.3d 1043, 1054 (9th Cir. 2008); and third-tier penalties require a further
finding that the violations directly or indirectly resulted in substantial losses
or created a significant risk of substantial losses to other persons, or
substantial pecuniary gain to the respondent, 15 U.S.C. § 77h-1(g)(2)(C). As
Respondents did not violate Securities Act Section 17(a) with scienter, it
would be inappropriate to expose them to second- or third-tier penalties. 29

     In deciding whether penalties are in the public interest, the Commission
considers: (1) whether the violation involved fraud, deceit, manipulation, or
deliberate or reckless disregard of a regulatory requirement; (2) the resulting
harm, directly or indirectly, to other persons; (3) any unjust enrichment and
prior restitution; (4) the respondent’s prior regulatory record; (5) the need for
deterrence; and (6) such other matters as justice may require. Dembski, 2017
WL 1103685, at *15 (citing 15 U.S.C. §§ 78u-2(c), 80a-9(d)(3), 80b-3(i)(3)).

      As to the first factor, Respondents’ violations involved mere negligence.

     Regarding harm to others, the Division notes that while many investors
profited, “some are still waiting for hundreds of thousands of dollars of the
principal they invested.” Div. Post-Hr’g Br. at 44. 30 Notwithstanding the
investors who have not yet received all their profits or principal, for purposes
of this factor it is important to observe that the vast majority of investors,
including virtually all of those who testified at the hearing, profited from


29   I do not agree with the Division’s arguments that the risk of loss with
respect to Peterson justifies a higher penalty tier, see Div. Post-Hr’g Br. at 44,
because I have not found punishable violations with respect to Peterson. The
Division also argues that the ONJ and Cohen matters “highlight” the risk of
loss because Respondents “still have not collected amounts equal to their
advances.” Div. Post-Hr’g Reply at 22. However, the Funds’ ONJ investments
have in fact been profitable, and even though the Cohen positions were
written down, the Funds overall still yielded a positive return for investors.
Notably, the risks associated with those cases were regularly audited and
reported to Fund investors by an independent law firm.
30   Since the hearing, Respondents submitted evidence that they have
collected an additional $30 million for the Funds, $20 million of which has
already been distributed to investors. Resp. Disgorgement Reply at 10 &
Ex. B.




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their investments. Metzger, Respondents’ expert, compared investing with
Respondents to three other hedge fund indices, the S&P 500, and Barclays
Aggregate Bond Index from October 2007 through 2016. That analysis,
presented in Appendix C to Metzger’s expert report, Ex. 2396, shows that
investing with Respondents would have yielded by far the greatest return
over that period:

                                            Annualized            Cumulative
          Fund or Index                       Return                Return

                           RD Legal            13.50%               222.64%

Hedge Fund Research, Inc. (HFRI),
                                                 0.56%                 5.35%
  Fund Weighted Composite Index
                  HFRI RV: Fixed
                                                 8.51%              112.93%
        Income-Asset Backed Index
              HFRI ED: Distressed/
                                                 3.34%                35.51%
               Restructuring Index

                            S&P 500              3.41%                36.35%


    Barclays Aggregate Bond Index                4.25%                46.96%


    The third factor, unjust enrichment, is satisfied to the extent that in the
absence of the violations Respondents may have received fewer investments
than they would have otherwise, and having less capital, would have been
able to generate less profit. However, a critical mitigating aspect is that,
unlike a typical hedge fund, Respondents were not enriched at all unless they
were first producing the preferred return of 13.5% for investors. While the
Division averred that Respondents were improperly making draws from the
funds based on inflated valuations, I previously found those assertions to be
unsupported. This is therefore very different from the typical case where a
respondent is enriched at the direct detriment to an investor.

     With respect to the fourth factor, Respondents do not have any prior
violations of “the Federal securities laws, State securities laws, or the rules of
a self-regulatory organization.” 15 U.S.C. § 80b-3(i)(3)(D). Nor have they been
“convicted” or “enjoined by a court of competent jurisdiction from violations of
such laws or rules.” Id. The Division contends that there are a “bevy of
investor suits” against Respondents. Div. Post-Hr’g Reply Br. at 23 (citing
Ex. 475 at 8, 10). But the evidence cited by the Division reveals two suits that
were pending as of the hearing, which is insufficient to constitute a prior


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violation for purposes of deciding penalties. Respondents’ absence of prior
violation weighs in their favor.

     The fifth factor, deterrence, weighs in favor of penalties. Here, it would
not be enough simply to find that Respondents’ conduct was unlawful and
order them to stop. In the absence of a financial penalty for each violation,
Respondents or others could make the determination, however unbecoming,
that it is an acceptable risk for them to play outside the rules if there is not a
notable punishment for being caught.

    The sixth factor does not warrant extensive discussion, but an excessive
penalty would be disproportionate to the nature of the misconduct.

     The Division contends that I should “penalize ‘each’ of Respondents’ acts
and omissions,” suggesting, at the least, a penalty for each defrauded
investor who testified. Div. Post-Hr’g Br. at 45. While I agree that, to
maximize the value of deterrence, each proven violation should be subject to
a penalty, I do not agree with the Division’s suggestion as to how to count the
violations, as it could be based on tactical decisions by the Division about how
many witnesses to call and who was available to testify. In this case, the best
way to count the violations is to identify the number of different documents
that contain actionable misrepresentations (including different versions of
such documents, over time) and assign a penalty to each. I have found eight
offering memoranda, four Forms ADV, 31 and three DDQs to contain material
misstatements. The maximum first-tier penalty against an entity increased
from $75,000 to $80,000 on March 6, 2013. See 17 C.F.R. § 201.1001, Table I;
Adjustments to Civil Monetary Penalty Amounts, 83 Fed. Reg. 1,396 (Jan. 11,
2018); Adjustments to Civil Monetary Penalty Amounts, 78 Fed. Reg. 14,179,
14,181-82 (Mar. 5, 2013). Ten of the documents were dated before that date.
See Exs. 61-65, 218, 219, 220, 591, 1640. Five post-date it. See Exs. 48, 66, 67,
1900, 1932. The maximum first-tier penalty for a natural person was $7,500
for the entire period during which the misrepresentations were made. See 78
Fed. Reg. at 14,181-82.

    Based on the foregoing factors, I have determined that penalties are
warranted, but due to the extenuating and mitigating facts discussed
especially in the second, third, and fourth factors, the penalty I will assign to
each of the foregoing violations will be set at half of the maximum amount
authorized for each violation. Dersovitz will be given fifteen penalties of

31   Although the 2011 Form ADV was created outside the five-year statute
of limitations, Respondents distributed it to investors within the limitations
period. See Ex. 252.




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$3,750 each, for a total of $56,250. RD Legal Capital will be given ten
penalties of $37,500 and five of $40,000, for a total of $575,000.

13. Disgorgement

     The Division requests disgorgement of “all profits earned through the
fraudulent sale of interests” in the Funds in the five years preceding the OIP,
which the Division calculates to be more than $56 million. Div. Post-Hr’g Br.
at 42. Respondents oppose the Division’s request on a number of grounds,
including that disgorgement is not in the public interest and that they are
unable to pay the amounts sought.

     Disgorgement and prejudgment interest are discretionary, equitable
remedies. See 15 U.S.C. §§ 77h-1(e) (“the Commission may enter an order
requiring accounting and disgorgement, including reasonable interest”
(emphasis added)), 78u-2(e), 78u-3(e) (same); SEC v. First Jersey Sec., Inc.,
101 F.3d 1450, 1474-76 (2d Cir. 1996). The Division bears the initial burden
to show that its disgorgement figure “reasonably approximates” Respondents’
unjust enrichment and is “causally connected to the violation.” SEC v. First
City Fin. Corp., 890 F.2d 1215, 1231-32 (D.C. Cir. 1989). The burden then
shifts to Respondents to demonstrate that the Division’s estimate is not a
reasonable approximation. Id. at 1232.

     In Jay T. Comeaux, the Commission stated that it applies the above
standard for determining disgorgement and rejected a respondent’s
contention that it should apply the public-interest factors set forth in
Steadman v. SEC 32 and the securities statutes. See Securities Act Release
No. 9633, 2014 WL 4160054, at *5 (Aug. 21, 2014). The Commission
remanded Comeaux because the Division did not support its summary
disposition motion with sufficient evidence on its disgorgement amount and
directed that there be “further proceedings to determine what, if any,
disgorgement is in the public interest.” Id. at *3-4. But the Commission did
not categorically hold that disgorgement must be found in the public interest
whenever there is a causal relationship of profits to the violations. Indeed,
“the Commission’s broad discretion in fashioning sanctions in the public
interest cannot be strictly cabined according to some mechanical formula.”
Blinder, Robinson & Co. v. SEC, 837 F.2d 1099, 1113 (D.C. Cir. 1988).

     A more searching public-interest inquiry is appropriate here. Cf. Scott
Epstein, Exchange Act Release No. 59328, 2009 WL 223611, at *21 n.75 (Jan.
30, 2009) (the sanctions inquiry “depends on the facts and circumstances of

32    See 603 F.2d at 1140.




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the particular case . . . .”), pet. denied, 416 F. App’x 142 (3d Cir. 2010). The
Supreme Court recently held that SEC disgorgement is a punitive sanction.
See Kokesh v. SEC, 137 S. Ct. 1635, 1643-45 (2017). 33 In light of Kokesh, a
disgorgement award of more than $50 million—in this case and under these
specific facts—may trigger constitutional scrutiny. See Hudson v. United
States, 522 U.S. 93, 102-03 (1997) (“The Due Process and Equal Protection
Clauses . . . protect individuals from sanctions which are downright
irrational. The Eighth Amendment protects against excessive civil fines . . . .”
(internal citations omitted)); see also United States v. Bajakajian, 524 U.S.
321, 331 n.6 (1998) (noting that the excessive fines clause reaches a monetary
sanction levied in nominally civil proceedings “if it constitutes punishment
even in part”); SEC v. Metter, 706 F. App’x 699, 703 (2d Cir. 2017) (“[W]e
assume without deciding that, in light of . . . Kokesh . . . , the [$52 million]
disgorgement liability imposed in this matter was essentially punitive in
nature and thus was a fine within the meaning of the Excessive Fines Clause
of the Eighth Amendment.”). “The principle that a punishment should be
proportionate to the [offense] is deeply rooted and frequently repeated in
common-law jurisprudence.” Solem v. Helm, 463 U.S. 277, 284 (1983).

     The typical public-interest considerations would largely address
constitutional concerns and mitigate the risk of an appellate remand.
Nonetheless, I need not adopt any particular test here as the Division failed
to carry its burden, and, in any event as explained below, the public interest
does not support the requested sanction. Cf. PAZ Sec., Inc. v. SEC, 566 F.3d
1172, 1175 (D.C. Cir. 2009) (“We did not, however, direct the Commission to
follow the Steadman analysis in every case.”).

     Respondents contend that the Division has failed to meet its burden of
establishing the unjust enrichment causally connected to Respondents’
violations. Respondents point out that the Division seeks disgorgement of all
revenue, regardless of source, and does not distinguish between “profits
derived from investors who would have invested despite any alleged
misrepresentations [and] RDLC’s profits from managed accounts and third-
party participations.” Resp. Post-Hr’g Br. at 47. Nor does the Division
establish how much of the revenue is attributable to “trades that were
consistent with the Funds’ primary strategy, and those [that] were not”—or,
at least, those, such as Peterson, that the Division failed to establish fell

33  Contrary to Respondents’ argument, disgorgement is not subject to the
statutory limits on civil penalties. Kokesh did not disturb the securities
statutes that authorize disgorgement in addition to penalties in this
proceeding. See 15 U.S.C. §§ 77h-1(e), 78u-2(e), 78u-3(e); OIP at 15.




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outside of the scope of the Funds’ governing documents. Id. The Division did
not attempt to answer these questions. Case law does recognize that because
of the difficulty in separating “legal from illegal profit . . . , it is proper to
assume that all profits gained while defendants were in violation of the law
constituted ill-gotten gains.” SEC v. Bilzerian, 814 F. Supp. 116, 121 (D.D.C.
1993) (internal citations omitted), aff’d, 29 F.3d 689 (D.C. Cir. 1994).
However, the Division must still “show but-for causation between a
[respondent]’s violations and profits.” Comeaux, 2014 WL 4160054, at *3.
Here, I find that the Division has not met its burden, especially in light of my
finding that the Division also did not meet its burden with respect to the
Peterson positions, which were such a large portion of the Funds.

     Even if the Division had carried its initial burden, an aspect of this
proceeding meaningfully distinguishes it from cases relied upon by the
Division and leads me to conclude that disgorgement is not in the public
interest. The hedge fund structure devised and employed by Respondents
represented a protective and profitable structure for the Funds’ investors.
Metzger explained the considerable differences between the Funds and other
investments:

            RDLC does not receive any management fee for its
            operation of the Funds. The Funds do not follow any
            form of the “2 and 20” model[ 34] that is common in the
            hedge fund industry. Moreover, RDLC pays for all
            [routine] overhead costs of the Funds, which is
            uncommon for a fund manager that does not receive a
            management fee.

Ex. 2396 ¶ 23. Thus, Respondents had to hit their target returns for investors
before they took profits. Id. ¶¶ 23-25. As a result of the Funds’ structure,

34     Metzger explained that:

            Under the “2 and 20” model, the fund manager receives
            a flat 2 percent management fee based on the total value
            of assets under management, and an additional 20
            percent of any profits earned. Here, by contrast, there is
            no management fee, performance fee, or origination fee
            for the Funds. RDLC receives no compensation or return
            of any kind until investors receive their full 13.5 percent
            annual target return.

Ex. 2396 ¶ 23 n.7.




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    I FURTHER ORDER that, pursuant to Section 8A(a) of the Securities
Act of 1933, Roni Dersovitz and RD Legal Capital, LLC, shall CEASE AND
DESIST from committing or causing violations, and any future violations, of
Section 17(a)(2) or (a)(3) of the Securities Act.

     I FURTHER ORDER that, pursuant to Section 203(f ) of the Investment
Advisers Act of 1940, Roni Dersovitz is SUSPENDED for six months from
being associated with an investment adviser, broker, dealer, municipal
securities dealers, municipal advisor, transfer agent, or nationally recognized
statistical rating organization.

     I FURTHER ORDER that, pursuant to Section 9(b) of the Investment
Company Act of 1940, Roni Dersovitz is PROHIBITED for six months from
serving or acting as an employee, officer, director, member of an advisory
board, investment adviser or depositor of, or principal underwriter for, a
registered investment company or affiliated person of such investment
adviser, depositor, or principal underwriter.

    I FURTHER ORDER that, pursuant to Section 8A(g) of the Securities
Act of 1933, Roni Dersovitz shall PAY A CIVIL MONEY PENALTY in the
amount of $56,250.

     I FURTHER ORDER that, pursuant to Section 8A(g) of the Securities
Act of 1933, RD Legal Capital, LLC, shall PAY A CIVIL MONEY PENALTY
in the amount of $575,000.

     Payment of civil penalties shall be made no later than twenty-one days
following the day this initial decision becomes final, unless the Commission
directs otherwise. Payment shall be made in one of the following ways: (1)
transmitted electronically to the Commission, which will provide detailed
ACH transfer/Fedwire instructions upon request; (2) direct payments from a
bank     account    via    Pay.gov     through    the     SEC    website   at
http://www.sec.gov/ofm; or (3) by certified check, bank cashier’s check, bank
money order, or United States postal money order made payable to the
Securities and Exchange Commission and hand-delivered or mailed to the
following address along with a cover letter identifying the Respondent and
Administrative Proceeding No. 3-17342: Enterprise Services Center,
Accounts Receivable Branch, HQ Bldg., Room 181, AMZ-341, 6500 South
MacArthur Blvd., Oklahoma City, Oklahoma 73169. A copy of the cover letter
and instrument of payment shall be sent to the Commission’s Division of
Enforcement, directed to the attention of counsel of record.

    This initial decision shall become effective in accordance with and
subject to the provisions of Rule 360 of the Commission’s Rules of Practice, 17
C.F.R. § 201.360. Pursuant to that rule, a party may file a petition for review


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of this initial decision within twenty-one days after service of the initial
decision. A party may also file a motion to correct a manifest error of fact
within ten days of the initial decision, pursuant to Rule 111 of the
Commission’s Rules of Practice, 17 C.F.R. § 201.111. If a motion to correct a
manifest error of fact is filed by a party, then a party shall have twenty-one
days to file a petition for review from the date of the undersigned’s order
resolving such motion to correct a manifest error of fact.

    The initial decision will not become final until the Commission enters an
order of finality. The Commission will enter an order of finality unless a
party files a petition for review or motion to correct a manifest error of fact or
the Commission determines on its own initiative to review the initial decision
as to a party. If any of these  se events occur, the initial decision shall not
become final as to that party.


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                                         Jaason S. Patil
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                                         Administrative Law Judge
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